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                                       EXHIBIT C

                             Stalking Horse Purchase Agreement




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                                        ASSET PURCHASE AGREEMENT



                                                  by and among

                                         Williston Holding Company,Inc.,
                                               a Nevada corporation,

                                                   as Purchaser,

                                                        and

                Kona Grill, Inc., a Delaware corporation, Kona Restaurant Holdings, Inc., a Delaware
                 corporation, Kona Sushi, Inc., an Arizona corporation, Kona Macadamia,Inc., a Delaware
                 corporation, Kona Texas Restaurants, Inc., a Texas corporation, Kona Baltimore, Inc., a
                 Delaware corporation, Kona Grill International Holdings, Inc., a Delaware corporation,
                 Kona Grill International, Inc., an Arizona corporation, and Kona Grill Puerto Rico, Inc.,
.~_. .. ~ w __ . a~,~,r~~2na corporation,    , .._

                                                     as Sellers




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                                               ASSET PURCHASE AGREEMENT

                  This Asset Purchase Agreement (the "Agreement") is made and entered into as of
          May 13, 2019 (the "Effective Date") by and among Kona Grill, Inc., a Delaware corporation,
          Kona Restaurant Holdings, Inc., a Delaware corporation, Kona Sushi, Inc., an Arizona
          corporation, Kona Macadamia, Inc., a Delaware corporation, Kona Texas Restaurants, Inc., a
          Texas corporation, Kona Baltimore, Inc., a Delaware corporation, Kona Grill International
          Holdings, Inc., a Delaware corporation, Kona Grill International, Inc., an Arizona corporation,
          and Kona Grill Puerto Rico, Inc., an Arizona corporation (each of the foregoing a "Seller" and
          collectively, the "Sellers") and Williston Holding Company, Inc., a Nevada corporation (the
          "Purchaser"). Sellers and Purchaser are sometimes collectively referred to as the "Parties."

                                                          RECITALS

                   The Parties hereby acknowledge that:

                  A.     Sellers are engaged in the business of owning and operating 27 restaurants in 17
          states and Puerto Rico (such restaurants located in such states, the "Restaurants" and such
          business as conducted in such states, the "Business").

                 B.     Each of Sellers has filed Petitions initiating Chapter 11 bankruptcy cases which
          are being jointly administered under Case No. 19-10953 (the "Chapter 11 Cases") under
          Chapter 11 of Title 11 of the United States Code, 11 U.S.C. Sections 101 et seq. (the
          "Bankruptcy Code") in the United States Bankruptcy Court for the District of Delaware (the
          "Bankruptcy Court").

                 C.      On the terms and conditions of this Agreement, and pursuant to Sections 105, 363
          and 365 of the Bankruptcy Code, Sellers wish to sell to Purchaser, and Purchaser wishes to
          purchase from Sellers, certain of the assets and properties of Sellers relating to the Business, and
          the assumption and assignment of certain executory contracts and unexpired leases pursuant to
_.   ~.
          fhe terms hereof, all ri"the mariner and "subject "to the"terms and conditions set forth ~ ereiri an in
          accordance with Sections 105, 363 and 365 of the Bankruptcy Code (such transactions, the
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                 In consideration of their respective covenants set forth herein, the Parties agree as
          follows:

                    1.       Transfer of Assets.

                          1.1    Purchase and Sale of Assets. On the Closing Date and on the terms and
          conditions hereinafter set forth in this Agreement and pursuant to sections 363 and 365 of the
          Bankruptcy Code and the Sale Order, Sellers shall sell, assign, transfer, convey and deliver to
          Purchaser, and Purchaser shall purchase, acquire, accept and receive from Sellers, free and clear
          of all Encumbrances to the extent provided in the Sale Order, all of each Seller's respective right,
          title and interest as of the Closing Date in and to the following assets and properties used
          primarily by Sellers in connection with the operation of the Acquired Restaurants, including the


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Schedules referenced herein, other than any Excluded Assets (such assets and properties
described below, other than the Excluded Assets, are collectively referred to herein as the
"Purchased Assets"):

                           (a)       all Furniture and Equipment;

                      (b)     all Inventory that is located at (or in transit to) any of the Acquired
       Restaurants as of the Closing Date, other than alcoholic beverage inventories in
       jurisdictions where the Law does not permit Purchaser to take title to such inventories in
       general or does not permit Purchaser to take title to such inventories until Purchaser
       obtains the requisite Liquor License Approvals from the relevant Governmental Body;
       provided, however, Sellers shall transfer, assign, convey and deliver to Purchaser such
       alcoholic beverage inventories in each instance upon issuance of the relevant Liquor
       License Approval or other authorization from the relevant Governmental Body
       (whichever occurs first), and all rights of Sellers to take delivery of any Inventory
       ordered by Sellers before the Closing Date for delivery to any of the Acquired
       Restaurants, which Inventory has not been delivered as of the Closing Date;

                           (c)       all Restaurant Petty Cash;

                           (d)       all Large Party Deposits;

                       (e)    all Intangible Property Assets, including, but not limited to, those
        identified on Schedule 1.1(e) hereto;

                       (~      any interest of Sellers under the Restaurant Leases and the Other
        Contracts that are described on Schedule 1.1(fl hereto (collectively, the "Purchased
        Contracts"), including, without limitation, credits, deposits and prepaid amounts of
        Sellers with respect to the Purchased Contracts as of the Closing Date subject to the
        provisions of Section 2.8 hereof;

                     (g)    to the extent transferable and assignable, all of Sellers' interest in
        those Business Permits and all Liauor Licenses held by Sellers that are described on
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        permit Purchaser to take title to such Business Permits until it obtains the requisite
        approvals from the pertinent Governmental Body; Sellers shall transfer, assign convey
        and deliver to Purchaser such Business Permits in each instance only upon issuance of the
        requisite approvals from the relevant Governmental Body;

                             (h)     all Receivables;

                       (i)    all books, records, files and papers of Sellers relating to the
        Business or the Purchased Assets, including equipment logs, operating guides and
        manuals, creative materials, advertising materials, promotional materials, studies, reports,
        correspondence, financial and accounting records, Tax records and other similar
        documents and records (all in the state in which such records and information currently
        exist) and all computers and other storage devices, wherever located, upon which such

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        information resides (collectively,"Documents") provided, however, for the avoidance of
        all doubt, the following items shall not be deemed "Documents," but rather as Excluded
        Assets for all purposes hereof: (x) any such records that are prohibited for being
        transferred to Purchaser due to federal or state privacy laws and (y) any other of the
        foregoing which are subject to attorney-client or any other privilege;

                       (j)     to the extent transferable, all rights of Sellers under or pursuant to
        all warranties, representations and guarantees made by suppliers, manufacturers and
        contractors to the extent relating to products sold or services provided to any of Sellers
        with respect to the Acquired Restaurants or to the extent affecting any Purchased Assets
        or Purchased Contracts, other than any warranties, representations and guarantees
        pertaining to any Excluded Asset;

                       (k)    all rights, to the extent assignable, under any agreements in favor
        of any of Sellers or for the benefit of any of Sellers with current or former employees,
        contractors or third parties, with respect to confidentiality, non-disclosure, non-
        competition, non-solicitation, or other restrictive covenants, regardless of whether any
        such Person accepts an offer of employment from Purchaser, continues to perform
        services for Purchaser, or submits a bid for all or any portion of the Purchased Assets;
        and

                        (1)     Subject to the provisions of Section 2.8 below, all Claims for
        deposits and other prepaid amounts under any of the Purchased Contracts or held by any
        Utilities or trade vendors relating to any of the Acquired Restaurants; provided, however,
        any adequate assurance deposits paid to the provider of any Utilities or held by Sellers
        shall be Excluded Assets for purposes of this Agreement.

                1.2     Excluded Assets. The Purchased Assets shall include only those assets and
interests specifically listed in Section 1.1 above and shall in all events exclude all right, title or
interest of any_of Sellers in or to ,any ofthe following (collectively, the."Excluded Assets"):

                         (a)           all cash and cash equivalents of Sellers, other than Restaurant Petty
        ~,       ,r --,:.:~ ~,.,,.,_, ,-~ _ _ _~~,.

                         (b)       any bank accounts ol~ Sellers;

                             (c)   the Purchase Price and Sellers' rights under this Agreement;

                     (d)      any Excluded Contracts, including any refund, rebate, credit or
        payment due to Sellers thereunder;

                      (e)      any Claims, other than as set forth in Section l.l(i) and Section
        1.1 1 ,and those arising post-Closing with respect to or in connection with any Purchased
        Asset;

                       (fj     all securities, whether capital stock or debt, and other ownership
        interests issued by any of Sellers;


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                                (g)           all assets of any Section 401(k) or other Seller benefit plan;

                      (h)     all intercompany claims by any Seller against any other Seller or
        any Subsidiary or other Affiliate of any Seller;

                                (i)           any item expressly excluded pursuant to the provisions of Section
        1_l above;

                                (j)           all Avoidance Actions;

                       (k)    any premium refunds (including, without limitation, for any
        prepaid premiums) of Sellers arising from their insurance policies on account of
        reduction in workforce, liability coverage, and the like; and

                       (1)     except only as provided in Sectionsl.1(fl and 1.1(1), all rights and
        Claims to deposits (including, without limitation, any cash collateral for any obligation of
        Sellers and all Post-Petition deposits made by Sellers), credits, prepaid amounts
        (including, without limitation, as to Taxes), refunds, reimbursements, vendor and other
        rebates, set-offs and similar rights and claims of Sellers, including, without limitation,
        any of the foregoing relating to any Contract other than the Purchased Contracts.

                    1.3          Executory Contracts

                      (a)     All Purchased Contracts (which, shall for the avoidance of doubt,
        include the Keen-Summit Agreement) shall be assumed by Sellers and assigned to
        Purchaser at the Closing. Any Contract of any Seller that is an Excluded Contract may
        be assumed or rejected by Sellers in Sellers' sole discretion and shall be deemed an
        Excluded Asset.

                       (b)      As part of the Sale Motion, Sellers shall seek approval by the
  __ .~_$ariic~~ptcy Court--off-the-sale;-as~s~r~np~~on~~a~d~-assigr~n~t b~~~el~ers-~o ~-urcha~~r--of alb- ,.. m_~                                                         ..
       Purchased Contracts. Sellers shall serve the Sale Motion on all counterparties to all such
       Purchased Contracts along with a notice specifically sta.tin~ that Sellers are or may be
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        Sellers shall seek authority to file with the Bankruptcy Court the list identifying the
        Purchased Contracts and the amounts necessary to cure defaults under each as determined
        by Sellers in accordance with Schedule 1.3(b) hereto, so as to enable any such party to
        object to the proposed Cure Costs and the Bankruptcy Court to determine such Cure
        Costs as promptly as reasonably possible. Purchaser may delete any Purchased Contract
        from Schedule l.l(f1 and Schedule 1.3(b) or add any Contract to Schedule 1.1(f~ and
        Schedule 1.3(b) at any time no later than seven (7) days prior to the Closing Date, in each
        case by written notice to Sellers, but any such deletion or addition will not affect the
        Purchase Price. Notwithstanding anything herein to the contrary, if a Contract is added to
        Schedule l.l(~ and/or Schedule 1.3(b) after the Sale Motion is filed, the assumption and
        assignment of any such Contracts) shall not be a condition to Closing and may be
        effected on apost-Closing basis.


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        2.         Consideration.

               2.1     Purchase Price. In consideration of the transfer of the Purchased Assets to
        Purchaser and the other undertakings set forth herein, the purchase price shall be Twenty
        Million Three Hundred Thousand and 00/100 Dollars ($20,300,000.00) (the "Purchase
        Price") and shall be payable, as follows:

                       (b)     on the Effective Date, Purchaser shall deposit into an escrow (the
        "Escrow") with counsel of the Sellers, which shall be held in a trust account (the
        "Escrow Holder"), an amount equal to Two Million Thirty Thousand and 00/100 Dollars
        ($2,030,000.00) (the "Deposit") in immediately available, good funds of the United
        States of America (funds delivered in this manner are referred to herein as "Good
        Funds"), pursuant to joint escrow instructions to be delivered to the Escrow Holder on or
        before the Effective Date; and

                        (c)     on the Closing Date, Purchaser shall deliver the Cash Purchase
        Price, as forth in Section 3.3(c).

                    2.2            Disposition of Deposit at Closing Etc.

                      (a)    At Closing, the Deposit shall be credited and applied toward
        payment of the Purchase Price.

                      (b)     Except as set forth in Section 2.2(c) hereof, if this Agreement
        terminates without a Closing, Purchaser shall be entitled to the return of the Deposit.

                         (c)      If this Agreement is terminated without a Closing by Sellers
        pursuant to Section 14.3(a) or by Purchaser other than in accordance with this
        Agreement, Sellers shall be entitled to the Deposit as liquidated damages. The Parties
        acknowledge and agree that if this Agreement is terminated as contemplated by Section
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        incurred by Sellers will be difficult, if not impossible, to ascertain and accordingly, the
        Parties ha~~P nr~viclecl for the lic~liirl;jteci damages provided above. This provision shall not
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             2.3     Assumed Liabilities. As additional consideration for the transfer of the
Purchased Assets to Purchaser over and above the Purchase Price, effective as of the Closing
Date, Purchaser shall assume only the following Liabilities of Sellers (collectively, the
"Assumed Liabilities"):

                       (a)    any obligation of Sellers to honor Gift Certificates that remain
        outstanding as of the Closing Date, whether or not such Gift Certificates were issued
        prior to or after the commencement of the Chapter 11 Cases of Sellers. A historical
        summary of all Sellers' Liabilities relating to Gift Certificates is listed on Schedule
        2.3 a ;provided, however, the Purchaser's assumption of the Liabilities arising from the
        Gift Certificates shall include all such Liabilities even if they are greater than the
        historical amounts on Schedule 2.3(a);

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                       (b)      all Liabilities arising out of the ownership or operation of the
          Purchased Assets after the Closing Date;

                         (c)     all Liabilities of Sellers under any of the Purchased Contracts
          (which shall include, without limitation, all Cure Costs);

                        (d)     all Liabilities of Sellers under any Large Party Reservation relating
          to any Acquired Restaurant made with the payment of a Large Party Deposit at any time
          before the Closing Date and scheduled to be honored after the Closing Date;

                       (e)    all Liabilities of Sellers as of the Closing Date under Sellers'
          "Konavores" customer loyalty program;

                         (~     all environmental Liabilities arising after the Closing Date under
          federal, state and local law relating to or arising out of or in connection with the
          Purchased Assets;

                         (g)     accrued vacation, sick pay, and other paid time off of the
          Transferred Employees and all other restaurant level Business Employees that are not
          Transferred Employees as provided in Section 13.3, as such amounts may change
          (increase or decrease) in the ordinary course of the Business pending the Closing Date;

                        (h)      ordinary course payroll of Transferred Employees (i.e. paid in the
          ordinary course of the Sellers' current payroll practices) coming due and payable after the
          Closing, which may be attributable in whole or in part to payroll periods preceding the
          Closing Date;

                         (i)               all Liabilities of Sellers for accrued sales, use and similar taxes as
          of the Closing; and
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          the Closing, including all credit card merchant fees, and post-Petition obligations to
          customers of Sellers for refunds, rebates. returns, discounts and the like as of the Closing
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          commencement of the Chapter 11 Cases.

               2.4      Excluded Liabilities. Notwithstanding anything to the contrary contained
in this Agreement, other than the Assumed Liabilities, Purchaser shall not be obligated to assume
or to perform or discharge any Liability of Sellers (such Liabilities not assumed by Purchaser,
the "Excluclecl Liabilities"), which Excluded Liabilities, for the avoidance of doubt, shall
include, but are not limited to, those listed on Schedule 2.4 and the following:

                               (a)         Claims arising under Section 503(b)(9) of the Bankruptcy Code;

                        (b)     Claims or Liabilities arising on or before the Petition Date under
          the Perishable Agricultural Commodities Act, 7 U.S.C. §499a et seq., the Packers and
          Stockyards Act, 7 U.S.C. §181 et seq., or their state law correlates;

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                         (c)     any costs or expenses incurred in connection with, or related to, the
          administration of the Chapter 11 Cases, including, without limitation, any accrued
          professional fees and expenses of attorneys, accountants, financial advisors and other
          professional advisors related to the Chapter 11 Cases;

                         (d)                all Liabilities and obligations under Sellers' key employee
          retention plan; and

                         (e)      all Liabilities for the provision of notice or payment in lieu of
          notice and any applicable penalties under the WARN Act arising prior to the Closing
          Date or arising as a result of the Contemplated Transactions.

                     2.5       Payment of Cure Costs. All Cure Costs shall be the responsibility of
Purchaser.

                     2.6     Transitional Matters. From and after Closing, Sellers shall retain full right
                     and authority to use, enforce, pursue remedies and take actions with respect to any
                     of the Excluded Assets.

               (a)      From and after the Closing, Purchaser will retain and make available to
Sellers or any trustee or other bankruptcy estate representative and their respective
representatives acting on behalf of Sellers' estates, during normal business hours and upon
reasonable advance notice to Purchaser and for a period of one (1) year following the Closing
Date, the Documents delivered by Sellers to Purchaser, if reasonably needed by Sellers for
liquidation, winding up, Tax reporting or other proper purposes; provided, that Sellers will use
reasonable efforts to retain copies of Documents, and the Parties otherwise will reasonably
cooperate to minimize inconvenience to Purchaser. Further, during the same period, Purchaser
shall promptly provide such reports as Sellers may reasonably request to facilitate Sellers' post-
Closing activities for the purposes described above in this Section 2.6(a) at Sellers' cost.

                   ~~b)~ ~~ ~ Previousl~y~ri~ifte Contracts:~ ~                                                                              ~~ ~ ~~ ~ ~ ~ ~~'

                                (il         Tf_ prior to or follo~~in~ Closing, it is discovered that a Contract
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thereof(but in no event later than five (5) Business Days following the discovery thereofj, notify
Purchaser in writing of such Previously Omitted Contract and all Cure Costs (if any) for such
Previously Omitted Contract. Purchaser shall thereafter deliver written notice to Sellers, no later
than five (5) Business Days following notification of such Previously Omitted Contract from
Sellers, designating such Previously Omitted Contract as "Assumed" or "Rejected" (a
"Previously Omitted Contract Designation"). A Previously Omitted Contract designated in
accordance with this Section 2.6(b)(i) as "Rejected," or with respect to which Purchaser fails to
timely deliver a Previously Omitted Contract Designation, shall be an Excluded Contract.

                    (ii)    If Purchaser designates a Previously Omitted Contract as
"Assumed” in accordance with Section 2.6(b)(i),(A)Schedule 1.1(~ shall be amended to include
such Previously Omitted Contract and (ii) Sellers shall serve a notice (the "Previously Omitted
Contract Notice") on the counterparties to such' Previously Omitted Contract notifying such

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       counterparties of the Cure Costs with respect to such Previously Omitted Contract and Sellers'
       intention to assume and assign such Previously Omitted Contract in accordance with this Section
       2.6 b with no adjustment to the Purchase Price. The Previously Omitted Contract Notice shall
       provide the counterparties to such Previously Omitted Contract with [seven (7)] days to object,
       in writing to Sellers and Purchaser, to the Cure Costs and the assumption, assignment and sale of
       the Previously Omitted Contract. If the counterparties, Sellers and Purchaser are unable to reach
       a consensual resolution with respect to the objection, Sellers will seek an expedited hearing
       before the Bankruptcy Court to determine the Cure Costs and approve the assumption,
       assignment and sale. If no objection is timely served on Sellers and Purchaser, Sellers shall seek
       an Order of the Bankruptcy Court fixing the Cure Costs and approving the assumption of the
       Previously Omitted Contract.

                        (c)      To the extent that the assignment to Purchaser of any Purchased Contract
        pursuant to this Agreement is not permitted without the consent of a third party, and such
        restriction cannot be effectively overridden or canceled by the Sale Order or other. related order
        of the Bankruptcy Court, the Parties will use commercially reasonable efforts to obtain consent
        prior to the Closing. If such consent is not obtained by the Closing, each Seller will, with respect
        to each such Purchased Contract, from and after the Closing and until the earlier to occur of(x)
        the date on which such applicable consent is obtained and (y) the date on which such Seller
        liquidates and ceases to exist, use commercially reasonable efforts (subject to restrictions under
        law) during the term of such Purchased Contract to (i) provide to Purchaser the benefits under
        such Purchased Contract, (ii) cooperate in any reasonable and lawful arrangement (including
        holding such Purchased Contract in trust for Purchaser, pending receipt of the required consent)
        designed to provide such benefits to Purchaser, and (iii) enforce for the account of Purchaser any
        rights of such Seller under such Purchased Contract (including the right to elect to terminate such
        Purchased Contract in accordance with the terms thereof upon the direction of Purchaser).
        Purchaser will cooperate with the applicable Sellers in order to enable Sellers to provide to
        Purchaser the benefits contemplated by this Section 2.6(c). Sellers will pay any amount they
        would have been required to pay under any such Purchased Contract had the Purchased Contract
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        with this Agreement; provided, however, in no event shall Sellers be required to bear or pay any
        fee or the like payable for any third party consent.
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        Closing Date, Purchaser shall prepare and deliver to Sellers for their review and consideration a
        schedule (the "Allocation Schedule") allocating the Purchase Price among the various assets
        comprising the Purchased Assets in accordance with Treasury Regulation 1.1060-1 (or any
        comparable provisions of state or local Tax law) or any successor provision. If Sellers disagree
        with or raise objections to the Allocation Schedule, Purchaser and Sellers will negotiate in good
        faith to resolve such objections. If the Parties are able to agree upon the allocation of the
        Purchase Price, Purchaser and Sellers shall report and file all Tax Returns (including any
        amended Tax Returns and claims for refund) consistent with such mutually agreed Purchase
        Price allocation, and shall take no position contrary thereto or inconsistent therewith (including
        in any audits or examinations by any Taxing authority or any other proceedings). Purchaser and
        Sellers shall file or cause to be filed any and all forms (including U.S. Internal Revenue Service
        Form 8594), statements and schedules with respect to such allocation, including any required
        amendments to such forms. If, on the other hand, the Parties are unable mutually to agree upon

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the manner in which the Purchase Price should be allocated, Purchaser and Sellers shall be free
to make their own respective allocations of the Purchase Price for Tax purposes.
Notwithstanding any other provisions of this Agreement, in the event the Parties mutually agree
upon the allocation of the Purchase Price, the provisions of this Section 2.7 shall survive the
Closing.

                2.8    Apportionment. Before the Closing Date, Sellers and Purchaser shall
make mutually satisfactory arrangements with respect to, or take readings or other measurements
of, gas, water, electricity and other utilities at the Acquired Restaurants (the "Utilities");
provided, however, that to the extent any post-petition claims for Utilities services come due
after the Closing, such claims shall be the responsibility of the Purchaser. On and as of the
Closing, Sellers and Purchaser shall mutually determine (or, to the extent impractical, using the
Parties' best estimates as of the Closing Date), and Purchaser shall pay promptly to Sellers, the
amount of any rebates under beverage and other supplier contracts relating to the Acquired
Restaurants, and all amounts for Utilities, rent, common area expense, and real estate taxes
arising out of or relating to the Acquired Restaurants therefor which were paid by Sellers in
respect of any period following the Closing.

        3.       Closing Transactions

                3.1     Closing. The closing of the Contemplated Transactions (the "Closing")
shall take place at 10:00 a.m. on or before the third (3rd)Business Day following the satisfaction
or waiver by the appropriate Party of all the conditions contained in Section 4, or on such other
date (no later than the Outside Date) as may be agreed to by the Parties hereto (the date on which
the Closing occurs, hereinafter the "Closing Date").

               3.2    Sellers' Deliveries to Purchaser at Closing. On the Closing Date, Sellers
shall make the following deliveries to or for the benefit of Purchaser:

                        (a)    one or more Assignments and Assumptions of Restaurant Leases,
        substantially in the form attached as Exhibit A ereto, u y execute y e ers, wrt                             V ~~
        respect to the Restaurant Leases (the "Assignments ofRestaurant Leases");
                             ~i_~   ,s              ,_i , ~,       ... ,.;            ~. ~i~~ ,,,,,~ ,iio „~ ~F,~
                             ~,.~                              ~
        dorm attached as Exhibit 13 hez~eto, duly ex~cutca by fellers, pursuant to ~~1u~1i fellers'
        interest in all Purchased Contracts (other than any Restaurant Leases) shall be assigned to
        Purchaser (the "Assignment of Other Contracts");

                        (c)     an Assignment of Intangible Property Assets, duly executed by
        Sellers, substantially in the form attached as Exhibit C hereto, pursuant to which Sellers'
        interest in all the Intangible Property Assets shall be assigned to Purchaser (the
        "Assignment ofIntangible Property Assets");

                       (d)   a Bill of Sale and Assignment, substantially in the form attached as
        Exhibit D hereto, duly executed by Sellers, pursuant to which Sellers' interest in any
        Purchased Assets not otherwise assigned at the Closing shall be assigned to Purchaser
        (the "Bill ofSale");


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                          (e)      the duly executed Management Agreement, which shall address
            any interim arrangements necessary pending the transfer of liquor licenses and permits to
            buyer and interim arrangements for the transition of computerized books and records, the
           .form and substance of which shall be agreed to by the Parties, in good.faith,.and attached
            as Exhibit E no later than the first hearing set to consider entry of the Procedures Order;

                         (~     certificates of title, duly executed by Sellers, required to convey
            ownership of any motor  vehicles or similar equipment included within the Purchased
            Assets;

                             (g)         the certificate contemplated by Section 4.1(a), duly-executed by
            Sellers;

                           (h)    appropriate evidence of all necessary Entity action by Sellers in
            connection with the Contemplated Transactions, including, without limitation: (i)
            certified copies of resolutions duly adopted by Sellers' Board of Directors (or other
            governing body, as appropriate) approving the Contemplated Transactions and
            authorizing the execution, delivery, and performance by Sellers of this Agreement; and
            (ii) a certificate as to the incumbency of those officers of Sellers executing this
            Agreement and any instrument or other document delivered in connection with the
            Contemplated Transactions; and

                           (i)    any such other documents, funds or other things reasonably
            requested by Purchaser or contemplated by this Agreement to be delivered by Sellers to
            Purchaser at the Closing.

                   3.3    Purchaser's Deliveries to Sellers at Closing. On                                       the         Closing              Date,
    Purchaser shall undertake the following to or for the benefit of Sellers:

~.._.                      (a)     pay, by wire transfer of Good Funds, and in addition to the
            Purc~iase Price; all Cure Costs to the parties to whorrS and pursuant"to"the terms""by"w "ic                                                         ""
            the Bankruptcy Court directs such payments to be made under the Sale Order;
                                 li-~~   .Y..~   ~ rhr- E~c~ e~~;~vr~ ;—E rl~n~~~° 55'~   h~t't 7-7 i1 ~~ iCr <'PIFi7 CC-~ i!A ~P~.i lt`.5"q   ~'9 i~ VJIi'('.
                                 V_'i    - _                                                           -

            transtcr of C3ooci f ands, tll~ 1~eposit as a credit against tiie Yu~~cilase irice;

                          (c)     pay to Sellers, by wire transfer of Good Funds, an amount equal to
            the Purchase Price, less the funds to be released pursuant to Section 3.3(b) above (the
            "Cash Purchase Price");

                          (d)    deliver the certificate contemplated by Section 4.1(a), duly
            executed by Purchaser;

                          (e)    deliver a counterpart of the Assignments of Restaurant Leases,
            duly executed by Purchaser;

                          (~     deliver a counterpart of the Assignment of Other Contracts, duly
            executed by Purchaser;

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                                    (g)     deliver a counterpart of the Assignment of Intangible Property
               Assets;

                                    (h)     deliver a counterpart of the Management Agreement;

                               (i)     deliver an Assumption of Liabilities with respect to the Assumed
               Liabilities, substantially in the form attached as Exhibit F hereto, duly executed by
               Purchaser (the "Assumption ofLiabilities");

                             (j)     deliver any certificates of title required to convey ownership of any
               motor vehicles or similar equipment owned by Sellers to Purchaser, if acknowledgement
               or endorsement thereof is required by Purchaser;

                              (k)    deliver appropriate evidence of all necessary Entity action by
               Purchaser in connection with the Contemplated Transactions, including, without
               limitation: (i) certified copies of resolutions duly adopted by Purchaser's Board of
               Directors approving the Contemplated Transactions and authorizing the execution,
               delivery, and performance by Purchaser of this Agreement; and (ii) a certificate as to the
               incumbency of those officers of Purchaser executing this Agreement and any instrument
               or other document delivered in connection with the Contemplated Transactions; and

                               (1)     deliver any such other documents, funds or other things reasonably
               requested by Sellers or contemplated by this Agreement to be delivered by Purchaser to
               Sellers at the Closing.

                       3.4     Sales, Use and Other Taxes. Any and all sales, purchase, transfer, stamp,
       documentary stamp, use or similar taxes under the laws of the states in which any portion of the
       Purchased Assets is located, or any subdivision of any such state, or under any federal law or the
       laws or regulations of any federal agency or authority, which may be payable by reason of the
.~.,   sale or transfer
                __      of the Purchased Assets under this Agreement or the Contemplated Transactions
       (collectively, the "Transfer 7`~es")shall be in addition to the Purcfiase Price"arid borne and paid "                                              "" " ""
       by Purchaser.
                         '~   `-'   L~ ~,    -.s-~ .,.,:I I.   I   ~~ i ~~cc   !<   ~yYl~ i-~ r~ca~~~ c~~/yY~ ~ti   il"lP   i~~li'(`~'Y:aCPCi !:o~'fi~y


       shall tz~anster to Purchaser ~n ilie l;l~~iu~ 1~atc. fellers silaii transi~r anti dciivcr to Pureilas~r on
       the Closing Date such keys, locks and safe combinations and other similar items as Purchaser
       may reasonably require to obtain occupation and control of the Purchased Assets, and shall also
       make available to Purchaser at their then-existing locations the originals of all documents in
       Sellers' possession that are required to be transferred to Purchaser by this Agreement. The risk
       of loss of, or damage or destruction to, any of the Acquired Restaurants to be conveyed to
       Purchaser under this Agreement shall be borne by Sellers until Closing.

                       3.6    Closing Date. All actions to be taken on the Closing pursuant to this
       Agreement shall be deemed to have occurred simultaneously, and no act, document or
       transaction shall be deemed to have been taken, delivered or effected until all such actions,
       documents and transactions have been taken, delivered or effected. Unless provided otherwise
       herein or agreed otherwise in writing by the Parties, documents delivered at the Closing shall be
       dated as of the Closing Date.

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            4.          Conditions Precedent to Closing.

               4.1     Conditions to Sellers' Obli atg ions. Sellers' obligation to make the
deliveries required of Sellers at the Closing Date and otherwise consummate the Contemplated
Transactions shall be subject to the satisfaction of each of the following conditions (unless such
condition is waived by Sellers):

                            (a)    All of the representations and warranties of Purchaser contained
            herein shall  continue to be true and correct at the Closing in all material respects, and
            Purchaser shall have substantially performed or tendered performance of each material
            covenant on Purchaser's part to be performed which, by its terms, is required to be
            performed at or before the Closing, and Sellers shall have received a certificate by an
            officer of Purchaser, dated as of the Closing Date, to such effect and to the effect that
            each of the conditions precedent to Closing set forth in Section 4.2 either have been
            satisfied or have been waived by Purchaser.

                          (b)    Purchaser shall have tendered delivery of all items required to be
            delivered by Purchaser under Section 3.3.

                           (c)      No action, suit or other proceedings that is not stayed by the
            Bankruptcy Court shall be pending before any Governmental Body seeking or
            threatening to restrain or prohibit the consummation of the Contemplated Transactions, or
            seeking to obtain substantial damages in respect thereof, or involving a Claim that
            consummation thereof would result in the violation of any Legal Requirement of any
            Governmental Body having appropriate jurisdiction.

                          (d)     The Bankruptcy Court shall have entered the Procedures Order and
            the Sale Order, both in accordance with Section 9 below, and the Sale Order shall not
            have been reversed or stayed as of the Closing Date.

       T~ ~    4~     ~oric~ifioris to Purchaser's Ob1 at~ioris. Purchaser's obligation^to ma e t e
deliveries required of Purchaser at the Closing and otherwise consummate the Contemplated
T..,,,,.-,,.,~~,.,,. .1,.,11 1.. ~„1~;A~.t t~ t1,P r~,t~,.P~,-~tinr~ of~a~l~ of41ia fn]~ntt-inR c~nnr~itinnS ~iirt~PcS Cll[}1

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                            (a)      All of the representations and warranties of Sellers contained
            herein shall continue to be true and correct at the Closing in all material respects, and
            Sellers shall have substantially performed or tendered performance of each and every
            covenant on Sellers' part to be performed which, by its terms, is required to be performed
            at or before the Closing (provided, however, that Sellers shall have performed in all
            respects its covenants hereunder to sell, assign, transfer, convey and deliver to Purchaser
            all of Sellers' right, title and interest in and to all Purchased Assets, free and clear of all
            Encumbrances), and Purchaser shall have received a certificate by officers of Sellers,
            dated as of the Closing Date, to such effect and to the effect that each of the conditions
            precedent to Closing set forth in Section 4.1 either have been satisfied or have been
            waived by Sellers.



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                                    (b)      Sellers shall have tendered delivery of all items required to be
                      delivered by Sellers under Sections 3.2 and 3_5.

                                     (c)      No action, suit or other proceedings that is not stayed by the
                      Bankruptcy Court shall be pending before any Governmental Body seeking or
                      threatening to restrain or prohibit the consummation of the Contemplated Transactions, or
                      seeking to obtain substantial damages in respect thereof, or involving a claim that
                      consummation thereof would result in the violation of any Legal Requirement of any
                      Governmental Body having appropriate jurisdiction.

                                    (d)     The Bankruptcy Court shall have entered the Procedures Order and
                      the Sale Order, both in accordance with Section 9 below, and the Sale Order shall not
                      have been reversed or stayed as of the Closing Date.

                      5.          Sellers' Representations and Warranties.

                 Each of Sellers (as to itself hereby makes the following representations and warranties to
          Purchaser:

                          5.1     Organization. Each of Sellers is duly organized, validly existing and in
          good  standing  under  the laws of the jurisdiction of its incorporation or other formation. Each of
          Sellers is duly authorized to conduct business and is in good standing under the laws of each
          jurisdiction where qualification is required. Each of Sellers has all requisite Entity power and
          authority to own, lease and, subject to the provisions of the Bankruptcy Code applicable to
          debtors in possession, to operate its properties, carry on the Business as now being conducted,
          and to enter into this Agreement and to consummate the Contemplated Transactions.

                          5.2     Validityand Enforceability. The execution, delivery and performance of
           this Agreement by  each  of Sellers, and the consummation by each of Sellers of the Contemplated
_..   _. _ Transactions,
                    _.   have been duly authorized by all requisite corporate action. Subject to the entry
           and  effectiveness of Elie Sale dreler; this Agreement has been duly and validly execufe " ari"
           delivered by each of Sellers and (assuming this Agreement constitutes a valid and binding
           ,.....~..., _,.r    „r D,,,..1„~,.-,,.A   .,,,,,. r;~~ r.,~   ,, .,.,l;~a    o,~~7   1,   1.   ~   .~       ,~~t   r.F n~nl~     of CPilot•a
                                                                                                                                        ~'.,~;

          the Standard Exceptions to Eni~reeability.~                                                                               ~                     ~~

                          5.3     No Conflict. Subject to the entry of the Sale Order, neither the
           execution, delivery or performance of this Agreement by any of Sellers, nor the consummation
           by any of Sellers of the Contemplated Transactions, nor compliance by any Sellers with any of
           the provisions hereof,(a) conflict with or result in any breach of the articles of incorporation or
           bylaws of Sellers, (b) conflict with, result in a violation or breach of, or constitute (with or
           without notice or lapse of time) a default (or give rise to any right of termination, modification,
           cancellation, vesting, payment, exercise, acceleration, suspension or revocation) under, any of
           the terms, conditions or provisions of, any note, bond, mortgage, deed of trust, security interest,
           or Contract to which any of Sellers is a party or by which any of Sellers' properties or assets may
           be bound or affected, (c) violate any Legal Requirement applicable to Sellers or to Sellers'



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        properties or assets,(d) result in the creation or imposition of any Encumbrance on any asset of
        Sellers, or(e) cause the suspension or revocation of any Business Permits.

                       5.4    Litigation.    Except for the contemplated Chapter 11 Cases to be filed
        pursuant to this Agreement, there is no material legal proceeding of any type or kind (whether
        governmental, quasi-governmental, judicial or in an alternative dispute resolution forum)
        pending that, once the Sale Order is given effect, will result in any Liability on Purchaser or, to
        Sellers' Knowledge, threatened against or affecting any of Sellers that would likely result in the
        imposition of any Liability on Purchaser or in respect of the Purchased Assets, nor is there any
        material judgment or Order of any Governmental Body outstanding against Sellers.

                        5.5    Broker's or Finder's Fees. No agent, broker or Person acting on behalf
        of any of Sellers is, or will be, entitled to any commission or broker's or finder's fees from
        Purchaser in connection with the Contemplated Transactions; pNovided, however, the Seller's
        investment banker, [Piper Jaffray], shall seek the Bankruptcy Court's approval to receive a
        transaction fee in accordance with the terms of its retention application.

                        5.6     Title to Assets; Sufficiency of Assets. To Sellers' Knowledge, Sellers
                have good and marketable title to, a valid license to or a valid leasehold interest in the
                Purchased Assets. To Sellers' Knowledge, except for the Excluded Assets, the Purchased
                Assets and all Contracts identified by Seller (whether or not Purchased Contracts)
                constitute all of the assets used or necessary for the operation of the Acquired Restaurants
                as presently conducted.

                6.       Purchaser's Warranties and Representations.

               In addition to the representations and warranties contained elsewhere in this Agreement,
        Purchaser hereby makes the following representations and warranties to Sellers as of the Closing
        Date:
_.w.___.. _   _____.~
                      b.l ~ Organizafiori: 'Purchaser is acorporation"duly formed;validly existing an
        in good standing under the laws of Nevada. Purchaser has all requisite corporate power and
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         ..:....... : ........ ..:.,,,. ,.        ,.                  . ~.       ,,
        j


                        6.2    Validity and Enforceability. This Agreement has been duly executed and
        delivered by Purchaser and constitutes the valid and binding obligation of Purchaser enforceable
        against it in accordance with its terms, except as may be limited by the Standard Exceptions to
        Enforceability.

                      6.3     No Conflict. The execution, delivery and performance of this Agreement
        by Purchaser, and the consummation by Purchaser of the Contemplated Transactions, have been
        duly and validly authorized. The execution and delivery of this Agreement, the consummation
        of the Contemplated Transactions, and the performance of, fulfillment of and compliance with
        the terms and conditions hereof by Purchaser, do not and will not (a) conflict with or result in a
        breach of the articles of incorporation or bylaws of Purchaser, (b) violate any Legal
        Requirement, or (c) violate or conflict with or constitute a default under any agreement,


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instrument or writing of any nature to which Purchaser is a party or by which Purchaser or its
assets or properties may be bound.

              6.4     Financial Resources. The Purchaser has the financial resources necessary
to consummate the Contemplated Transactions upon the terms and conditions set forth in this
Agreement, and such financial resources are not subject to any constraints, conditions or
contingencies that could in any way materially affect the Purchaser's ability to consummate the
Contemplated Transactions or perform hereunder.

               6.5     Broker's or Finder's Fees. No agent, broker or Person acting on behalf
of Purchaser is, or will be, entitled to any commission or broker's or finder's fees from Sellers in
connection with the Contemplated Transactions.

          7.         "AS IS" Transaction.

       Purchaser hereby acknowledges and agrees that, except only as provided in Section 5
above, Sellers make no representations or warranties whatsoever, express or implied, with
respect to any matter relating to the Purchased Assets (including, without limitation, income to
be derived or expenses to be incurred in connection with the Purchased Assets, the physical
condition of any tangible Purchased Assets, the environmental condition or other matter relating
to the physical condition of any real property or improvements which are the subject of any
Restaurant Lease, the zoning of any real property or improvements which are the subject of any
Restaurant Lease, the value of the Purchased Assets (or any portion thereof, the transferability
of the Purchased Assets or any portion thereof, the terms, amount, validity, collectability or
enforceability of the Receivables or any Assumed Liabilities or Sellers' Contract, the
merchantability or fitness of the Furniture and Equipment, the Inventory or any other portion of
the Purchased Assets for any particular purpose, or any other matter or thing relating to the
Purchased Assets or any portion thereof. Without in any way limiting the foregoing, Sellers
hereby disclaim any warranty (express or implied) of merchantability or fitness for any particular
purpose„ as to any portion of the,_,Purchased Assets. Purchaser further acknowledges that
Purchaser has conducted an independent inspection and investigation of the physical condition of
all portions of the Purchased Assets and all such other matters relating to or affecting or
                                                                                      r
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based solely upon such independentyinspections and investigations. Accordingly, Purchaser will
accept the Purchased Assets at the Closing "AS IS,""WHERE IS," and "WITH ALL FAULTS."

           8.         Covenants

                 8.1     Liquor License Approvals. Sellers shall reasonably cooperate with
          Purchaser in connection with Purchaser's filings with any Governmental Body or third
          party with respect to any of the Liquor Licenses and obtaining the necessary consents and
          approvals pertaining to transfer and/or issuance of the Liquor Licenses to Purchaser
          ("Liquor License Approvals"), including by entering into the Management Agreement.

                  8.2   Adequate Assurance Re ag rdin~ Purchased Contracts. With respect to each
           Purchased Contract set forth on Schedule 1.1(x, Purchaser shall provide adequate


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        assurance of the future performance of such Purchased Contract by Purchaser as required
        by Sections 365(b)(1)(C) and/or 365(~(2)(B) of the Bankruptcy Code, as applicable, and
        Purchaser shall bear all risk associated with any failure by Purchaser to make such
       .showing to the Bankruptcy Court's satisfaction.

                8.3    Personally Identifiable Information. Purchaser shall honor and observe
        any and all written policies of Sellers in effect on the Petition Date prohibiting the
        transfer of personally identifiable information about individuals and otherwise comply
        with the requirements of Section 363(b)(1)(A) of the Bankruptcy Code.

        9.          Bankruptcy Court Approvals.

               9.1     Promptly following the Effective Date (and in no event later than five (5)
       days thereafter), Sellers shall make a motion (the "Sale Motion") for an order by the
       Bankruptcy Court, substantially in the form attached hereto as Exhibit G, approving the
       sale of the Purchased Assets to Purchaser and the assumption and assignment of the
       Purchased Contracts to Purchaser on the terms and conditions set forth in this Agreement
       (the "Sale Order") and shall use commercially reasonable efforts to obtain the Sale
       Order. Any material changes to the form of the Sale Order must be approved by
       Purchaser and Sellers in their respective sole discretion. If requested by Sellers or the
       Bankruptcy Court, Purchaser shall provide adequate assurance of future performance
       (satisfactory to the Bankruptcy Court) to the counterparties to Sellers' Contracts.

               9.2     As part of the Sale Motion (or pursuant to a separate motion in Sellers'
        sole discretion), Sellers shall also request and use commercially reasonable efforts to
        obtain from the Bankruptcy Court an order (the "Procedures Order") in the form and
        content attached as Exhibit H.

        10.   Commercially Reasonable Efforts.                                               Subject to the terms and conditions of this
        Agreement:

                        10.1           During the period between the Effective Date and Closing, Sellers and
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                 _ __   ,i   ...   -        ~     _      ~.. ~            .~... ..    ....



        be delivered by Sellers and ~l~urchaser pursuant to ~e~tion 3.Z aii~t ~~~tion ~.3,
        respectively, and (iii) to take all other actions to consummate the Contemplated
        Transactions, and (b) not take any action that will have the effect of unreasonably
        delaying, impairing or impeding the receipt of any authorizations, Consents, or Orders to
        be sought pursuant to this Agreement.

               10.2 From and after the Closing, Sellers and Purchaser shall use commercially
        reasonable efforts to deliver or cause to be delivered such additional documents and other
        papers and to take or cause to be taken such further actions as may be necessary, proper
        or advisable to make effective the Contemplated Transactions and to carry out the
        provisions hereof; provided that nothing herein shall require Sellers to execute any
        document or take any action that would (i) impose or involve obligations or Liabilities on
        Sellers over and above those imposed on Sellers by the other provisions of this


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                  Agreement, (ii) involve any cost or expense (individually or in the aggregate) that is
                  material in amount, or (iii) include joining or otherwise becoming a party to any action or
                  proceeding of any kind.

                          10.3 From and after the Closing, Purchaser and Sellers shall reasonably
                  cooperate in the transition of the Purchased Assets from Sellers to Purchaser, provided
                  that neither Party shall be required to expend other than nominal unreimbursed costs in
                  providing such cooperation.

                          10.4 Within fifteen (15) days after the Closing Date, Sellers shall use
                  commercially reasonable efforts to take such corporate and other actions necessary to
                  change their company names to ones that are not similar to, or confusing with, their
                  current names, including any necessary filings required by the law of the state of their
                  respective organization, and shall promptly thereafter provide Purchaser with written
                  evidence of such name changes. Sellers shall also file a motion with the Bankruptcy
                  Court to change the captions of the Chapter 11 Cases to reflect such name changes.

                  11.     Conduct Pendin~~ Closing.

                          11.1 Except with the prior written consent of Purchaser, as otherwise
                  contemplated or permitted by this Agreement or as required by the Bankruptcy Code,
                  from the Effective Date until the Closing Date, Sellers shall operate the Acquired
                  Restaurants in the ordinary course of business (i.e., as such Acquired Restaurants have
                  been operated during the immediately preceding 6-month period, comply with all Legal
                  Requirements applicable to the operation of the Acquired Restaurants and preserve its
                  present business organization intact (in each of the foregoing cases, taking into account
                  Sellers' status as debtors-in-possession).

                          11.2 Sellers shall promptly inform Purchaser in writing of the occurrence or
_~   _~ .. ~.     non-occurrence of any event that, to Sellers' Knowledge, would cause any condition set
                  forth in Section 4.2 not to be satisfied or the breach of any covenant hereon er y e ers: ~ ~ ~ ~ ~ ~~

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            ~~~   Contemplated Tratlsaetions without the prior approval of the other Party (w11ic;11 approval
                  will not be unreasonably withheld), except as may be required (i) by any applicable Legal
                  Requirement, or (ii) to administer the Chapter 11 Cases.

                  12.      Break Up Fee.

                          12.1 Sellers agree and acknowledge that Purchaser's negotiation and execution
                  of this Agreement has required a substantial investment of management time and a
                  significant commitment of resources by Purchaser, and that the negotiation and execution
                  of this Agreement have provided value to Sellers. Therefore, on the terms and expressly
                  subject to the conditions precedent set forth in this Section 12 and the Procedures Order,
                  and as Purchaser's sole and exclusive remedy, Sellers shall pay or cause Purchaser to be
                  paid cash in an amount equal to One Million and 00/100 Dollars as a break-up fee (the
                  "Break-Up Fee"). This provision shall not be construed as a penalty, but as a bona fide

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       attempt to establish an agreed upon measure of damages which Purchasers will suffer as a
       result of such termination of this Agreement

               12.2 Sellers' payment obligations under Section 12.1 with respect to the Break-
        Up Fee shall be payable to Purchaser as and when provided in the Procedures Order and
        expressly subject to the conditions precedent set forth in the Procedures Order. As
        provided in the Procedures Order, the Break-Up Fee shall be paid from and out of(and
        only from and out ofd the proceeds of an Alternative Transaction occurring within 180
        days following the termination of the Contemplated Transactions.

                12.4 Sellers' obligation to pay and Purchaser's right to receive the Break-Up
        Fee in accordance with the terms and conditions of the Procedures Order shall survive the
        termination of this Agreement.

                12.5 As used in this Agreement, the term "Alternative Transaction" means any
        agreement or transaction involving the sale (in a single transaction or a series of
        transactions) of all or substantially all of the Purchased Assets, or the issuance or sale (in
        a single transaction or a series of transactions) of all or substantially all of the equity
        interests of Sellers or any of their successors to any Person other than Purchaser or a
        designee of Purchaser.

        13.          Employee Matters.

                13.1 As of the Closing Date, Purchaser shall have the right, but not the
        obligation, to employ or engage as contractors any or all of the employees of Sellers
        whose job function primarily relates to the Business ("Business Employees") as
        Purchaser determines. Any Business Employees actually employed by Purchaser are
        referred to herein as "Transferred Employees." The terms of employment offered to any
        Business Employees shall be determined by Purchaser in its sole discretion and shall be
        contingent upon the issuance of the Sale Order by the Bankruptcy Court. Purchaser shall
        deliver a list of~the Business Employees it intends to hire no later t an    ays prior to
        the Closing Date. As of the Closing, the employment of all of the Transferred Employees
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        down the Chapter 11 Cases.

                13.2 Subject to Buyer's obligations under Section 2.3(g), Sellers will pay, in
        the ordinary course of business payroll practices, all obligations owed to the Transferred
        Employees through the day prior to the Closing Date for salary, wage, bonus, paid time
        off, benefits, overtime, Taxes, and other compensation or other amounts payable to or
        with respect to Transferred Employees. Sellers will be solely liable for all workers'
        compensation claims made by any of the Transferred Employees based on events or
        circumstances first occurring before the Closing Date.

                13.3 Beginning at 12:01 a.m. on the Closing Date, Purchaser will provide employee
        benefit coverage for all Transferred Employees under new or existing plans sponsored by
        Purchaser. Purchaser will provide credit under its new or existing plans for all Transferred
        Employees' compensated time-off that is due from Sellers as of the Closing Date. Sellers will

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            pay all other restaurant level Business Employees that are not Transferred Employees the amount
            of their compensated time-off that is due from Sellers as of the Closing Date, and
            Purchaser will reimburse Sellers for such amounts on the Closing Date. Except for such
           .compensated time-off, Sellers will remain solely liable, and Purchaser will not assume or
            otherwise have any Liabilities for, any contributions or benefits due with respect to any period
            prior to the Closing Date under any of Sellers' employee benefit plans.

                   13.4 Sellers shall retain the Liability for vacation time, sick leave, personal
            leave and other compensated time off accrued as of the Closing by Business Employees
            who are neither Transferred Employees nor restaurant level Business Employees (the
            obligations to whom are being expressly assumed by Buyer pursuant to Section 2.3(x)).

                     13.5    INTENTIONALLY OMITTED

                    13.6 Sellers shall be solely liable for complying with the WARN Act and any
            and all comparable state law obligations (and for any failures to so comply); provided,
            howeveN, that Purchaser shall be solely responsible for all Liabilities relating to or arising
            in connection with any actual, constructive or deemed termination of employment by
            Purchaser of any Transferred Employee after the Closing Date.

            14.      Termination.

                   14.1 Termination by Mutual Consent.          This Agreement may be terminated
    at any time prior to the Closing Date by mutual written agreement of the Parties.

                     14.2 Termination by Either Purchaser or Sellers. This Agreement may be
     terminated at any time prior to the Closing Date by either Purchaser or Sellers if any
     Governmental Body shall have issued an Order permanently restraining, enjoining or otherwise
     prohibiting the consummation of the Contemplated Transactions and either (i) thirty (30) days
     shall have elapsed from the issuance of such Order and such Order has not been removed or
__ __~,a~ated;or-(ii~)-such-Order-s~ha~-1-l~~~e-~e~omefinalaid-~o~-appe-al~bl~:-- _ __ _ _ . _ ___ _           _ _ _~ ,._

                     14.3        Termination by Sellers. This Agreement may be terminated at any time


                          (a)     if there has been a material breach by Purchaser, which breach
            Purchaser has failed to cure within ten (10) days following its receipt of written notice
            thereoffrom Sellers;

                           (b)     if any condition precedent of Sellers specified in Section 4.1 shall
            not have been satisfied or waived and shall have become impossible to satisfy, unless the
            failure of such condition to have been satisfied was caused primarily by a material breach
            by Sellers;

                         (c)           if the Procedures Order is not entered by the Bankruptcy Court by
            May 31, 2019;




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                                     (d)        if the Sale Order is not entered by the Bankruptcy Court by July
                  26, 2019; or

                                (e)      if the Closing Date shall not have occurred on or before 5:00 p.m.
                  Pacific time on the Outside Date, but only to the extent the Closing has not occurred as of
                  the Outside Date for reasons other than Sellers' failure to meet its obligations hereunder,
                  including without limitation using all diligent and commercially reasonable efforts to
                  obtain approval of the Sale Order by the dates set forth herein.

                          14.4 Termination by Purchaser. This Agreement may be terminated at any time
          prior to the Closing Date by Purchaser as follows:

                                     (a)        [Intentionally omitted];

                               (b)              if the Procedures Order is not entered by the Bankruptcy Court by
                  May 31, 2018;

                                     (c)        if the Sale Order is not entered by the Bankruptcy Court by July
                  26, 2019;

                                 (d)      if there has been a material breach by a Seller, which breach such
                  Seller has failed to cure within ten(10) days following its receipt of written notice thereof
                  from Purchaser;

                                 (e)    if any condition precedent of Purchaser specified in Section 4.2
                  shall not have been satisfied or waived or, in the reasonable judgment of Purchaser, shall
                  have become reasonably unlikely to be satisfied, unless the failure of such condition to
                  have been satisfied was caused primarily by a material breach by Purchaser;

                               (fj    if the Bankruptcy Court enters any Order approving any
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                  Transaction;
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                  the Outside Date for reasons other than Purchaser's failure to meet its obligations
                  hereunder;

                               (h)      if the Chapter 11 Case shall be dismissed or converted to cases
                  under Chapter 7 of the Bankruptcy Code, or if any trustee is appointed in the Chapter 11
                  Case; or

                                 (i)     if for any reason (other than Purchaser's failure to provide
                  adequate assurance of future performance sufficient to satisfy the relevant requirements
                  of Section 365 of the Bankruptcy Code or applicable nonbankruptcy law and Section
                  365(c)(1) prohibits assignment without the counterparty's consent) Sellers are unable, or
                  fail, to assume and assign to Purchaser at the Closing all Purchased Contracts.


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                             14.5 Effect of Termination. In the event of termination by either Sellers or
             Purchaser of this Agreement pursuant to this Section 14, written notice thereof shall as promptly
             as practicable be given to the other Parties and thereupon this Agreement shall terminate and the
             Contemplated Transactions shall be abandoned without further action by the Parties hereto.
             Upon termination of this Agreement,(a) except as otherwise provided in this Agreement, this
             Agreement shall cease to have any force or effect,(b) the Parties shall not have any liability to
             each other, except for fraud occurring on or before the date of such termination; provided,
             however, that if this Agreement is terminated by reason of(i) any material breach hereof by the
             non-terminating Party or (ii) any material non-compliance by the non-terminating Party with its
             obligations under this Agreement, which non-compliance shall have been the cause of the failure
             of one or more of the conditions to the terminating Party's obligations to effect the Contemplated
             Transactions to have been satisfied, the terminating Party's right to pursue any available
             remedies at law will survive such termination unimpaired, and (c) the Parties under this
             Agreement shall cease to have any further obligations under this Agreement except pursuant to
             Sections 2.2, 12, 14.5, 16.1 through 16.9, and 16.11 through 16.19 (as such obligations are
             affected by any defined terms contained herein relating thereto), and (d) all filings, applications
             and other submissions made pursuant to the Contemplated Transactions shall, to the extent
             practicable, be withdrawn from the Governmental Body or Person to which made.

                             14.6 Notification of Certain Events. Sellers shall give written notice to
             Purchaser promptly upon becoming aware of any occurrence, or failure to occur, of any event,
             which occurrence or failure to occur has caused or could reasonably be expected to cause any
             condition to the obligations of Purchaser to effect the Contemplated Transactions not to be
             satisfied. If Sellers give Purchaser a written notice pursuant to this.Section 14.6 then Purchaser
             shall be permitted to terminate this Agreement pursuant to Section 14.4.

                     15.      Post-Closing Matters.

                             15.1 Further Conveyances and Assumptions.
__ ~   _w_    ~_ ._ __. _   __    __. __~ _ v___ ____ __.                 __     ~ ___
                                     (a)  From time to time following the Closing, Sellers shall make
                     available to Purchaser such data in personnel records of Transferred Employees as is


                                    (b)       From time to time following the Closing, Sellers and Purchaser          ~~
                     shall, and shall cause their respective Affiliates to, execute, acknowledge and deliver all
                     such further conveyances, notices, assumptions, releases and acquaintances and such
                     other instruments, and shall take such further actions, as may be reasonably necessary or
                     appropriate to assure fully to Purchaser and its respective successors or assigns, all of the
                     properties, rights, titles, interests, estates, remedies, powers and privileges intended to be
                     conveyed to Purchaser under this Agreement and to assure fully to each of Sellers and its
                     successors and assigns, the assumption of the liabilities and obligations intended to be
                     assumed by Purchaser under this Agreement, and to otherwise make effective the
                     Contemplated Transactions. For the avoidance of all doubt, nothing herein shall require
                     Sellers to execute any document or take any action that would (i) impose or involve
                     obligations or Liabilities on Sellers over and above those imposed on Sellers by the other
                     provisions of this Agreement, (ii) involve any cost or expense (individually or in the

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        aggregate) that is material in amount, or (iii) include joining or otherwise becoming a
        party to any action or proceeding of any kind.

                15.2 Reasonable Access to Records and Certain Personnel. For a period of one
(1) year following the Closing, (i) the Purchaser shall permit Sellers' counsel and other
professionals and counsel for any successor to Sellers and their respective professionals
(collectively, "Permitted Access Parties") reasonable access to the financial and other books and
records relating to the Purchased Assets or the Business, which access shall include the right of
such Permitted Access Parties to copy, at such Permitted Access Parties' expense, such
documents and records as they may request in furtherance of the purposes described above, and
(ii) Purchaser shall provide the Permitted Access Parties (at no cost to the Permitted Access
Parties) with reasonable access during regular business hours to complete their post-Closing
activities (including, without limitation, preparation of Tax Returns), provided that such access
does not unreasonably interfere with the Purchaser's business operations.

        16.      Miscellaneous.

               16.1 Attorneys' Fees. In the event that any Party hereto brings an action or
other proceeding to enforce or interpret the terms and provisions of this Agreement, each Party in
that action or proceeding shall bear its own attorneys' fees, costs and expenses (including,
without limitation, all court costs and reasonable attorneys' fees).

                16.2 Notices. Unless otherwise provided herein, any notice, tender, or delivery
to be given hereunder by any Party to the others shall be deemed effected upon personal delivery
in writing, one Business Day after being dispatched by reputable overnight courier (e.g., FedEx),
postage prepaid, or in the case of delivery by facsimile, as of the date of facsimile transmission
(with answer back confirmation of such transmission), or in the case of delivery by email, as of
the date of the email transmission (with read-receipt enabled). Notices shall be addressed as set
forth below, but each Party may change its address by written notice in accordance with this
Section 16.2.

        To Seller(s): Kona Grill, Inc.

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                             AZ 85254
                             Facsimile:(844)272 6842
                             Attn: Christopher Wells, CRO
                             Email: CWells@alvarezandmarsal.com

        With a copy to (which shall not constitute notice):

                             Pachulski Stang Ziehl &Jones LLP
                             150 California Street, 15'h Floor
                             San Francisco, CA 94111
                             Attn: Jeremy V. Richards and John W. Lucas
                             Email:jlucas@pszjlaw.com
                                    jrichards@pszjlaw.com


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                         Facsimile: (302)652-4400


       To Purchaser: Williston Holding Company, Inc.
                     12000 Aerospace Avenue, Suite 400
                     Houston, TX 77034
                     Attn: Marcus E. Jundt, CEO
                     Email:jundt@willistonholdingcompany.com




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        With a copy to (which shall not constitute notice):

                         Gray, Plant, Mooty, Mooty &Bennett, P.A.
                         500 IDS Center
                         80 South Eighth Street
                         Minneapolis, MN 55402
                         Attn: Phillip W. Bohl
                         Email: Phillip.Bohl@gpmlaw.com

               16.3 Entire Agreement.       This Agreement and the documents to be executed
pursuant hereto contain the entire agreement among the Parties relating to the sale of the
Acquired Restaurants. Any oral representations or modifications concerning this Agreement or
any such other document shall be of no force and effect excepting a subsequent modification in
writing, signed by the Party to be charged.

               16.4 Modification. This Agreement may be modified, amended or
supplemented only by a written instrument duly executed by all the Parties hereto which
expressly indicates the intention to modify, amend or supplement this Agreement.

              16.5 Severability. Should any term, provision or paragraph of this Agreement
be determined to be illegal or void or of no force and effect, the balance of the Agreement shall
survive.

                16.6 Captions. All captions, Section titles and headings contained in this
Agreement are for convenience of reference only and shall be without substantive meaning or
context of any kind whatsoever and shall not be construed to limit or extend the terms or
conditions of this Agreement.

               16.7 Waiver. No waiver of any of the provisions of this Agreement shall be
deemed, or  shall constitute, a waiver of other provisions, whether or not similar, nor shall any
waiver constitute a continuing waiver. No waiver shall be bindng~unless executed in wrting~by       ~ ~~ ~ ~~~~
the Party making the waiver; provided, however, that the Consent of a Party to the Closing shall



              16.8 Payment of Fees and Expenses. Except as provided in Sections 12 and
16.1 above, each Party to this Agreement shall be responsible for, and shall pay, all of its own
fees and expenses, including those of its counsel, incurred in the negotiation, preparation and
consummation of the Agreement and the Contemplated Transactions.

                 16.9 Survival. The respective representations and warranties of Purchaser and
Sellers under this Agreement shall lapse and cease to be of any further force or effect effective
upon the Closing. Except as provided in the immediately preceding sentence, the covenants and
agreements of Sellers and Purchaser herein, or in any certificates or other documents delivered
prior to or at the Closing, shall not be deemed waived or otherwise affected by the Closing.

              16.10 Assi n~ments. This Agreement shall not be assigned by Sellers or
Purchaser without the prior written consent of the other(s), which consent Purchaser or Sellers

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                 may grant or withhold in their respective sole and absolute discretion; pNovided, howeveN, that
                 Purchaser may assign or otherwise transfer any or all of its rights and interests hereunder to one
                 or more affiliates, wholly owned subsidiaries, successors by consolidation, merger or operation
                 of law, purchasers of all or substantially all of the Purchaser's assets or .business or lenders of
                 Purchaser as collateral (subject, in all instances to Purchaser's obligations under Section 8.2
                 hereof No assignment by any Party hereunder shall be deemed to in any way limit the
                 assignor's liability or obligations hereunder.

                                 16.11 Binding Effect. This Agreement shall bind and inure to the benefit of the
                 respective heirs, personal representatives, successors, and permitted assigns of the Parties hereto.

                               16.12 Applicable Law. This Agreement shall be governed by and construed in
                 accordance with the Bankruptcy Code and to the extent not inconsistent with the Bankruptcy
                 Code,the law of the State of Delaware applicable to contracts made and performed in such State.

                                16.13 Construction. In the interpretation and construction of this Agreement, the
                 Parties acknowledge that the terms hereof reflect extensive negotiations between the Parties and
                 that this Agreement shall not be deemed, for the purpose of construction and interpretation,
                 drafted by either Party hereto.

                             16.14 CONSENT TO JURISDICTION. THE PARTIES AGREE THAT THE
                 BANKRUPTCY COURT SHALL BE THE EXCLUSIVE FORUM FOR ENFORCEMENT OF
                 THIS AGREEMENT OR THE CONTEMPLATED TRANSACTIONS AND(ONLY FOR THE
                 LIMITED PURPOSE OF SUCH ENFORCEMENT) SUBMIT TO THE JURISDICTION
                 THEREOF; PROVIDED THAT IF THE BANKRUPTCY COURT DETERMINES THAT IT
                 DOES NOT HAVE SUBJECT MATTER JURISDICTION OVER ANY ACTION OR
                 PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, THEN EACH
                 PARTY (A) AGREES THAT ALL SUCH ACTIONS OR PROCEEDINGS SHALL BE
                 HEARD AND DETERMINED IN A FEDERAL COURT OF THE UNITED STATES
__           _   SITTING IN_THE_GITY_OF PHOENIX, ARIZONA,(B)IRREVOCABLY       SUBMITS
                                                                     ___~ _. __.~_              . __ _ THE
                                                                                   _ ~. _ __ ~ _TO     _ _ _ ._ .. _ ~ n.~                 __ ..
                 JURISDICTION OF SUCH COURTS IN ANY SUCH ACTION OR PROCEEDING, (C)
                 CONSENTS THAT ANY SUCH ACTION OR PROCEEDING MAY,,r.~,        BE BROUGHT IN
                                       ,...   ..   ,. , ,  .. ,   .....,            ~ ,.t,._,,,.., ,r,
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                 PROCEEDING WAS BROUGHT IN AN INCONVENIENT COURT, AND (D) AGREES
                 THAT SERVICE OF PROCESS IN ANY SUCH ACTION OR PROCEEDING MAY BE
                 EFFECTED BY MAILING A COPY THEREOF BY REGISTERED OR CERTIFIED MAIL
                 (OR ANY SUBSTANTIALLY SIMILAR FORM OF MAIL),POSTAGE PREPAID,TO SUCH
                 PARTY AT ITS ADDRESS AS PROVIDED IN SECTION 16.2 (PROVIDED THAT
                 NOTHING HEREIN SHALL AFFECT THE RIGHT TO EFFECT SERVICE OF PROCESS 1N
                 ANY OTHER MANNER PERMITTED BY ARIZONA LAW).

                                 16.15 Counterparts. This Agreement may be signed in counterparts. The Parties
                 further agree that this Agreement may be executed by the exchange of facsimile or electronic pdf
                 signature pages provided that by doing so the Parties agree to undertake to provide original
                 signatures as soon thereafter as reasonable in the circumstances.



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                              16.16 Non-Recourse. No past, present or future stockholder, director, officer,
               employee, or  incorporator  of Sellers or Purchaser shall have any liability for any obligation or
               Liability of Sellers or Purchaser, as the case may be, under this Agreement or for any claim,
               counter-claim, cause. of action or demand based on, in respect of, or by reason of, the.
               Contemplated Transactions, except for any claim against any Person based on the fraud or gross
               negligence of such Person in connection with any representations of Sellers or Purchaser
               hereunder, as the case may be.

                                16.17 Time is of the Essence. Time is of the essence in this Agreement, and all
                of the terms, covenants and conditions hereof.

                                16.18 Interpretation and Rules of Construction. In this Agreement, except to the
                extent that the context otherwise requires:

                                        (a)    when a reference is made in this Agreement to an Article, Section,
                         Exhibit or Schedule, such reference is to an Article or Section of, or an Exhibit or a
                         Schedule to, this Agreement unless otherwise indicated;

                                      (b)   the headings and captions used in this Agreement are for reference
                         purposes only and do not affect in any way the meaning or interpretation of this
                         Agreement;

                                       (c)     whenever the words "include," "includes" or "including" are used
                         in this Agreement, they are deemed to be followed by the words "without limitation";

                                        (d)     the words "hereof," "herein" and "hereunder" and works of similar
                         import, when used in this Agreement, refer to this Agreement as a whole and not to any
                         particular provision of this Agreement;

                                         (e)      all terms defined in this Agreement have the defined meanings
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                         wh"eri used"in ariy "certificate or other clocur font ~riaz~~ ter ~eiivered pursuant hereto;un ess
                         otherwise defined therein;
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                         siriguiar as weii as one ~iur~ai i~r~r~~ ui 5uui~ ~u~~~Y~;

                                       (g)     any law defined or referred to herein or in any agreement or
                         instrument that is referred to herein means such law or statute as from time to time
                         amended, modified or supplemented, including by succession of comparable successor
                         laws;

                                          (h)      references to a person are also to its permitted successors and
                         assigns; and

                                        (i)   the use of "or" is not intended to be exclusive unless expressly
                         indicated otherwise.




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                16.19 Third Partv Beneficiaries. This Agreement is intended to be solely for the
benefit of the Parties hereto and is not intended to confer, and shall not be deemed to confer, any
benefits upon, or create any rights in or in favor of, any Person other than the Parties hereto, and
their respective permitted assigns.

        17.    Definitions. In addition to the other terms defined elsewhere in this Agreement,
for the purposes of same, the following words and terms shall have the meaning set forth below
(such meanings being equally applicable to both the singular and plural form of the terms
defined). The exhibits and schedules referenced in this Section 17 and throughout the
Agreement are deemed to be part ofthe Agreement and are incorporated herein by reference.

       "Acquired RestauranP' means those restaurants which are operated at the premises
leased pursuant to a Restaurant Lease.
       "Affiliate" of a Person means a Person that directly or indirectly, through one or more
intermediaries, controls, is controlled by, or is under common control with, the first-mentioned
Person. For purposes of this definition, "control," when used with respect to any specified
Person, means the power to direct or cause the direction of the management and policies of such
Person, directly or indirectly, whether through ownership of voting securities or by contract or
otherwise, and the terms "controlling" and "controlled by" have meanings correlative to the
foregoing.
         "AgreemenP' shall have the meaning provided for in the preamble.
         "Allocation Schedule" shall have the meaning provided for under Section 2,7.
         "Alternative Transaction" shall have the meaning ascribed to such term in Section 12.4
above.
         "Assignment of Restaurant Leases" shall have the meaning provided for under Section
3.2b.
      __"Assignment_ofIntangible Property Assets" shall have the meaning ,provided for under
Section 3.2(d).
       "Asci,~nmerat of Otlzer Contracts" shall have the meaning provided for under Section

         "Assumed Liabilities' shall have the meaning provided for under Section 2.3.
       "Assumption ofLiabilities" shall have the meaning provided for under Section 3.3(i).
        "Avoidance Action" means all preference or avoidance claims and actions of Sellers,
including, without limitation, any such claims and actions arising under Sections 544, 547, 548,
549, and 550 of the Bankruptcy Code and any other affirmative Claim of Sellers against third
parties, including, without limitation, any Claims arising under non-bankruptcy law.
         "Bankruptcy Code" shall have the meaning provided for under Recital B.
         "Bankruptcy Court" shall have the meaning provided for under Recital B.
         "Bill ofSale" shall have the meaning provided for under Section 3.2(d).
         "Break-Up Fee" shall have the meaning provided for under Section 12.1.


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                           "Business" shall have the meaning provided for under Recital A.
                    "Business Day" means any day other than a Saturday or Sunday or a legal holiday on
              which banks in California are closed.
                      "Business Employees" shall have the meaning provided for under Section 13.1.
                      "Business Permit" means any business permit, license, certificate of occupancy,
              registration, certificate of public convenience and necessity, approval, easement, authorization or
              operating right issued or granted by any Governmental Body having jurisdiction over the
              Business.
                      "Cash Pu~claase Price" shall have the meaning provided for under Section 3.3(c).
                     "Chapter 11 Cases" shall have the meaning provided for under Recital B.
                     "Claim" means any claim, cause of action, right of recovery, right of set-off, and right of
              recoupment of every kind and nature including but not limited to prepayments, warranties,
              guarantees, refunds, reimbursements.
                           "Closing" shall have the meaning provided for under Section 3.1.
                           "Closing Date" shall have the meaning provided for under Section 3.1.
                    "Code" means the Internal Revenue Code of 1986, as amended.
                    "Consent" means any consent, approval, authorization, affirmative vote, waiver,
              agreement or license by, or report or notice to, any Person.
                    "Contemplated Transactions" shall have the meaning provided for under Recital C.
                      "ContracP' means any executory contract or unexpired lease within the meaning of the
              Bankruptcy Code.
                      "Copyright" means all copyrightable works, and all United States and foreign registered
              copyrights and applications, registrations and renewals therefor, and any past, present or future
__ _   _ __ . -cairns--or ca~~se~ of-a~tio~s-ar-is~r~g ouL of or~elated._~o_ ar~__infring~~ment or~isap~~o~ri~~on of _ _ .___ . ._,
               any of the foregoing.
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                           _.   ,l.   ..   !7„r7,~   _ tl~ >r ~.; r,i l~   i ~~   II   -_       a~3 ri ~~ecC ~rf~ SE'i r-~       Fll}'l~.I"~:'~CPfi.   ('i 3"1 YY'~a(`P: fC}
                  _ ”"
                                       A
                                                                                                            _                ~                                        ~        _ .,
          ~~ ~ ~ Purchaser, as set forth on Schz~ule 1.3(b 1 li~rcto. ~
                           "Deposit" shall have the meaning provided for under Section 2.1(a).
                           "Documents" shall have the meaning provided for under Section 1.1(i).
                      "Domain Name" means the Internet domain names owned by Sellers, and all
              registrations, applications and renewals related to the foregoing.
                      "Effective Date" shall have the meaning provided for in the preamble.
                      "Encumbrance" means any claim, lien, pledge, option, charge, easement, Tax
               assessment, security interest, deed of trust, mortgage, right-of-way, encroachment, building or
               use restriction, conditional sales agreement, encumbrance or other right of third parties of any
               sort whatsoever, whether voluntarily incurred or arising by operation of law, and includes any
               agreement to give any of the foregoing in the future, and any contingent sale or other title



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          retention agreement or lease in the nature thereof.
                 "Entity" means any corporation (including any nonprofit corporation), general
          partnership, limited partnership, limited liability partnership, joint venture, estate, trust,
          cooperative, foundation, society, political party, union, company (including any limited liability
          company or joint stock company), firm or other enterprise, association, organization or entity.
                    "Escrow" shall have the meaning provided for under Section 2.1(a).
                    "Escrow Holder" shall have the meaning provided for under Section 2.1(a).
                    "Excluded Assets" shall have the meaning provided for under Section 1.2.
                    "Excluded Contract" means any Sellers' Contract that is not a Purchased Contract.
                    "Excluded Liability" shall have the meaning provided for under Section 2.4.
                 "Excluded Petty Cash" means, collectively, any petty cash of Sellers (i) on the premises
          of any of the Acquired Restaurants in excess of $4,000, and (ii) on any premises or at any
          location that is not an Acquired Restaurant.
                  "Furniture and Equipment" means, to the extent located at, forming part of, or used
          primarily in connection with an Acquired Restaurant, all fixtures and other Leasehold
          Improvements, counters, POS systems, hoods, washers, disposal systems, ovens, grills, friers,
          refrigeration units, artwork, racks, stands, displays, counters, desks, chairs, tables, dispensers,
          and other furniture and furnishings, hardware, vehicles, tools, small ware, and other equipment
          (copiers, fax machines, telephone lines and numbers, computers, printers, and other
          telecommunication equipment), and miscellaneous office and store supplies and other items of
          tangible personal property owned or used by Sellers in the conduct of the Business. As used
          herein, the "Furniture and Equipment" does not include any tangible property held by Sellers
          pursuant to a Contract where Purchaser does not assume at the Closing the underlying Contract
          relating to such property but, notwithstanding the foregoing, shall include those tangible assets
          located at Sellers' Headquarters Premises which are described on Schedule 17 (FFE) attached
          hereto..
                 "Gift Certificates" means any gift certificates, gift cards, or food/beverage credits that are
          issued by Seller and required to be honored by Sellers in the ordinary course of business prior to
          L.11C E ~-t~J;~li1L Li1ll:.


~~~   ~             "Good Funds" shall have the meaning provided for under Section 2.1(a).
                  "Governmental Body" means any: (a) nation, principality, state, commonwealth,
          province, territory, county; municipality, district or other jurisdiction of any nature;(b) federal,
          state, local, municipal, foreign or other government; (c) governmental or quasi-governmental
          authority of any nature (including any governmental division, subdivision, department, agency,
          bureau, branch, office, commission, council, board, instrumentality, officer, official,
          representative, organization, unit, body or Entity and any court or other tribunal); (d)
          multinational organization or body; or (e) individual, Entity or body exercising, or entitled to
          exercise, any executive, legislative,judicial, administrative, regulatory, police, military or taxing
          authority or power of any nature.
                 "Headquarters Premises" means and refers to the premises commonly known as 15059
          North Scottsdale Road, Suite 300, Scottsdale, Arizona.


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       "Indebtedness" shall mean and include (i) all obligations for borrowed money, (ii) al
obligations evidenced by bonds, debentures, notes or other similar instruments, (iii) all
obligations to pay the deferred purchase price of property or services (other than accounts
payable and accrued expenses), (iv) all obligations with respect. to capital .leases, (v) all
obligations created or arising under any conditional sale or other title retention agreement with
respect to property acquired by such Person, (vi) all non-contingent reimbursement and other
payment obligations in respect of letters of credit and similar surety instruments (including
construction performance bonds, but not contingent obligations in respect of letters of credit and
similar surety instruments (including construction performance bonds)), and (vii) all guaranty
obligations with respect to the types of obligations listed in clauses (i) through (vi) above.
        "Intangible Property Assets" means any Intellectual Property Assets or Other Intangible
Property Assets owned or held by Sellers. As used in this Agreement, "Intangible Property
Assets" shall in all events exclude: (i) any materials containing information about employees
(other than Transferred Employees), to the extent disclosure of which is prohibited under
applicable law, and (ii) any software or other item of intangible property held by Sellers pursuant
to a license or other Contract where Purchaser does not assume the underlying Contract relating
to such software or item of intangible personal property at the Closing.
        "Intellectual Property Assets" means intellectual property or other proprietary rights of
Sellers of every kind throughout the world, both domestic and foreign, which, in each case, are
related to the Business, including all inventions and improvements thereon, Patents, Trademarks,
Trademark Rights, Copyrights, Domain Names, Technology, Recipes and trade secrets.
       "Inventory" means all food, all supplies, goods, finished goods, materials, raw materials,
work in process, perishable inventory and stock in trade owned by any Seller, whether or not
prepaid, and wherever located, held or owned, including all fresh and frozen foodstuffs,
alcoholic beverages, non-alcoholic beverages, disposable paper goods (such as napkins and
paper towels), soaps and detergents, condiments, retail merchandise, replacement and spare parts
and fuels and other similar items owned and held by Sellers or used in connection with the
Acquired
  __         ___ ~_._ wherever
          Restaurants,   _ ~ ___located
                                    ~ __.___ _ ___
       "Keen-Summit Agreement" means that certain Retention Agreement dated as of April
23, 2019, by and among Keen-Summit Capital Partners LLC and Kona Grill Inc.
          --    a-   -- v     r   ~         - ~          ~            _               _
reservatiion fee made to Sellers in connection with a Large Party K.;s~rvati~~i.
        "Large Party Reservation" means a reservation for space, food, beverage, and associated
service for any party larger than 12 people at any Acquired Restaurant made with the payment of
a Large Party Deposit for a date and time after the Closing Date including, for example, a large
family party or gathering, a corporate party or function, or a similar group function planned in
advance.
        "Lease/told Improvements" means any leasehold improvements or appurtenances to
such improvements (including, without limitation, buildings, structures, storage areas,
driveways, walkways, planters, landscaping and parking areas).
        "Legal Requirement" means any applicable federal, state, local, municipal, foreign or
other law, statute, legislation, constitution, principle of common law, resolution, ordinance, code,
edict, proclamation, treaty, convention, rule, regulation, directive, pronouncement, requirement,

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             notice requirement, guideline, Order, specification, determination, opinion or interpretation
             issued, enacted, adopted, passed, approved, promulgated, made, implemented or otherwise put
             into effect by or under the authority of any Governmental Body.
                   "Liability" means any direct or indirect liability, Indebtedness, obligation, commitment,
             expense, claim, deficiency, guaranty or endorsement of any type whatsoever, whether accrued or
             unaccrued, absolute or contingent, matured or unmatured, liquidated or unliquidated, known or
             unknown, asserted or unasserted, due or to become due.
                    "Liquor License" means all liquor licenses (including, without limitation, beer and wine
             licenses) held or used by a Seller in the operation of the Business.
                         "Liquor License ApprovaC' shall have the meaning provided for under Section 8.1.
                    "Management Agreement" means the agreement substantially in the form attached as
             Exhibit E.
                   "Order" means any judgment, decision, consent decree, injunction, ruling or order of any
             Governmental Body that is binding on any Person or its property under applicable law.
                         "Other ContracP' means any Sellers' Contract other than the Restaurant Leases.
                     "Other Intangible Property Assets" means all intangible personal property (other than
             the Intellectual Property Assets) owned or held by Sellers, including, without limitation,(A)the
             books and records pertaining to the Business; (B) proprietary information relating to the
             Business, including but not limited to catalogues, customer lists and other customer data bases,
             correspondence with present or prospective customers and suppliers, advertising materials,
             software programs, and telephone numbers identified with the Business; and (C) all goodwill of
             the Business.
                         "Other Lease"means any Sellers' Contract that is a lease other than a Restaurant Lease.
                         "Outside Date" means July 31, 2019.

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                         "PatenP' means the United States and foreign patents and patent applications owned by
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             arising out of or rela~~d to airy inli~iii~~iiieii~ or misappropriation of airy ot~tlic iore~~ing.
                         "Permitted Access Parties” shall have the meaning provided for under Section 15.2.
                         "Person "means an individual, Entity or Governmental Body.
                         "Petition" means the petition that commenced the Chapter 11 Cases.
                         "Petition Date" means the date of the filing of the Petition with the Bankruptcy Court.
                   "Previously Omitted Contract" shall have the meaning provided for under Section
             2.6 b i .
                    "Previously Omitted Contract Designation" shall have the meaning provided for under
             Section 2.6(b)(i).
                         "Previously Omitted Contract Notice" shall have the meaning provided for under Section


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     2.6 b ii .
             "Procedures Order" shall have the meaning provided for under Section 9.2.
             "Purchase Price" shall have the meaning provided for under Section 2.1.
             "Purchased Assets" shall have the meaning provided for under Section 1.1.
             "Purchased Contract" is defined in Section l.l(f~ hereof.
             "PurclZaser" shall have the meaning provided for in the preamble.
            "Receivables" means all accounts receivable (whether current or non-current) of the
     Business attributable to the operation of the Acquired Restaurants as of the Closing, even if such
     accounts receivable become due and payable after the Closing, and all causes of action
     specifically pertaining to the collection of the foregoing.
            "Recipe" means all of Sellers' recipes, methods, procedures, cooking/
     preparation/mixing publications, guidelines, or standards, knowhow, ingredient lists, menus,
     price lists, nutritional, health, or dietary information, publications, or disclosures, and
     promotional or informational materials, in each case whether related to food, beverages (whether
     alcoholic or non-alcoholic), or otherwise (in each case, written or oral or in any other form
     whatsoever).
            "Restaurant Lease" means any real property lease set forth on Schedule 1.1(f1 by any of
     Sellers under which a Restaurant is the leased premises, together with all rights and interests of
     Sellers relating thereto, whether held directly by Sellers or indirectly through an agent or
     nominee (including but not limited to all security deposits, purchase options, renewal options,
     rights of first refusal, reconveyance rights and expansion rights, if any, fixtures, systems,
     equipment and items of personal property of Sellers attached or appurtenant thereto, all
     Leasehold Improvements thereon or forming a part thereof and all easements, licenses, rights and
     appurtenances thereto and associated with such Restaurant Lease).
               "Restaurant Petty Cas/z" shall mean petty cash of Sellers on the premises of any
__ . - ~,-~~~ired I~est~uran~;-oth~er-than ~~-e~~ded ~'et-t-~~ C-as~. _ _ . _ _... _ _ . ~. ... _. ~.. _ _ __ ___ . ~ ___: _ _ , ._.._. .

              "Sale Het~ring" means the hearing conducted by the Bankruptcy Court to approve the
                f ,
              c~C.c~~.~.~,~s.,,..~" „1..,.11 1.,,.,,, ~l .~ ~~"t~suiliit~j-~,,~.~...~...
                                                               uara ~a~t*..»      .d o.l 1'~r 3~z:1~~'' ~PC~4"7l~2~ Q ~
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                u~tt ~c tr~vc~vii oiiuxi i~civ~, iii.,

              "Sale Order" shall have the meaning provided for under Section 9.1.
              "Sellers" sfiall have the meaning provided for in the preamble.
            "Sellers' Contract" means any Contract(a)to which any of Sellers is a party or by which
     any of Sellers is bound and (b)that is related to the Business.
             "Sellers' Knowledge" means the actual knowledge of any of the Chief Executive Officer
     and Chief Restructuring Officer, and such knowledge as would be obtained following the
     exercise of reasonable inquiry by such Persons.
            "Standard Exceptions to Enforceability" means any bankruptcy, insolvency,
     reorganization, moratorium, fraudulent transfer or other laws (whether statutory, regulatory or
     decisional), now or hereafter in effect, relating to or affecting the rights of creditors generally or
     by equitable principles (regardless of whether considered in a proceeding at law or in equity).

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                     "Subsidiary" means, with respect to any Person, (a) any corporation of which at least
             50% of the securities or interests having, by their terms, ordinary voting power to elect members
             of the board of directors, or other persons performing similar functions with respect to such
             corporation, is held, directly or indirectly by such Person and (b) any partnership or limited
             liability company of which (i) such Person is a general partner or managing member or (ii) such
             Person possesses a 50% or greater interest in the total capitalization or total income of such
             partnership or limited liability company.
                     "Tax" means any federal, state, local or foreign income, gross receipts, license, payroll,
             employment, excise, severance, stamp, occupation, premium, windfall profits, environmental,
             customs duties, capital stock, franchise, profits, withholding, social security, unemployment,
             disability, real property, personal property, sales, use, transfer, registration, value added,
             alternative or add-on minimum, estimated, or other tax of any kind whatsoever, including any
             interest, penalty, or addition thereto, whether disputed or not.
                     "Tcrx Return" means any return, declaration, report, claim for refund, transfer pricing
             report or information return or statement relating to Taxes, including any schedule or attachment
             thereto, and including any amendment thereof.
                    "Technology" means, collectively, all designs, formulae, algorithms, procedures,
             methods, techniques, know how, research and development, technical data, programs,
             subroutines, tools, materials, specifications, processes, inventions (whether patentable or
             unpatentable and whether or not reduced to practice), apparatus, creations, improvements, works
             of authorship and other similar materials, and all recordings, graphs, drawings, reports, analyses,
             and other writings, and other tangible embodiments of the foregoing, in any form whether or not
             specifically listed herein, and all related technology.
                     "Traclemc~rks" means all trademark registrations and applications for trademark
             registration owned by Sellers, together with the goodwill associated with any of the foregoing,
             and all applications, registrations and renewals thereof, and any past, present or future claims or
             causes of action arising out of or related to any infringement or misappropriation of any of the

                         "Trademark Rig/zts" means all common law rights in the United States and any foreign
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~~~   ~~~~   ada~~aii~ns, c~erivatiuns and combinations thereof, and the goodwill associated with any ot"~the
             foregoing.
                         "Transfer Taxes" shall have the meaning provided for under Section 3.4.
                         "Transferred Employee" shall have the meaning provided for under Section 13.1.
                         "Utilities" shall have the meaning provided for under Section 2.88.
                    "WARN AcP' means the United States Worker Adjustment and Retraining Notification
             Act, and the rules and regulations promulgated thereunder, or any formulation of similar rights
             arising under applicable state law.


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       IN 'WITNESS WI-~~ REC?F, Purchaser and Sellers have ex~cuteci this Agr~ernent as of the
day and year first above varitt~n.

                                    FUI2CHASl~R:

                                    Willistoa3 Holding; C;         pai ,~lj~e~aa corparati~n


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                                    Name: Ma us E. Jun.
                                    Ils: CLO

                                    S~LLEtS:

                                    Kona Grid,Inc., a Delaware coiparation


                                    BY~                         _...~._m~~               ~...
                                    Name:             _......
                                    Tts:


                                    Kona Restaurant Hc~idin~;s, I~1c., a I3elaware corporation



                                    Nalnc:
                                    Its:


                                    Kara ~usl~i, Inc., ai3 ~1ri~c~na cc~~~pc~rat~~n

                                    ~y:                                                       _   ..
                                    Name:
                                    Its:

                                    Kona Macadamia,Inc,, a Dela~vare corporation


                                    I3y;
                                    Name:
                                    Its:



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       IN WITNESS WHEREOF,Purchaser and Sellers have executed this Agreement as of the
day and year first above written.

                                 PURCHASER:

                                 Williston Holding Company, Inc., a Nevada corporation


                                 By:
                                 Naive Marcus E. Jundt
                                 Its:  CEO

                                 SELLERS:

                                 Kona Grill, Inc., a Delaware corporation


                                 BY•       ~/' ~G~~CJ ~~
                                 Name:       Christopher Wells
                                 Its:       Chief Restructuring Officer



                                 Kona Restaurant Holdings, Inc., a Delaware corporation


                                 BY~     ~/'~l ~~~
                                 N2me:       Christopher Wells
                                 ItS:        Chief Restructuring Officer



                                 Kona Sushi, Inc., an Arizona corporation
                                              i ~ ~~           ^ ..
                                            J! ! 1 .':') I 11 Il! !
                                 ii"~:    ~~ ~ `~ ~_ C. 1 ~I~ ~            .,_   ~.,   w.
                                 Name:     Christopher Wells
                                 Its:      Chief Restructuring Officer


                                 Kona Macadamia, Inc., a Delaware corporation



                                 Name:     Christopher Wells
                                 Its:      Chief Restructuring Officer




                                [SIGNATURES CONTINUED ON NEXTPAGE]


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                               Kona Texas Restaurants, Inc., a Texas corporation


                               By:
                               Name:
                                        ~~~~~
                                         Christopher Wells
                               Its:       Chief Restructuring Officer



                               Kona Baltimore, Inc., a Delaware corporation


                               By:      V'~           ~iU ~
                               Name:     Christopher Wells
                               ItS:        Chief Restructruing Officer



                               Kona Grill International Holdings, Inc., a Delaware
                               corporation


                               BY•       ~/' ~         ~~
                               Name:       Christopher Wells
                               ItS:          Chief Restructuring Officer



                               Kona Grill International, Inc., an Arizona corporation


                               BY•       ~~G~J t~
                               .lame:      Ch~i~tiopher.lC~Lells    _ _. _, ....__..   _~.. _ __~ _ ,__   ~.__ ,. _ _~.
                                Its:      Chief Restructuring Officer




                               BY•    "' ~~~
                               T12me:  Christopher Wells
                               Its:      Chief Restructuring Officer




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                                   SCHEDULES

                                 [Drafts Attached]




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                                                    Schedule 11(e)

                                            Intangible Property Assets

    Trademarks

    United States:

           Mark                         A   I./Re . No.        Countr                  Owner
           EAT MORE BEER                87937061               United States           Kona Grill, Inc.
           DRINK MORE
           BEER
           XXI BREW CO                  87937065               United States           Kona Grill, Inc.
           XXI BREW CO LAS              87937067               United States           Kona Grill, Inc.
           VEGAS,NV
           KONAVORE                     4061001                United States           Kona Grill, Inc.
           EAST MEETS                   3729306                United States           Kona Grill, Inc.
           WEST. THEY
           PARTY.
           KONA GRILL                   2414461                 United States          Kona Grill, Inc.
           KONA GRILL                   4155598                 Hawaii                 Kona Macadamia, Inc.

    Foreign:

  Mark                            A   I./Re .No.    Count                    Owner
   KONA GRILL                  TMA988431         Canada                       Kona Grill International Holdings, Inc.
   KONA GRILL                  1663833           Mexico                       Kona Grill International Holdings, Inc.
   KONA GRILL                  1618889           Mexico                       Kona Grill International Holdings, Inc.
_, KO~iA GRILL ~            ___,20,1,5.-0000493 __Costa_Rica_                 Kona Grill International Holdings, Inc.,
   KONA GRILL                  2015140898        El Salvador                  Kona Grill International Holdings, Inc.
   KONA GRILL                  210147            Guatemala                    Kona Grill International Holdings, Inc.
           . ~..:                  _
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  KONA GRILL                      908902352          Brazil                  Kona Grill International Holdings, Inc.
  KONA GRILL                      1215442            Chile                   Kona Grill International Holdings, Inc.
  KONA GRILL                      545336             Colombia                Kona Grill International Holdings, Inc.
  KONA GRILL                      2015-3805          Ecuador                 Kona Grill International Holdings, Inc.
  KONA GRILL                      447697             Paraguay                Kona Grill International Holdings, Inc.
  KONA GRILL                      500088747          Peru                    Kona Grill International Holdings, Inc.
  KONA GRILL                      461742             Uruguay                 Kona Grill International Holdings, Inc.
  KONA GRILL                      15/2349            Dominican               Kona Grill International Holdings, Inc.
                                                     Republic
  KONA GRILL                      066303             Jamaica                  Kona Grill International Holdings, Inc.
  KONA GRILL                      49280              Trinidad and             Kona Grill International Holdings, Inc.
                                                     Tobago


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KONA GRILL                    2015 14525      Turkey          Kona Grill International Holdings, Inc.
KONA GRILL                    3187661         United          Kona Grill International Holdings, Inc.
                                              Kingdom
KONA GRILL                    107444          Bahrain         Kona Grill International Holdings, Inc.
KONA GRILL                    137786          Jordan          Kona Grill International Holdings, Inc.
KONA GRILL                    162316          Kuwait          Kona Grill International Holdings, Inc.
KONA GRILL                    92778           Oman            Kona Grill International Holdings, Inc.
KONA GRILL                    96194           Qatar           Kona Grill International Holdings, Inc.
KONA GRILL                    1436013197      Saudi Arabia    Kona Grill International Holdings, Inc.
KONA GRILL                    278291          United Arab     Unknown applicant
                                              Emirates
KONA GRILL                    229782          United Arab     Kona Grill International Holdings, Inc.
                                              Emirates

 Domain Names

    • konagrill.com

 Other

    • "Kona Grill" logo
    • Sellers' Facebook account                  (including all associated login credentials and
      content)
    • Sellers' Twitter account                   (including all associated login credentials and
      content)
    • Sellers' Instagram account                 (including all associated login credentials and
      content)
    • Sellers' LinkedIn account                  (including all associated login credentials and




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                                                              Schedule 1.1(f~

                                                           Purchased Contracts

          Restaurant Leases

              • Unit No. 101. Lease Agreement effective October 9, 2013, by and between Scottsdale
                Fashion Square, LLC, a Delaware limited liability company, and Kona Sushi, Inc., an
                Arizona corporation d/b/a Kona Grill, for the premises commonly known as Space #0559
                in the Scottsdale Fashion Square shopping center located at 7014 East Camelback Road,
                Scottsdale, Arizona 85251.

              • Unit No. 103. Lease dated March 14, 2017, by and between Country Club Plaza JV,
                LLC, a Delaware limited liability company, and Kona Macadamia, Inc., a Delaware
                corporation d/b/a Kona Grill, for the premises commonly known as Store Number Q-440
                in the Country Club Plaza shopping center located at 444 Ward Parkway, Kansas City,
                Missouri 64112.

                • Unit No. 105. Lease dated December 6, 2002, by and between The Shops at Boca Park —
                     Phase II, LLC, a Nevada limited liability company, and Kona Grill Las Vegas, Inc., a
                     Delaware corporation d/b/a Kona Grill, for the premises commonly known as Retail
                     Building 6, Suite 100, in The Shops at Boca Park shopping center located at 750 South
                     Rampart Boulevard, Las Vegas, Nevada 89145 (as amended by (i) that certain First
                     Amendment to Lease dated [~], by and between [~] and [~]; (ii) that certain Second
                     Amendment to Lease dated May 4, 2011, by and between Charleston Associates, LLC, a
                     Delaware limited liability company and successor-in-interest to The Shops at Boca Park —
                     Phase II, LLC, and Kona Grill Las Vegas, Inc.; and (iii) that certain Third Amendment to
. ~ _ w._ __.. _ ...__Lease. dat~.cl~IYlay_.~, 2Q~3, _by«~nc~_between _Charleston Associates     _ .w__~ and__.Kona
                                                                                           v__~ LLC            _ ..__                      ___   ~__~
                     Macadamia, Inc., a Delaware corporation and successor-in-interest        to   Kona   Grill  Las
                     Vegas,Inc.).

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                    Shopping Center, L.L.C., a Delaware limited liability company, and Kona Macadamia,
                    Inc., for the premises commonly known as Store Number 184 and Store Number 281-A
                    in the Cherry Creek Shopping Center located at 3000 East 1st Avenue, Denver, Colorado
                    80206.

               • Unit No. 107. Ground Lease dated March 16, 2004, by and between 168th and Dodge,
                 L.P., a Nebraska limited partnership, and Kona Grill Omaha, Inc., a Delaware
                 corporation d/b/a Kona Grill, for the premises commonly known as Building J in the
                 Village Pointe Shopping Center located at 295 North 170th Street, Omaha, Nebraska
                 68118 (as amended by (i) that certain First Amendment to Lease dated Apri126, 2006, by
                 and between 168th and Dodge, L.P., and Kona Sushi, Inc., as successor-in-interest to


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                           Kona Grill Omaha, Inc.; and (ii) that certain Second Amendment to Lease dated August
                           6, 2018, by and between 168th and Dodge, L.P., and Kona Sushi, Inc.).

                   • Unit No. 108. Lease dated October 7, 2004, by and between Clay .Terrace Partners, LLC,
                     an Indiana limited liability company, and Kona Grill Indiana, Inc., a Delaware
                     corporation d/b/a Kona Grill, for the premises commonly known as Room C37 in the
                     Clay Terrace shopping mall located at 14395 Clay Terrace Drive, Carmel, Indiana 46032
                     (as amended by (i) that certain Lease Amendment dated April 15, 2008, by and between
                     Clay Terrace Partners, LLC, and Kona Grill Indiana, Inc.; (ii) that certain Second Lease
                     Amendment dated October 25, 2011, by and between Clay Terrace Partners, LLC, and
                     Kona Macadamia, Inc., as successor-in-interest to Kona Grill Indiana, Inc.; and (iii) that
                     certain Third Lease Amendment dated August 21, 2012, by and between Clay Terrace
                     Partners, LLC,and Kona Macadamia, Inc.).

                   • Unit No. 110. Lease Agreement dated November 12, 2004, by and between La Cantera
                     Retail Limited Partnership, a Texas limited partnership, and Kona Grill Cantera, Inc., a
                     Delaware corporation d/b/a Kona Grill, for the premises commonly known as Building 7,
                     Suite 7300, in The Shops at La Cantera located at 15900 La Cantera Parkway, San
                     Antonio, Texas 78256 (as amended by (i) that certain Assignment and Consent to
                     Assignment of Lease dated September 6, 2005, by and among La Cantera Retail Limited
                     Partnership, Kona Grill Cantera, Inc., and KG Texas Kona Grill, Inc., a Texas
                     corporation d/b/a Kona Grill; and (ii) that certain First Amendment of Lease effective
                     October 3, 2012, by and between La Cantera Retail Limited Partnership and KG Texas
                     Kona Grill, Inc., as successor-in-interest to Kona Grill Cantera, Inc.).

                 • Unit No. 111. Shopping Center Lease dated March 25, 2005, by and between NorthPark
                    Partners, LP, a Delaware limited partnership, and Kona Grill Dallas, Inc., a Delaware
_v _ ._~ _ ._ ~.   _-scar}asr~tio~a-d/b/-a-bona..-~xill,--for_t1~e~.p~reaaaise~s_c~~nino~ly _known_.as_ Spa~~e, ICI-1.L42 _inw ~ _ . ~ . _.._~_.
                    Building N of the NorthPark Center shopping mall located at 8687 North Central
                    Expressway, Dallas, Texas 75225 (as amended by (i) that certain Amendment                                                                    of Lease
                     - --                        -           -                                                                                            ...
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                           and among NorthPark Partners, LP, Kona Texas Restaurants, Inc., a Texas corporation
                           and successor-by-merger to Kona Grill Dallas, Inc., and Kona Grill, Inc.; (iii) that certain
                           2016 Amendment of Lease dated January 10, 2017, by and among NorthPark Partners,
                           LP, Kona Texas Restaurants, Inc., and Kona Grill, Inc.; and (iv) that certain 2017
                           Amendment of Lease dated September 15, 2017, by and among NorthPark Partners, LP,
                           Kona Texas Restaurants, Inc., and Kona Grill, Inc.).

                    • Unit No. 114. Shopping Center Lease dated October 5, 2005, by and between Oak Brook
                      Promenade L.L.C., a Delaware limited liability company, and Kona Sushi, Inc., for the
                      premises commonly known as Space K in the Oak Brook Promenade shopping center
                      located at 3051 Butterfield Road, Oak Brook, Illinois 60523 (as amended by: (i) that
                      certain Lease Term Agreement dated November 6, 2006, by and between Oak Brook

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                              Promenade, L.L.C., and Kona Sushi, Inc.; and (ii) that certain First Amendment to Lease
                              dated July 27, 2011, by and between Oak Brook Promenade, L.L.C., and Kona Sushi,
                              Inc.).

                         • Unit No. 117. Ground Lease dated August 4, 2006, by and between 100 East Big Beaver,
                           LLC, a Michigan limited liability company, and Kona Macadamia, Inc., for the premises
                           commonly known as 30 East Big Beaver Road, Troy, Michigan 48083.

                         • Unit No. 120. Lease Agreement dated August 30, 2007, by and between WestCor
                           SanTan Village LLC, an Arizona limited liability company, and Kona Sushi, Inc., for the
                           premises commonly known as Space #200 in the SanTan Village shopping center located
                           at 2224 East Williams Field Road, Gilbert, Arizona 85295.

                         • Unit No. 122. Lease dated November 5, 2007, by and between Windsor Plaza, LLC, a
                           Minnesota limited liability company, and Kona Sushi, Inc., for the Building and the
                           Outdoor Patio (as such terms are defined in the Lease) at the south end of the premises
                           commonly known as the Windsor Plaza Shopping Center located at 11997 Singletree
                           Lane, Eden Prairie, Minnesota 55344 (as amended by that certain First Amendment to
                           Lease dated December 23, 2008, by and between Windsor Plaza, LLC, and Kona Sushi,
                           Inc.).

                         • Unit No. 126. Net Lease Agreement dated March 31, 2008, by and between Woodbridge
                           Restaurant Urban Renewal, L.L.C., a New Jersey limited liability company, and Kona
                           Macadamia, Inc., for the premises commonly known as 515 Route 1 South, Woodbridge,
                           New Jersey 08830.

                         • Unit No. 127. Lease Agreement dated May 19, 2008, by and between GF One East Pratt
      ~_   ~~         _~         ..~.LLC,__._a _.Maryland
                            Street,
                           ~__                     , ~m_ ~_ _~         .. _ .._ _~ company,
                                                                  __ liability
                                                             limited                          ~ ..Kona Macadamia, Inc., for that
                                                                                    __ ~_ ___ and                                                                               ~ __ _ _ __
                            portion of the Restaurant/Retail Complex (as that term is defined in the Lease ~~
                            Agreement) commonly known as One East Pratt Street, #103, Baltimore, Maryland
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                                    v~~'~~~:E~Fv'-~':: ~~.

                              Assignment of Lease dated January 27, 2010, by and between Kona Macadamia, Inc.,
                              and Kona Baltimore, Inc., a Delaware corporation; and (iii) that certain Second
                              Amendment of Lease dated March 25, 2010, by and between GF One East Pratt Street,
                              LLC, and Kona Macadamia, Inc.).

                          • Unit No. 128. Retail Restaurant Lease dated September 19, 2008, by and between
                            Metropolitan Life Insurance Company, a New York corporation, and Kona Macadamia,
                            Inc., for the space identified as 4134 Boy Scout Boulevard, Building B-1, Tampa, Florida
                            33607 (as amended by that certain First Amendment to Retail Restaurant Lease dated
                            October 9, 2009, by and between Metropolitan Life Insurance Company and Kona
                            Macadamia, Inc.).



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          • Unit No. 129. Shopping Center Lease dated December 27, 2012, by and between
            Meridian CenterCal, L.L.C., a Delaware limited liability company, and Kona Sushi, Inc.,
            for the premises commonly known as Space B-140 in The Village at Meridian shopping
            center located at 3573 East Longwing Lane, Meridian, Idaho 83646 (as amended by that
            certain First Amendment to Shopping Center Lease dated June 25, 2015, by and between
            Meridian CenterCal, L.L.C., and Kona Sushi, Inc.).

          • Unit No. 132. In-Line Space Lease dated October 15, 2013, by and between The
            Fountains at Farah, LP, a Texas limited partnership, and Kona Texas Restaurants, Inc.,
            for the Premises (as that term is defined in the In-Line Space Lease) in The Fountains at
            Farah Shopping Center located at 8889 Gateway Boulevard West, Suite 1740, El Paso,
            Texas 79925.

          • Unit No. 133. Standard Commercial Shopping Center Lease dated December 30, 2013,
            by and between Easton Town Center II, LLC, a Delaware limited liability company, and
            Kona Macadamia, Inc., for the premises commonly known as Space 502 in Building 5 at
            the Easton Town Center shopping mall located at 4087 New Bond Street, Columbus,
            Ohio 43219.

          • Unit No. 134. Shopping Center Lease dated May 9, 2013, by and between Avalon North,
            LLC, a Delaware limited liability company, and Kona Macadamia, Inc., for the premises
            commonly known as Suite 5000, plus the Patio Area (as that term is defined in the
            Shopping Center Lease), in the Avalon shopping center located at 5100 Avalon
            Boulevard, Alpharetta, Georgia 30009 (as amended by that certain First Amendment to
            Lease dated August 5, 2013, by and between Avalon North, LLC, and Kona Macadamia,
            Inc.).

. ..   .... Unit lY~, 135....Lease dated_November__7,,2013, b.~ and between Taubman Benderson_ UTC_
            LLC, a Delaware limited liability company, and Kona Macadamia, Inc., for the premises
            commonly known as Store Number 173 in The Mall at University Town Center located at
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                Taubman Benderson UTC LLC, and TB Mall at UTC LLC, a Delaware limited liability
                company; and (ii) that certain First Modification of Lease Agreement dated August 5,
                2014, by and between TB Mall at UTC LLC,and Kona Macadamia, Inc.).

           • Unit No. 136. Lease dated November 7, 2013, by and between Plaza International Puerto
             Rico, LLC, a Puerto Rico limited liability company, and Kona Macadamia, Inc., for the
             premises commonly known as Store Number 135 in The Mall of San Juan shopping
             center located at 1000 The Mall of San Juan Boulevard, San Juan, 00924, Puerto Rico (as
             amended by (i) that certain First Amendment of Lease Agreement dated April 11, 2014,
             by and between Plaza International Puerto Rico, LLC, and Kona Macadamia, Inc.; (ii)
             that certain Assignment and Assumption of Lease dated September 17, 2014, by and
             between Kona Macadamia, Inc., and Kona Grill Puerto Rico, Inc., an Arizona

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                         corporation; (iii) that certain Second Modification of Lease Agreement dated March 12,
                         2015, by and between Plaza Internacional Puerto Rico, LLC, and Kona Grill Puerto Rico,
                         Inc.;(iv) that certain Third Modification of Lease Agreement dated June 30, 2016, by and
                         between Plaza International Puerto Rico, LLC, and Kona Grill Puerto Rico, Inc.;(v) that
                         certain Fourth Modification of Lease Agreement dated May 31, 2017, by and between
                         Plaza International Puerto Rico, LLC, and Kona Grill Puerto Rico, Inc.; (vi) that certain
                         Fifth Modification of Lease Agreement dated February 22, 2018, by and between Plaza
                         International Puerto Rico, LLC, and Kona Grill Puerto Rico, Inc.; and (vii) that certain
                         Sixth Modification of Lease Agreement dated December 27, 2018, by and between Flaza
                         International Puerto Rico, LLC,and Kona Grill Puerto Rico, Inc.).

                    • Unit No. 138. Lease Agreement dated March 11, 2014, by and between West Plano
                      Village, LTD, a Texas limited partnership, and Kona Texas Restaurants, Inc., for the
                      Demised Premises (as that term is defined in the Lease Agreement) in the West Plano
                      Village shopping center located at 5973 West Parker Road, Plano, Texas 75093.

                    • Unit No. 141. Lease dated August 6, 2014, by and between Liberty Center Holdings
                      LLC, a Delaware limited liability company, and Kona Macadamia, Inc., for the premises
                      commonly known as Space E-100 in the Liberty Center shopping center located at 7524
                      Gibson Street, Liberty Township, Ohio 45069.

                       • Unit No. 143. Lease dated October 14, 2014, by and between North Star Mall, LLC, a
                             Delaware limited liability company, and Kona Texas Restaurants, Inc., for the premises
                             commonly known as Space 1255 in the North Star Mall shopping center located at 7400
                             San Pedro Avenue, San Antonio, Texas 78216 (as amended by (i) that certain First
                             Amendment of Lease dated October 27, 2015, by and between North Star Mall, LLC,and
                             Kona Texas Restaurants, Inc.; and (ii) that certain Letter Agreement dated July 15, 2016,
_. _   _._       ~_ w~_ . _ --by and:-l~etvu~e~ Noah star Mal1~,_~,L,~~, and Kona '~'exas~IZesta~rar~s~,Ins,)._ _ ~ _ __, _. ,                                   _

                    • Unit No. 145. Lease dated October 14, 2014, by and between Ridgedale Center, LLC, a
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                          Boulevard, Minnetonka, Minnesota 55305.

                    • Unit No. 148. Lease dated October 30, 2015, by and between IMI Huntsville LLC, a
                      Delaware limited liability company, and Kona Macadamia, Inc., for the premises
                      commonly known as Space 150 in Building 435 in the Bridge Street Town Centre
                      shopping mall located at 435 The Bridge Street Northwest, Huntsville, Alabama 35806.

                    • Unit No. 154. Lease Agreement dated April 15, 2016, by and between SDQ III RETAIL,
                      LLC, a Delaware limited liability company, and Kona Sushi, Inc., for the premises
                      commonly known as Space K-100 in the Scottsdale Quarter shopping mall located at
                      15345 North Scottsdale Road, Scottsdale, Arizona 85254.



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        Headquarters. Lease Agreement dated April 15, 2016, by and between SDQ III FEE,
        LLC, a Delaware limited liability company, and Kona Grill, Inc., for the premises known
        as Suite M2-230 on the second (2"d)floor and Suite M3-300 on the (3rd)floor in the "M"
        building located on land with an address of 15257 North Scottsdale Road, Scottsdale,
        Arizona 85260.




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Other Contracts

   ~    Eighth Amendment to Master Services Agreement between ADP and Kona Grill, Inc.
        dated July 1, 2016.

   • Preventive Maintenance Agreement on all HVAC Equipment Located at 4087 New bond
     St. Colombus, OH between Airecom Inc. and Kona Macadamia, Inc. dated March 13,
     2018

   • Product Sale Agreement between Kona Grill, In. and Airgas USA, LLC dated October 3,
     2018.

   • Uniform Rental Service Agreement between Alsco Inc. and Kona Grill Inc. dated August
     24, 2015

   • Uniform Rental Service Agreement between Ameripride and Kona Grill Inc. dated April
     21, 2011

   • Amendment to Service Agreement between Aramark Uniform Services and Kona Grill,
     Inc. dated February 7, 2019.

   • Software Licenses and Service Agreement between Bigart-Ecosystems LLC DBA
     Wisetail Kona Grill, Inc. dated Apri129, 2016.

   • [Uniform Rental Service between Cadillac Uniform &Linen Supply LLC and Kona Grill
     Puerto Rico, Inc. dated ~.~~

   • Marketing Agreement between China Mist and Kona Grill Inc. dated February 19, 2014

   • Kona Grill, Inc. Employment Agreement between Christi Hing and Kona Grill, Inc. dated
     September 4, 2018.

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        April 17, 2015

    e [Coca-Cola Puerto Rico Bottling]

   • Compeat Services Agreement between Compeat, Inc., d/b/a Compeat Restaurant
     Management Systems, and Kona Grill, Inc. dated September 16, 2016.

   • Agreement for Commercial National Accounts between Kona Grill, Inc. and Direct TV,
     LLC effective as of Apri129, 2016.

   • Delivery and Promotion Agreement between DoorDash, Inc. and Kona Grill dated
     February 28, 2017.


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   • Foodservice Distribution Agreement between Distribution Market Advantage, Inc. and
     Kona Grill, Inc. and Subsidiaries dated June 20, 2017

   • Agreement for Multi Territory Account service between Muzak LLC DBA MoodMedia
     and Kona Grill Inc. effective as of September 14, 2017

   • Product and Services Supply Agreement between Ecolab Inc. and Kona Grill effective as
     of October 1, 2015.

   • [Ecolab Mfg Inc Puerto Rico]

   • Energy and Sustainability Management Services Agreement between ECOVA Inc. and
     Kona Grill, Inc. dated March 3, 2016

   • Amendment to the Distribution Agreement between Edward Don &Company and Kona
     Grill Inc. dated October 2, 2013.

   • [Planned Maintenance Agreement for Refrigeration, HVAC and Cooking Equipment
     between Encore One LLC and Kona Grill Inc.]

   • F&B Annual Help Desk Support Agreement between F&B Management and Kona Grill,
     Inc. dated April 9, 2019.

   • International Franchise Agreement Canada between Ontario Limited and Kona Grill, Inc.
     dated April 11, 2017.

   • First Amendment to International Development Agreement between Hakaya Collection
     Development FZE and Kona Grill International, Inc. dated September 5, 2018.

   • Planned Maintenance Agreement on all HVAC equipment located at 295 N 170th St.
     Omaha. NE bet~~veen Fred's Heating and Air and Kona Grill, Inc. dated June 5, 2018

   •    !-~1t110T'eQ l,~T' ~C;T'Vr~~ C~~~~elTle~Il C5e'L~VCCll l7dY`i:id l~"L'~vVC~I ~i11i:. d 1c1 l~lliia viii, ui4 ua~cu
        July 11, 2018

   • [Great Plains Software]

   • Restaurant Delivery Agreement -Fairfax between Grubhub Holdings Inc. and Kona Grill
     Inc. September 27, 2017.

   • Restaurant Delivery Agreement -Huntsville between GrubSouth LLC. and Kona Grill
     Inc. December 8, 2017.

   • Restaurant Delivery Agreement —Kansas City between Grubhub Holdings Inc. and Kona
     Grill Inc. dated July 12, 2017.

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        • Restaurant Delivery Agreement —Richmond between Grubhub Holdings Inc. and Kona
          Grill Inc. dated August 3, 2017.

        s    Service Agreement between Harford Refrigeration Co., Inc. and Kona Grill, Inc dated
             June 11, 2018

        • Service Agreement between Red Book Connect, LLC DBA HotSchedules and Kona Grill
          Inc effective as of October 1, 2017

        • Natural Gas Purchase Contract between Interstate Gas Supply, Inc. and Kona
          Macadamia, Inc. dated February 7, 2019.

        • Retention Agreement between Kona Grill Inc. and Keen-Summit Capital Partners LLC
          dated Apri123, 2019.

        • Distributor Service Agreement between Maines Conklin and Kona Grill dated September
          1, 2017.

        • Antivirus Base Plan Subscription between NCR Corporation and Kona Grill, Inc
          effective as of December 3, 2018

        • Mailing Solution Agreement between Neopost and Kona Grill, Inc dated January 23,
          2015

        • OpenTable Client Intake Form between OpenTable and Kona Grill, Inc. dated March 1,
          2017.

            • Image Management Contract between Kona Grill, Inc. and Pacific Office Automation,
~_ , . _ .~ . -Inc.-dated~S~pter~b~er 27;~fl17:--- _. ~ _ __ ~.               _ _     ~ __..~ .

        • Total Image Management Master Agreement between Kona Grill, Inc. and Pacific Office
             C~ ni   S~~i Sai7ni~   i 1r   npirrV I~~/i pT/ ;~   %i~ f i,




        • Equipment Rental Terms and Conditions Schedule Amendment #3 between Paetec and
          Kona Grill Inc. dated November 30, 2016.

        • Payroll and Human Capital Management Services Agreements between Paycom Payroll,
          LLC and each of Kona Restaurant Holdings, Kona Sushi Inc., Kona Macadamia, Inc.,
          Kona Texas Restaurants, Inc., and Kona Grill Puerto Rico, Inc., each effective as of
          August 31, 2018.

        • Scope of Work Agreement between Paytronix Systems Inc. and Kona Grill, Inc. dated
          March 26, 2018




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       • Preventive Maintenance Agreement on all HVAC Equipment Located at 230 Tresser
         Blvd Stamford CT between R. A. Levine Company and Kona Grill, Inc. dated June 11,
         2018

       • Service Agreement between Reputation.com and Kona Grill dated January 30, 2018

       • Service Agreement between Research Data Group and Kona Grill, Inc. dated May 29,
         2015

       • Order Management Agreement between Restaurant Revolution Technologies, Inc. and
         Kona Grill, Inc. dated December 22, 2015

       • Cybersecurity Service Agreement between Tevora Business Solutions Inc. and Kona
         Grill, Inc. dated December 28, 2018

       • Scheduled Service Agreement on all HVAC Equipment Located at 7524 Gibson Street
         Liberty Township, OH between Trane U.S. Inc. and Kona Grill effective as of June 1,
         2018

       • [Uniform and Garment Rental Service Agreement between Valley City Linen and Kona
         Grill dated Apri16, 2017]

       • Service agreement between Vuria LLC and Kona Grill, Inc. dated April 18, 2018

       • Service agreement between Thomson Reuters DBA West and Kona Grill dated June 24,
         2011

          • Master Framework Letter Agreement between Kona Grill Inc. and Portier, LLC (wholly-
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                                                                           Schedule l.l(~)

                                                                Business Permits and Liquor Licenses


                                                                                                                   Next
Store #   State         Location        License I~im rr~l,~er                     License Type                  Expiration                Issued By
                                                                                                                   Date




 148        AL         Huntsville            2430                             City Privilege License            12/31/19              City of Huntsville

                                                                                                                                      AL Dept of Health
                                                                                                                                                                     Case 19-10953-CSS




 148        AL         Huntsville            47-5~='S                             Food Permit                   10/31/19

 148        AL         Huntsville           1076~~84;                                Liquor                     09/30/19                Alabama ABC

 148        AL         Huntsville             5610':                              Alarm Permit                    2019               City of Huntsville PD

 148        Al         Huntsville             1910`                   Occupational License(Account 164684)      09/30/19               Madison County
                                                                                                                                                                     Doc 93-4




 120        AZ           Gilbert           120077~~                               State Liquor                  03/31/20      AZ Dept Liquor Control (violations)

 120        AZ           Gilbert              3479 '~                Alarm Permit - (renews with Biz License)   01/31/20     Gilbert Police Dept(renews w Biz lic)

 120        AZ           Gilbert            FD-1:'E                               Health Permit                 05/31/19              Maricopa County

 120        AZ           Gilbert            0754 lC ~'                             Gilbert TPT                  12/31/19             AZ Dept of Revenue
                                                                                                                                                                     Filed 05/14/19




 120        AZ           Gilbert     BUSLIC00273 -:. ?.-2017          Business License (alarm permit renews)    01/31/20                City of Gilbert

 120        AZ           Gilbert              17F9'_                               City Liquor                  12/31/19       Gilbert -Development Services



  101       AZ         Scottsdale           1207.35;":;                            State Liquor                 03/31/20      AZ Dept Liquor Control (violations)

  101       AZ         Scottsdale           FD-13E 5::                            Health Permit                  4/30/20               Maricopa County
                                                                                                                                                                     Page 52 of 111




  101       AZ         Scottsdale           0754100 1                        City of Scottsdale - TPT           12/31/19             AZ Dept of Revenue

  101       AZ         Scottsdale            110` 2. '_L,              City of Scottsdale -Alarm # 1105215      07/09/19              City of Scottsdale

  101       AZ         Scottsdale            08501 _: s              City of Scottsdale -City Liquor #0850193   12/31/19              City of Scottsdale



                                                                                    13
        DOGS SF:101091.2 50045/002
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Store #   State        Location          License t~ci9~~i_~~er                     License Type                 Expiration                    Issued By
                                                                                                                   Date



 154        AZ     Scottsdale — SQ           11300 z                     Transaction Privilege Tax License      12/31/19                 AZ Dept of Revenue

 154        AZ      Scottsdale — SQ          1207i~?r':5                           State Liquor                 03/31/20         AZ Dept of Liquor Control (violations)

 154        AZ      Scottsdale — SQ          11300 '~_ -'                  Spirituous Liquor Tax Permit         12/31/19                   City of Scottsdale

 154        AZ      Scottsdale — SQ          1134 2'                           Business Registration                                       City of Scottsdale

                                                                                                                12/07/19                   City of Scottsdale
                                                                                                                                                                          Case 19-10953-CSS




 154        AZ      Scottsdale — S4          2008                                 Alarm Permit

 154        AZ      Scottsdale — SQ          FD-S~'.~ ~<                          Health Permit                 07/31/19                   Maricopa County



                                                                     State Liquor (H&R)(send w city &County
 106        CO          Denver           35-094 3 -0 ' 70                                                       09/10/19                       CO DOR -
                                                                                                                                                                          Doc 93-4




                                                                                     renewal)
                                                                     City -Liquor &Food Business Professional                               City of Denver -
 106        CO          Denver           35-0943-0:)0                                                           09/10/19
                                                                                      License
 106        CO          Denver                430 ~                             Alarm User Permit               07/22/19              City and County of Denver

 106        CO          Denver           214335 O ~;:i75                    City and County of Denver           12/31/19          Manager of Finance C&C of Denver

  106       CO          Denver           035094::=~ ~ " 70                       Sales Tax License              12/31/19                 CO Dept of Revenue
                                                                                                                                                                          Filed 05/14/19




  106       CO          Denver        C0104415 ~~. '::r 04416 ?                  Boiler Certificate             09/30/19     I    CO Dept of Labor and Employment



  128       FL          Tampa              BEV391C~~~~3                            State Liquor                 09/30/19                  State of Florida ABT

  128       FL          Tampa              SEA 391+:>~ -'4                          State Food                  02/01/20                  DBPR -Hotels&Rest

  128       FL          Tampa                   none                  Annual Report &Commercial Ins Audit       01/31/20                     City of Tampa
                                                                                                                                                                          Page 53 of 111




  128       FL          Tampa                   none                           Business Tax Receipt             09/30/19                     City of Tampa

  128       FL          Tampa           39-8015'~1t :;7-3        ,           Resale Cert for Sales Tax          12/31/19                  FL Dept of Revenue

  128       FL          Tampa              SEA 3~ 1 ~:'.4                      Business Tax Receipt             09/30/19                 Hillsborough County




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        DOGS SF:1010912 50045/002
                                                                                                     Next
Store #   State        Location     License ~1 ~s:~er                License Type                 Expiration                 Issued By
                                                                                                     Date



 135        FL         Sarasota       SEA68~)~ e.                     State Food                  12/01/19              State of Florida ABT

 135        FL         Sarasota       BEV68)~5                       State Liquor                 03/31/20              DBPR -Hotels&Rest

 135        FL         Sarasota      9900101'. ~ X57                 Business Tax                 09/30/19             Sarasota Tax Collector

 115        FL         Sarasota     68-8016 1'z.; 7-4          Resale Cert for Sales Tax          12/31/19              FL Dept of Revenue

 135        FL         Sarasota     58-DD-1G_ _ _ ~1             Doggie Dining Permit             06/30/19               FL Dept of Health
                                                                                                                                                    Case 19-10953-CSS




                                                                                                               __
 134       GA         Alpharetta          59 ~~                Alcohol Beverage License           12/31/19               City of Alpharetta

 134       GA         Alpharetta         724'                  License to Sell No notice          12/31/19          State of 6A Dept. of Revenue
                                                                                                                                                    Doc 93-4




 134       GA         Alpharetta          33'30            Commercial Waste Water Permit          03/31/20                 Fulton County

 134       GA         Alpharetta          59.3'_            Business/Occupational License         12/31/19               City of Alpharetta

 134       GA         Alpharetta    FSP-060 C~ ~::: 91            Food Service Permit             10/01/19                 Fulton County



 129        ID           Boise           ~1f 5 >                     Health Permit                12/31/19             Central District Health
                                                                                                                                                    Filed 05/14/19




 129        ID           Boise           11.1`'                  State Liquor License             04/30/20               Idaho State Police

 129        ID           Boise        ALC20]5 ). ~~7            City of Meridian Alcohol          04/30/20               Meridain City Clerk

 129        ID           Boise          201E E _'             Ada County Alcohol license          04/30/20                  Ada County



 114        IL        Oak Brook       1A-00 ~~ ~::'3              State Liquor License            09/30/19      State Liquor Control Commission
                                                                                                                                                    Page 54 of 111




                                           2~            Village of Oak Brook Class A-1 On-Sale
 114        IL        Oak Brook                                                                   06/30/19              Village of Oak Brook
                                                                    liquor w/ tam Sat
 114        IL        Oak Brook         1001.7~~'                        Food                     04/30/20                DuPage County
 114        IL        Oak Brook          102~,_~C                    Water Permit                 04/30/20     Flagg Creek Water Reclamation Dist



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Store #   State             Location             License ~V ~ -E: ~ laer                  License Type               Expiration                        Issued By
                                                                                                                        Date


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 108       IN               Carmel                  RR29" C C-                       Retailer -LBW Type 210          02/19/20              IN Alcohol &Tobacco Commission
 108       IN               Carmel                  12277 C ~~:~                   Retail Merchant Certificate       12/31/19                     IN Dept of Revenue
 108.      IN               Carmel                      09 ~~"~      ~                        Food                   12/31/19                      Hamilton Cnty HD


 117       MI                Troy           # 156177 & S ~~ ~ = 156178.̀s                 Class C w~ss               04/30/20                MI Liquor Control Commission
 117       MI                Troy                                                       Boiler Certificate           11/27/19              MI Dept of Licensing &Reg. Affairs
                                                                                                                                                                                Case 19-10953-CSS




 117       MI                Troy                      16475>~                         Alarm Registration            01/31/20                         City of Troy
 117       MI                Troy                         n;'a                        Sales Tax Registration         12/31/19                     MI Dept of Treasury
 117       MI                Troy                SFE3~~6_C~~-~~G1                             Food                   04/30/20                   Oakland County Health
                                                                                                                                                                                Doc 93-4




                                                                                                                                                            __
 127       MD              Baltimore                    LBO 1                           Class B #LB 224              04/30/20                   Baltimore City Liquor Bd
 127       MD              Baltimore                    LBC~C 's                          Liquor License             04/30/20         Board of Liquor License Commissioners
 127       MD              Baltimore                    21(i6:t                         Food/Restaurant              09/25/19                    Baltimore Gity Health
 127       MD              Baltimore                 309° 4`~:~ _~                  Business -Traders License        04/30/20                 Baltimore City Circuit Court
 127       MD              Baltimore                   1415~'~                   Fire Prevention -public assembly    09/30/19                    Director of Finance -
                                                                                                                                                                                Filed 05/14/19




 127       MD              Baltimore                  3-1C 7 5~                  Waste /water Discharge Permit       05/31/19                  City of Balt -Public Works
 127       MD              Baltimore                                                   Frank Jarowski -FEE           Q2 & Q4                Frank Jarowski - Inhouse invoice

          _-                       _             ~_
 122       MN          Eden Prairie           18-639 & C~. ~_ 11295 i                Liquor On Sale &Sunday          12/31/19                     City of Eden Prairie
 122       MN          Eden Prairie              4720, 472::.., ? 722                         Food                   01/31/20                      Hennepin County
 122       MN          Eden Prairie                    5205;':                         Vehicle Food Permit           01/31/20                      Hennepin County
                                                                                                                                                                                Page 55 of 111




 122       MN          Eden Prairie                     28:_7.;                           Retailer's Card            12/31/19                        State -AGED
 122       MN          Eden Prairie                      4720                        Hospitality Fee -Annual         06/30/19                     MN Dept of Health
                                                                                                                                      --
                                                                                                                                  ~

 145      I MN I           Minnetonka   I                I~c~ i'_           I   Liquor License on Sale & On Sunday   12/31J19     (               City of Minnetonka



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       DOCS SF:101091.2 50045/002
                                                                                                               Next
Store # State          Location      License IJ~: ~ ~ :per                      License Type                Expiration                Issued By
                                                                                                               Date

 145       MN        Minnetonka             8Z'1                                Food Permit                 12/31/19             City of Minnetonka
 145       MN        Minnetonka            `~`~~~`~                           Retailer's ID Card            12/31/19             Dept of Public Safety
                                                             _-_-_
                                                                                                                         I
 103       MO         Kansas City         144~~~ ~             %          State -Retail Liquor Drink        06/30/19            MO Division of Alcohol
 103       MO         Kansas City         144~~ 1                           State -Sunday Drink             06/30/19            MO Division of Alcohol
                                                                     City &County -full drink &Sunday &
 103       MO         Kansas City   LIC-4-16 ~0 1~ ::°598                                                   07/31/19              City of Kansas City
                                                                                 Sidewalk
                                                                                                                                                            Case 19-10953-CSS




 103       MO         Kansas City      L083523:)%~:~8                      City - Conv &Tourism             12/31/19            City of Kansas City Due
 103       MO         Kansas City         100:'_5 ~                                 Food                    12/31/19           Kansas City Health Dept
 103       MO         Kansas City          19~ 1<                             Place of Assembly             05/01/19          Kansas City Fire Prevention
 103       MO         Kansas City           Nc ~                             Parks & Rec's Lease            01/31/20                Parks and Rec
                                                                                                                                                            Doc 93-4




 103       MO         Kansas City            n/a                            Managing Officer Fee            06/30/19                 BSE Services
 103       MO         Kansas City         107.~~ 1                             Alarm # 107821               11/25/19         Board of Police Commissions

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 107       NE           Omaha              6517:,                            State Class I Liquor           04/30/20         NE Liquor Control Commission

 107       NE           Omaha             229~~"                              City Class I Liquor           04/30/20                City of Omaha
                                                                                                                                                            Filed 05/14/19




 107       NE           Omaha              7516<:                               Food &Drink                 12/31/19             Douglas Cnty Health

 107       NE           Omaha              36~ 7 :i                           Cert of Assembly              09/30/19           ME DP:/Office of safety

 107       NE           Omaha              3623::;                               Sign Permit                12/31/19                City of Omaha

 107       NE           Omaha            9724:i~                              Sales Tax Permit              07/19/19             NE Dept of Revenue

 107       NE           Omaha             ~OS')~"                               Alarm Permit                09/21/19                City of Omaha
                                                                                                                                                            Page 56 of 111




 105       NV          Boca Park         L64 0~~ ~::                 City Liquor -Restaurant with Alcohol   09/30/19            City of Las Vegas+K169
 105       NV          Boca Park    R09-01218 -:':1096                City Restaurant -Business License     3/1 & 9/1              City of Las Vegas
 105       NV          Boca Park        PR0013 '-:i,                                Food                    06/30/19          Southern NV Health District



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                                                                                                            New
Store # I State I       Location       licensePl~rr~laer      z~            License Type                 Expiration                Issued By
                                                                                                            Date

 105        NV         Boca Park          PR0013:~:                             Sushi                    06/30/19         Southern NV Health District

 105        NV         Boca Park          PR0013: ~C~                        Service Bar                 06/30/19         Southern NV Health District

 105        NV         Boca Park          PR0013:~_~                              Bar                    06/30/19         Southern NV Health District

 105        NV         Boca Park          FAN -:tE K- :,             Fire Permit -renew on line          10/01/19             City of Las Vegas Fire

 105        NV         Boca Park          PR0117~ r                Drinking Establishment Roof Bar       06/30/19         Southern NV Health District
                                                                                                                                                               Case 19-10953-CSS




 126         NJ       Woodbridge       1225-33-~~~.>_ ~ X07                 State Liquor                 06/30/19          Twp of Woodbridge &ABC

 126         NJ       Woodbridge              412                               Food                     12/31/19             TWP of Woodbridge

 126         N1       Woodbridge                                       Woodbridge Township               05/31/20             TWP of Woodbridge
                                                                                                                                                               Doc 93-4




 126         NJ       Woodbridge      8605 #12:'~ i `.;954                 Life Hazard Use           I   05/05/20               Iselin Fire Dist #9



 133        OH         Columbus            47795'-C                        Liquor License                2/1/2020     State of OH Division of Liquor Control

  133       OH         Columbus             CZ2E;~r~                           Alarm                     11/08/19               City of Columbus

  133       OH         Columbus      PR0033350- % ~; X1081 ~            Food Service License             03/01/19           Columbus Public Health
                                                                                                                                                               Filed 05/14/19




  141       OH         Cincinnati             523                  Food Service Operation License        03/01/20         Butler County Dept of Health

  141       OH         Cincinnati       477954)-"HOC+S                Division of Liquor Control         06/01/19                  State of OH



  136       PR          San Juan         471-85-5' i_                     Business License                6/30/19       Officina de Finanzas Municipales

  136       PR          San Juan            1929 ~                                Fire                    2/1/19          Estado Libre Asociado De PR
                                                                                                                                                               Page 57 of 111




  136       PR          San Juan         2015S06~';%::0                        Liquor                    12/31/19            Secretario De Hacienda

  136       PR          Sanluan         060535 7-JC 1.2                 Merchant's Certificate           12/31/21                  Dept of Tax

  136       PR          San Juan            436£:                         Sanitary License               02/25/20



                                                                             I:
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                                                                                                                Next
Store #       State        Location     License tJ~, n~':;er                  License Type                   Expiration                 Issued By
                                                                                                                Date

 136           PR          San Juan           no+~F                         Service Contract                    Qtrly                 Miguel Bonilla

 136           PR          San Juan     2015-PU ~ i                            Use Permit                      None            Estado Libre Asociado De PR


 111           TX           Dallas         MB 6~4:',_                  State liquor #- MB, F&B, LH           04/05/21                    TX ABC

 111           TX           Dallas          11370:':                   City Liquor-MB, LH, Cartage            4/5/19                  City of Dallas

 111           TX           Dallas         MB62~.e'                  County Liquor-M B, LH, Cartage          04/15/19                 Dailas County
                                                                                                                                                                   Case 19-10953-CSS




 111           TX           Dallas         CC 1:'~ ""                         Food Permit-                   12/31/19                 City of Dallas



 110           TX         San Antonio      MB 6G                       State Liquor - MB, F&B, LH            09/07/19                    TX ABC
                                                                                                                                                                   Doc 93-4




 110           TX         San Antonio        263:                   City Liquor -Mixed Beverage & LB         09/07/19              City of San Antonio

 110           TX         San Antonio        607: a~                     County Liquor - MB, LH              09/07/19     Albert Urestin Bexar County Tax Office

 110           TX         San Antonio       99198`_                        Alarm Permit -Fire                11/30/19              City of San Antonio

 110           TX         San Antonio       995511:                 Alarm Permit -Police Commercial          10/31/19              City of San Antonio

 110           TX         San Antonio        181:~~:                              Food                       08/30/19              City of San Antonio
                                                                                                                                                                   Filed 05/14/19




 132           TX           EI Paso     LFOD 16 C G:~'34                      Food License                   08/22/19      City of EI Paso Planning &Inspection
 132           TX           EI Paso        PE87:~~.,~.                  Beverage Cartage Permit              05/26/19        Office of the Cnty Tax Assessor
 132           TX           EI Paso        MB873:!~I:                 Mixed Beverage Permit w.FB             05/26/20                    TX ABC
 132           TX           EI Paso      LSAL 14 C1~ ; 1               City Security Alarm License           07/26/20        City of EI Paso Dev Department
 132           TX           EI Paso      LFIR18- ~(5~.: 1                  Places of Assembly                02/15/20        E) Paso Fire Prevention Division
                                                                                                                                                                   Page 58 of 111




 132           TX           EI Paso      LFIR18-DiS:: l                  Comprssed Gas Permit                02/15/20        E) Paso Fire Prevention Division
 132           TX           EI Paso        PSB T7 5.                         FOG Certificate                 01/29/20             EI Paso Water Utilities

               -__                                                                                         _- --                                   __
 138      ~    TX     ~      Plano         RM904~~i~%          ~   Mixed Beverage Permit &late Hours   ~       04/06/21               City of Plano



                                                                               19
       DOCS SF:101091.2 50045/002
                                                                                                             Next
Store #   State        Location      License ~Jr~~.a~r~ `.:,er                License Type                Expiration                 Issued By
                                                                                                             Date

                                                                 Mixed Beverage Restaurant &Food Permit
 138       TX           Plano            RM904` ~~ ;                                                       4/6/21                     TX ABC
                                                                                  w FB
 138       TX           Plano               7077 ,                            Alarm Permit                06/19/19               Plano Police Dept
                                                                 Mixed Beverage Restaurant &Food Permit
 138       TX           Plano            RM904' =;                                W FB                    04/06/19                 Collin County

 138       TX           Plano                                                                                               City of Plano Fire Inspection
 138       TX           Plano                 BEV                          Bev Cartage Permit             04/30/19                  Colin County
                                                                                                                                                                 Case 19-10953-CSS




 138       TX           Plano                                      Food Service Full Service Restaurant   04/30/20            City of Plano Env Health


 143       TX     San Antonio(NS)        MB958: % ~                     Beverage Cartage Permit           09/21/20                    TX ABC
 143       TX     San Antonio (NS)        998C7:'~                            Burglar Alarm               06/30/19             City of San Antonio PD
                                                                                                                                                                 Doc 93-4




 143       TX     San Antonio(NS)        MB895 ~ ,                          Beverage Cartage              09/21/20     City of San Antonio Revenue Collections
 143       TX     San Antonio(NS)        PE 953':x?                             PE Permit                 09/21/19                  Albert Uresti
 143       TX     San Antonio(NS)          401:>_~ 0                          Health Permit               12/31/19               City of San Antonio
                                                                                                                                                                 Filed 05/14/19
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                                                                      Schedule 1.3(b)

                                                                        Cure Costs

Restaurant Leases

     Unit No.                                                            Location                                                  cure costs


       101      'Fashion Square, 7014 E. Camelback Rd.,#559, Scottsdale, AZ 85251                                                    $0.00

       103        Country Club Plaza, 444 Ward Parkway, Kansas City, MO 64112                                            '         $136,679.61
                                                                                                                         i
       105        Fashion Village @Boca Park, 750 S. Rampart Blvd., Las Vegas, NV 89145                                            $132,729.57

       10G      ~ Cherry Creek Mall, 3000 fast IS` Avenue #184, Denver, CO 80206                                                   $178,894.96

       107        Village Pointe, 295 N. 170°i Street, Omaha,NE 68118                                                              $36,990:17

       108      'Clay Terrace, 14395 Clay Terrace Dr. #180, Carmel, IN 46032                                             ;         $37,733.88

       110      'The Shops at La Camera, 15900 LaCantera Parkway, Bldg #7, Ste. #7300, San Antonio,TX 7825b                           $0.00

       111      ~I North Park Center, 8687 North Central Expressway, Suite #1722, Dallas, TX 75225                                    $0.00

       114      I Oak Brook Promenade, 3051 Butterfield Road, Oak Brook;IL 60523                                                      $0:00

       117      '~, 30 E. Big Beaver Rd., Troy, MI 48083                                                                              $0.00

       120        Santa~i Village, 2224 E. Williams Field Rd.,#101, Gilbert, AZ 85295                                                $0:00

       122        Windsor Plaza, 11997 Singtetree Lane, Eden Prairie, MN 55344                                           I,           $0.00

       126        Renaissance Hotel, 511 US Highway 1 South, Iselin, NJ 08830                                                      $20,250.00

       127        One East Pratt Street Building, One East Pratt Street #103, Baltimore, MD 21202                                  $92,107.86

       128        Met West International, 4134 W. Boy Scout Blvd. #B-1, Tampa,FL 33607                                             $53,312.88

       129      !, Village at Meridian, 3573 E. Longwing Lane # 140,Meridian, ID 83646                                             $33,225.61

       132        The Fountains at Farah, 8889 Gateway Blvd. West, Suite 1740, E1 Paso, TX 79925                                   $27,150.31

       133      ~, Easton Town Center, 4087 New Bond Street, Space 502, Columbus, Ohio 43219                              ~           $0.00

       134        Avalon, S 100 Avalon Blvd., Alpharetta, GA 30009                                                                 $33,722.19

       135        University Town Center, 150 University Town Center Dr., Suite #150, Sarasota, l~L 34243                     ~    $121,392.50

       136      i The Mall of San Juan, 1000 The Mall of San Juan Boulevard;t1135, San Juan,00924,Puerto Rico                      $70,489.64

       13A      ~ West Plano Villaee, 5973 W. Parker Rd.. Plano. TX 75093                                                             X0.00
                            ., c,         i      t,.., r~u ,i.~~~~~


       143      ;North Star Mall, 7400 San Pedro Ave. #1255, San Antonio, TX 78216                                                    $0.00

       145      I Ridgedale Center, 12235 Wayzata Blvd. #t 1068,'Minnetonka, MN 55305                                              "$55,652.46

       148      I Bridge Street Town Centre, 435 The Bridge Street NW,Ste. 150, Huntsville, AL 35806                               $62,544.36

       154        Scottsdale Quarter, 15345 North Scottsdale Road, K-100, Scottsdale Arizona 85254                                 $131,192.20

       HQ         Scottsdale Quarter —Office, 15059 North Scottsdale Road, Suite 300, Scottsdale, AZ,85254                    'I   $195,046.60

     Storage    'Scottsdale Quarter— Storage                                                                                         $417.92




                                                                             21
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                                               Case 19-10953-CSS                                                         Doc 93-4                 Filed 05/14/19                     Page 61 of 111

Ot/zer Contracts

                                         Counteruarty                                                                                                      Contract                                                                        Cure Costs

  A-1                                            ADP                                                                   Eighth Amendment to Master Services Agreement dated July 1, 2016                             ',                     $15,205.08

  B-2                                     Airecom, Inc.                                                                               Service Agreement dated March 13, 2018                                        ',                     $4,628.76

  B-3                                         Airgas, Inc.                                                                         Product Sale Agreement dated October 3,2018                                                             $21,007.07

  B-4      ',                                   ALSCO                                                                                 Service Agreement dated August 24, 2015                                                              $25,941.03

  B-5      '!                           AMERIPRIDE                                                                                     Service Agreement dated Apri121, 20ll                                                                $2,356.96
                                      _                                                                           __
  B-6                              Aramark Uniform Services                              ',                                   Amendment to Service Agreement dated April 4, 2019                                     !,                    $124,399.00

 B-45                     Bigart-Ecosystems LLC DBA Wisetail                                                                     Software Service Agreement dated April 29,2016                                                             $3,160.00

 B-48                     Cadillac Uniform &Linen Supply LLC                                                                                     Contract Proposal dated [~]                                                                $4,794.32

 B-22 'I                                      China Mist                                 '                                         Marketing Agreement dated February 19, 2014                                      '                       $3,099.48

  B-9                                 COCA COLA USA                                       i                                    Beverage Marketing Agreement dated April 17, 2015                                    '                       $3,139.25

  (•]                            Coca-Cola Puerto Rico Bottling                           ',                                                                   [•)                                                                          $5,889.37

 B-52 ',                                       Compeat                                    ',                                 Compeat Services Agreement dated September 16, 2016                                                           $13,292.22

 B-10                                          Direct TV                                                                        Direct TV Services Agreement dated April 28, 2011                                         ',               $25,694.84

 B-41 'I                   Distribution Market Advantage Inc.                                                                Poodservice Distribution Agreement dated June 20, 2017                                                        $198,900.43

 B-11                                                                                                           Agreement for Multi Territory Account Service effective as of September 14,                                                 $4 ~2~ ~ ~
                             Muzak LLC DBA MOOD DMX                                                                                               2017

 B-12                                     EcoLab — CA                                         ~                        Products and Services Supply Agreement effective as October 1, 2015                                 ~I              $105,123.23

  [•)                             Ecolab Mfg Inc Puerto Rico                                                                                                   [•]                                                                          $8,235.83

 B-13 ~'                                  ECOVA Inc.                                                                                   Services Agreement dated March 3, 2016                                                               $1,185.08

 B-21                               Edward Don &Company                                                                  Amendment to the Distribution Agreement dated October 2,2013                                                      $193,534.19

 B-55                                                                                                             Planned Maintenance Agreement for Refrigeration, HVAC and Cooking                                                        $25,133.68
                                        Encore One LLC                                                                                       Equipment

  B-23                                 F&S Management                                                                    F&B Annual Help Desk Support Agreement dated April 9, 2019                                                         $9,642.49

  B-15 !                             Pred's HVAC Services                                         ~,                                 Maintenance Agreement dated June 5, 2018                                                  ~I,           $854.93

  B-16                                 Garda CL West Inc.                                                                      Armored Car Service Agreement dated July 1 I, 2018                                                          $33,389.45

  [~)           ~,                            Great Plains                                                                                                     [~~                                                               $~
                                                                                                                                        SeY~ioeAment~~YedJune-i~i~,~20i$ ~ ~                          .._..., , ,..~._. ...._..$9;339:95                     ~~
" 8-17"                    ~" i-7atfor~"Refriget~~ti~tt`C'~.;~Itsc.                  ~                            „~        ~~ _
  B-18 ',                 RedBook Connect DBA HotSchedules                                         ',                                  Service Agreement dated October 1, 2017                                                              $5,363.90
  n ~n                     ,.~       < ....      - ,...;«„i o        .,,..... r rr                                                    n„i,,,,p      a,..,.. ,...,+A~r.A n,,,;~ ~'; ~niq                                                         Gn


  ..-~:/                                 i~l~illil=:~'~l~lli.t ill                                                            ~::~ti,Uttl~~t:., ..t~~i~`i~~i~l~il~'_~.i~~t. .;ti~ii t.~. ..~   _vir                                                  ....-


  B-26                                  NCR Corporation                                                                             Subscription effective as of December 3, 2018                                                           $9,708.50

  B-27 ~I                                       Neopost                                                ~                              Service Agreement dated January 23,2015                                                        i      $1,562.89

  B-51 '                         Pacific Office Automation, Inc.                               '                              Image Management Contract dated September 27, 2017                                                     ',        $0

  B-51 ':                        Pacific Office Automation, Inc.                                                          Total Image Management Master Agreement dated May 8,2018                                                              $0

                                                                                                                   Equipment Rental Terms and Conditions Schedule Amendment #3 dated                                                        $55,424.44
  (.]                ',                          Paetec                                                                                    November 30, 2016

                                                                                                        ~       Payroll and Human Capital Management Services Agreement dated August 31,                                              ',        ~~~
  B-28 I~,                            Paycom Payroll, LLC                                                                            2018(Kona Restaurant Holdings)
                                                                                                                Payroll and Human Capital Management Services Agreement dated August 31,                                                        ~~~
  B-28                                Paycom Payroll, LLC
                                                                                                                                            2018(Kona Sushi)

                                                                                                           ',   Payroll and Human Capital Management Services Agreement dated August 31, '                                                      ~~~
  B-28 ',                             Paycom Payroll, LLC
                                                                                                                                         2018(Kona Macadamia)
                                                                                                                Payroll and Human Capital Management Services Agreement dated August 31,                                                        ~~~
  I3-28 '                             Paycom Payroll, LLC                                                                             2018(Kona Texas Restaurants)

  B-28                                Paycom Payroll, LLC                                                       Payroll and Human Capital Management Services Agreement dated August 31, '!                                                    [~j
                                                                                                                                              22
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                                                                                                                     j
                                                                      2018(Kona Grill Puerto Rico)
 B-29              Paytronix Systems Ina                           Scope of Work dated March 26,2018                        $250.00

 B-30              R. A. Levine Company             I           Maintenance Agreement dated June l 1, 2018           'i    $],053.56
 B-31                 Reputation.com                             Proposal for Services dated April 1, 2018                 $1,288.00

 B-33 i             Research Data Group             ~',           Service Agreement dated May 29, 2015                      $968.67

 B-32      Restaurant Revolution Technologies,Ina          Order Management Agreementdated December 22,2015               $11,700.00

 B-36          Tevora Business Solutions Inc.                   Service Agreement dated December 28,2018             ~    $I9,814.95
 B-37 ',              Trane U.S. Ina                           Maintenance Agreement effective June 1, 2018               ..$8,487.91

 B-53 ',             Valley City Linen              '        Uniform and Garment Rental Service Agreement[•]          ~    $7,239.37
 B-40 'i                 Vuria LLC                                Service Agreement dated April 18, 201.8                   $299.75
 B-25           Thomson Reuter DBA West                           Service Agreement dated June 24,2011                ~    $5,812.63
  [•)                Worldwide Express                                             [•]                                     $2,834.72




                                                                       23
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                                             Schedule 2.3(a)

             Historical Summary of Sellers' Liabilities Relating to Gift Certificates


                                   Sum of Stored Value Balance


                                       as of March 31, 2019


                                     Year                  Total

                                     2003                7,902.9?
                                     2004                27,650.45
                                     ?005                43,734.64
                                     ?006                41.67?.yJ
                                     2007                60,381.73
                                     2008                61,544.41
                                     2009                69,332.73
                                     20l 0              100,174.0
                                     20l 1               82,544.33
                                     2012                92,243.08
                                     201.3              112,255.03
                             ~~      ?014               162,766.65 .~
                                     20)15              172,403.06


                                     GU1 /               yJ~,L,JJ.OU

                                     2018               709,374.01
                                     ?019                76.531.14
                                  Grand Total           3,564,993.43




                                                   24
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                                                      Schedule 2.4

                                             Other Excluded Liabilities

Any Claim or Liability of Kona Grill, Inc.("Company") or any of its Affiliates or Subsidiaries
arising out of or in connection with the following:

   • Kuhn v. Kona Grill, Inc. (Case No. 1:19-CV-00266). On January 28, 2019, James
     Kuhn, the Company's former Chief Executive Officer, commenced a civil action in the
     United States District Court for the District of Maryland, related to the termination of his
     employment by the Company. The lawsuit alleges that, among other things, the Company
     breached Mr. Kuhn's executive employment agreement and seeks certain payments to
     which Mr. Kuhn alleges he was entitled upon termination of employment. The Company
     filed its response denying Mr. Kuhn's claims on February 22, 2019.

   • Kona Grill, Inc. v. Kuhn (Case No. 2:19-CV-01420). On February 28, 2019, the
     Company commenced a separate action against Mr. Kuhn in the United States District
     Court for the District of Arizona for Mr. Kuhn's breach of his fiduciary duties owed to
     the Company under Arizona law.

   • Phillip Griggs v. Kona Texas Restaurants, Inc. (Case No. CC-19-00914-D). On
     February 12, 2019, Phillip Griggs commenced a civil action in the County Court of
     Dallas County for the State of Texas, alleging, among other things, that the Company
     unlawfully interfered with Mr. Griggs' personal property (an envelope full of cash that
     Mr. Griggs left on a table at the Company's Dallas location). This case is set for dismissal
     on June 24, 2019.

   • Fashion Show Mall, LLC v. Kona Macadamia, Inc.(Case No. A-19-789179-C). On
     February -.l l,-2019, Fashion Show Ma11, LLC, commenced a civil action--in the--Distr-ict                               ..
     Court of Clark County for the State of Nevada, alleging, among other things, that the
     Gompan_y breached its lease by closing its restaurant in Las Vedas, Nevada.
        !'~   "'   „~~,,~,1_•"'_'   77~__,_ ~~x-~,,,,.~~ 4,Q,    .__ i.,_   T___   /l+~.__ 1~T_   '1 /110/'~7'1'l ~'/'1!_\
         vui~.~Yi" ri~iiicva ~'. ►~vun x ~xa~ Y~~ic~~ainii~~~ ii►~. ~~,aac i~v. ~viu~.i~c,i.~v1.


   • The Irvine Company LLC v. Kona Sushi, Inc.(Case No. 30-2018-01011011-CU-BC-
     CJC). On August 9, 2018, The Irvine Company LLC filed a complaint for damages in
     the Superior Court for the State of California for the County of Orange alleging, among
     other things, that the Company breached its written contract relating to the Company's
     decision to close its restaurant in Irvine, California. A mandatory settlement conference
     was scheduled for April 19, 2019.

    • Teresa Shaw v. Kona Macadamia,Inc.(Case No. 1816-CV07888).

   • Kona Texas Restaurants, Inc., v. NorthPark Partners, LP(Case No. DC-18-02458).



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   • Boots v. Kona Sushi, Inc.(Case No. 0:17-CV-03401). On July 27, 2017, a class action
     complaint was filed against Kona Sushi, Inc., wholly-owned subsidiary of the Company,
     by Mitchell Boots, individually and on behalf of a Proposed Rule 23 Class, in the United
     States District Court for Minnesota claiming, among other things, that the Company
     violated Minnesota gratuity/tip pooling laws with respect to certain classes of restaurant
     employees. The plaintiff brought claims on behalf of a putative Minnesota class and a
     putative national class of employees. On October 25, 2017, the plaintiff amended the
     complaint to withdraw the national class claims and other common law claims, leaving
     one claim on behalf of a putative Minnesota class, and added a second named Plaintiff,
     Tracy Fortman. The parties participated in mediation on August 3, 2018, which
     concluded without resolution. The matter is proceeding in accordance with the court-
     scheduled dates.




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                                                              Schedule 17

                                  Headquarters Premises Furniture and Equipment


     as of March 31, 2019
     Asset                                                                              Count
     A/V
                                       2 60" Samsung TVs
                               ~ Samsu»g TVs &Wall Mounts
                            Corp Office Cabling & TV Installation
                                              ~Ill~l~.?lll~

                                  Ilnabine-HDTV acctg conf zn1
                                          Phone System
                                             Projector
                                           Televisions
                              W11itc Noise System over' Cubicles
     COiViPUTGRS
                                  1 ABBYY Verification License
                                     20 Oflicc 20U Licenses
                                    710 Computer Equipment
                                       ABBYY LICENSE
                                   ACA Management Platform
                                          nirTight WiPi
                              ALOHA LICENSE -UPGRADE
                                      /~utoCAD for Monica
                                        AutoC.AD License
n_                                     AuIoCAD Soft~a~are
                                  I33~d I2m & Cnf Rm Computers
                                       C~lblin~~ (~~~rA~~~ f~fli~e


                                        ~urripe<ii ~ui~~~~~are
                                            Computers
                                       Corp Office Cabling
                                         Database license
                                  Dell Po~~~crco~nmect S~~~itchcs
                                      Dell-Sharepoint Server
                             Email Archiver - G1 to Tcclmologies
                                          Fusion 10 Card
                                           1 [otSchcdules
                                       HP 2920-48G Switch
                                       f3P2920-48G S~~~itch
                                     INT~KNET UPGRADE



                                                                  27
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                                  iSynergy -Toshiba
                        Mici•osolt SQL Server Licenses - 2
                    Netapp DS 14M1~4 I~C Disl: tihclf l'~''4 GC3
                             Phone System for New Office
                                  POS T~RI~11Ni~LS
                                   Research database
                               SAN for 1"1' virtu~~lization
                                       Sherwood
                                     SoRware 71 1
                                         Tango
                   USE'('A?~ -ALOHA LICI i~1S~ l_II'GR;1ll1~:
                                         Verisae
                                Verisae nsset "I a~r~in~_=
P'1XTUEZES
                                         Dlcor
                                     Wallcoverinbs
                                    \~indo~v Shades
                                 World Map iu Office
                             L Gallcrie Nc~~ Oflice Decor
FLOORING
                        7'6" X 10'5" Rug -Versailles Ru~~
FURNITURE
                       8 Ne~v Chairs for Conl~crcncc Room
                                     Office Cabinet
                                 Boardroom Sideboard
                                    Office Furniture
                       Cabinet For Small Conl'crence Room
                                 Corp Office Furnitul•e
                                        Cubicles


                                      1,(71]11<Te l(lT8

                             New Cubicle Reconfiguration
                                   Ne~v Of~licc Deal:
                                 New Office Furniture
                                    Oi'fice Furnitu~~e
                                   PolArt T3ool<case
                                Prinicr Stand [~or Office
FURNITURE CHAIR
                                 Corp Ol~licc ~urnilure
                                   New Office Chairs
                               011ice Chair's Corp Office
FURNITURE PAT10
                                    Patio Umbrella


                                                              28
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                                 Patio Umbrella Stand
FURMTUR~ TA6L~
                                  2 Z Gallerie Tables                                            1
                                   Office Work't'able                                            1
                             New Office Boardroom Table                                          l
                                   News Office Chair'
KITCHEN EQUIPMENT
                                   Kitchen Equipment                                             1
                         Kitchen Package-Conveyor Oven                                           1
                       KitchenPackage-Countertop Stcarnei•                                       1
                             Kitchen Package-Rice Cooker                                         1
                             Ne~~~ Offiice Kitchen Equipment                                     1
                               Refrigel•ator in New Office                                       7
LIGHTING                                                                                         1
                               Boardroom Light Fixtures                                          1
RESTAURANT EQ
                        Frozen Cocktail/Beverabe Freezer                                         1
                                    Secu~~ity System                                             1
SIGNAGT
                                  Corp Office Signage
                                     Sign for Lobby                                              l
                                    Signage- Outside                                             1




                                                             29
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                                                                    Exhibit"A"

                     ASSIGNMENT AND ASSUMPTION OF RESTAURANT LEASE

       This Assignment and Assumption of Restaurant Lease (this "Assignment") made and
entered into as of                , 2019 by and between [Insert name o~pplicable Seller],
each of the foregoing being a Chapter 11 Debtor and Debtor in Possession under Case No.
[          ] in the Bankruptcy Court (the "Assignor") and                               a
                     (the "Assignee").

            Assignors and Assignee acknowledge that:

            A.Assignor is the tenants) of certain real property premises located at
                          _ (the "Restaurant") under that certain real property lease dated
                             between       such      Assignor,      as      lessee,     and
                               as lessor (the "Landlord"), as amended                   (as
so amended, the "Lease")
       C.     Assignor and various Affiliates of Assignor, as Sellers, and Assignee, as
Purchaser, have heretofore entered into that certain Asset Purchase Agreement dated          ,
2019 (the "Purchase AgreemenP'). Except for terms specifically defined herein, the capitalized
terms used in this Assignment shall have the same meanings as capitalized terms used in the
Purchase Agreement.
       D.     Concurrently with the mutual execution and delivery of this Assignment,
Assignors and Assignee are consummating the Contemplated Transactions. Assignor and
Assignee are executing and delivering this Assignment in satisfaction of certain obligations of
Assignor and Purchaser pursuant to Sections 3.2(a) and 3.3(e) of the Purchase Agreement.

       NOW,THEREFORE,for good and valuable consideration, the receipt and adequacy of
which Assignor and Assignee ,hereby acknowledge, and intending to be legally bound hereby,,,__                                                                   ~_
Assignors and Assignee hereby agree as follows:


liL /~;iSij~I llii:i, [.i ~i   1. C%i i~i[11.~5}, 3ii ui1U iV   iii ; 1\L ~~C~iitl i:iill uiili iill :.GC J'v, 2i v'v ~1 'i   ~:1   V::lil:il ~,~;Zt~;:: 1. ;3

attached hereto as Exhibit "A." Assignor makes no representations and warranties of any kind
whatsoever with respect to the Lease.

        2.      Assumption. Assignee hereby accepts the foregoing assignment of the Lease,
and does hereby assume the duties and obligations of tenant under the Lease, thereunder
accruing from and after the Effective Date, and does hereby agree to be bound by and to perform
or cause to be performed, as a direct obligation to Landlord, each and all of the terms, conditions,
covenants and provisions to be done, kept and performed under such Lease accruing from and
after the Effective Date, to the same extent as if Assignee had been an original party thereto.

       3.     Assignee's Indemnification. Assignee shall indemnify, defend (with counsel
reasonably satisfactory to Assignors) and hold Assignors free, clear and harmless from and
against any and all claims, demands, suits, causes of actions, penalties, liabilities, costs, fees and



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           expenses of any kind or nature whatsoever, including, without limitation, reasonable attorneys'
           fees and costs for the performance or nonperformance of Assignee's obligations under the Lease,
           which accrued from and after the Effective Date.

                   4.      Attorneys' Fees. In the event that either party hereto brings an action or other
           proceeding to enforce or interpret the terms and provisions of this Assignment, the prevailing
           party in that action or proceeding shall be entitled to have and recover from the non-prevailing
           party therein all such fees, costs and expenses (including, without limitation, all court costs and
           reasonable attorneys' fees through all levels of appeal) as the prevailing party may suffer or incur
           in the pursuit or defense of such action or proceeding.

                  5.     Amendments. This Assignment may only be amended by a writing signed by
           both Assignor and Assignee.

                  6.      Delivery Pursuant to Purchase Agreement. Notwithstanding anything to the
           contrary herein, Assignor and Assignee are executing and delivering this Assignment in
           accordance with and subject to all of the terms and provisions of the Purchase Agreement
           (including, without limitation, the exclusions set forth in Section 1.2 of the Purchase Agreement,
           and the acknowledgement and disclaimer set forth in Section 7 thereof.

                  7.      Governing Law. This Assignment shall be governed by and construed and
           enforced in accordance with the laws of[Delaware], without giving effect to the conflicts of laws
           provisions thereof.

                  8.       Counterparts. This Assignment may be executed in separate counterparts, each
           of which  shall be deemed to be an original, but both of which, taken together, shall be deemed
           one original document.

                   9.     Execution in Counterparts. This Assignment may be executed in counterparts
                delivered by the delivery of facsimile signatures; provided, however, that if the parties
_. w   ~_ . and
            exchange facs rriile signatures; each of them agrees to provide "tfie other with a copy o t "is"
            Assignment bearing their original signature as soon thereafter as possible.




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         IN WITNESS WHEREOF, the parties have executed this Assignment as of the date
first written above.

                                       ASSIGNOR:

                                                                ,a

                                       Chapter 11 Debtor and Debtor in
                                       Possession


                                       By:
                                       Name:
                                       Its:

                                       ASSIGNEE:


                                       a

                                       By:
                                       Name:
                                       Its:




    [SIGNATURE PAGE TO ASSIGNMENT AND ASSUMPTION OF RESTA URANTLEASEJ
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                                                               Exhibit `B"

                    ASSIGNMENT AND ASSUMPTION OF LEASES AND CONTRACTS

            This Assignment and Assumption of Leases and Contracts (this "Assignment") is entered
     into  as of                     2019, by and among                                          a
                                        and                                                      a
                                   each of the foregoing being a Chapter 11 Debtor and Debtor in
     Possession under Case No.[          ]in the Bankruptcy Court (collectively, the "Assignors"),
     and                            ,a                 (the "Assignee").

               Assignors and Assignee acknowledge that:

            A.     Assignors, as Sellers, and Assignee, as Purchaser, have heretofore entered into
     that certain Asset Purchase Agreement dated as of [                   ], 2019 (the "Purchase
     Agreement"). Except for terms specifically defined   herein, the capitalized terms used in this
     Assignment shall have the same meanings as capitalized terms used in the Purchase Agreement.
            B.      Concurrently with the mutual execution and delivery of this Assignment,
     Assignors and Assignee are consummating the Contemplated Transactions. Assignors and
     Assignee are executing and delivering this Assignment in satisfaction of certain obligations
     pursuant to Sections 3.2(b) and 3.3(~ of the Purchase Agreement.

            NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
     which Assignors and Assignee hereby acknowledge, Assignors and Assignee hereby agree as
     follows:

              1.       Assi n~nt. Effective as of the Closing Date, each of the Assignors hereby
     assigns to Assignee all of its respective right, title and interest in and to the those of the
     Purchased Contracts described on Schedule 1 attached hereto and incorporated herein by this
~.   xef~er~n~ce (c~allecti~el~,.the_"Assig~etl contracts''), _ .r   ___    _... _    T_     __     _.                                          __   w

               2.         Assumption. Effective as of the Closing Date, Assignee hereby accepts the

     /~4C14rtZeCi ~ (lrlir~lc~s ~~l~cl ic) [~e[ll)~~„I~ di1,1~i 1~S~i~i~u~"S, (~i~u~~litGliS til~iE.i,[iliiLi' LG tic ~~;1:~(3,[i1cC1 tii,lii

     and after the Closing Date as though Assignee had been the original contracting party
     thereunder.

            3.     Amendments. This Assignment may only be amended by a writing signed by
     both Assignors and Assignee.

             4.     Execution in Counterparts. This Assignment may be executed in counterparts and
     delivered by the delivery of facsimile signatures; provided, howeveN, that if the Parties exchange
     facsimile or electronic pdf signatures, each of them agrees to provide the other with a copy of
     this Assignment bearing their original signature promptly thereafter.

            5.     Delivery Pursuant to Purchase Agreement. Notwithstanding anything to the
     contrary herein, Assignors and Assignee are executing and delivering this Assignment in



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accordance with and subject to all of the terms and provisions of the Purchase Agreement
(including, without limitation, the acknowledgement and disclaimer set forth in Section 7 of the
Purchase Agreement).

       6.      Governing Law. This Assignment shall be governed by and construed and
enforced in accordance with the laws of the State of[Delaware].




                                               2
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       IN WITNESS WHEREOF, Assignors and Assignee have executed this Assignment as of
the day and year first set forth above.



                                       ASSIGNORS:

                                                                ,a
                                                                  and
                                       Debtor and Debtor in Possession


                                       By:
                                       Name:
                                       Its:


                                                                ,a
                                                                  and
                                       Debtor and Debtor in Possession


                                       By:
                                       Name:
                                       Its:


                                       [INSERT SIGNATURE BLOCKS FOR ALL
                                       APPLICABLE ASSIGNORS]


                                       ASSIGNEE:




                                       By:
                                       Name:
                                       Its:




 [SIGNATURE PAGE TO ASSIGNMENT AND ASSUMPTION OF LEASES AND CONTRACTS)
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                                                                 Exhibit bb!'~99
                                                                           ~.


                               ASSIGNMENT OF INTANGIBLE PROPERTY

                                                                       and
                                           a                             ,each of the foregoing
being a Chapter 11 Debtor and Debtor in Possession under Case No.[              ]in the
Bankruptcy Court (collectively, the "Assignors") are executing this Assignment of Intangible
Property Assets (this "AssignmenP')in favor of                            (the "Assignee"),
with respect to the following facts and circumstances:

       (A) Assignors and Assignee have heretofore entered into that certain Asset Purchase
Agreement dated as of[                ], 2019 (the "Purc/zase AgreemenP'). Except for terms
specifically defined in this Assignment, the capitalized terms used in this Assignment shall have
the same meanings as such terms when used in the Purchase Agreement.

        (B)    Concurrently with the execution and delivery of this Assignment, Assignors and
Assignee are consummating the transactions contemplated by the Purchase Agreement. Pursuant
to the Purchase Agreement, Assignors are required to execute and deliver this Assignment at the
Closing.

        NOW,THEREFORE,FOR GOOD AND VALUABLE CONSIDERATION,the receipt
and sufficiency of which Assignors hereby expressly acknowledge, each of the Assignors hereby
assigns, conveys, transfers and sets over unto Assignee, all of its respective right, title and
interest, if any, in and to all Intangible Property Assets.

       This Assignment shall inure to the benefit of, and be binding upon, the successors,
executors, administrators, legal representatives and assigns of Assignors and Assignee.

        Notwithstanding anything to the contrary herein, Assignors are executing and delivering
this Assignment in accordance with and subject to all of the terms and previsions of the Purchase
 ,.~i   rllc'r~~ i il~c~i~u~ir~~>, ~1~~Iflc3tl~ i~i1~<<st~;r~. ~1c ~it,~.~~c)~~~~c~~<t;lllCiti ~iil~i C~i>~i~zilic~`i .,~i   Oiii iil

~Cl%~.IUIl 1~l)~ 111G ~YU1lr11QJG <`~~YC~111~11L~.



       This Assignment shall be governed by and construed and enforced in accordance with the
laws of the State of[Delaware].

                               [Balance ofPage Intentionally Left Blank)




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      IN WITNESS WHEREOF, Assignors and Assignee have executed this Assignment as of
the _day of             ,2019.


C:L.~.~l~C~~3.~

                         ,a
                           and
Debtor and Debtor in Possession

By:
Name:
Its:

                         ,a
                           and
Debtor and Debtor in Possession


By:
Name:
Its:

[INSERT SIGNATURE BLOCKS FOR ALL APPLICABLE ASSIGNORS]


ASSIGNEE:




Bv:

iii.




          [SIGNATURE PAGE TO ASSIGNMENT OFINTANGIBLE PROPERTY]
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                                           Exhibit"D"

                             BILL OF SALE AND ASSIGNMENT



        Reference is hereby made to that certain Asset Purchase Agreement, dated                ,
2019 (the "Purchase AgreemenP'), by and among                                    ,a
                               and                                ,a
each of the foregoing being a Chapter 11 Debtor and Debtor in Possession under Case No.
[           ]in the Bankruptcy Court(collectively, the "Sellers") and                          ,
a                          (the "Purcla~ser"). Except for terms specifically defined in this Bill
of Sale and Assignment, all capitalized terms used in herein shall have the same meanings as
such terms have when utilized in the Purchase Agreement.

         For good and valuable consideration, the receipt and sufficiency of which Sellers hereby
expressly acknowledge, each of Sellers hereby sells, transfers, assigns and delivers to Purchaser
all of its respective right, title and interest in and to the Purchased Assets.

        Notwithstanding anything to the contrary herein, Sellers are executing and delivering this
Bill of Sale and Assignment in accordance with and subject to all of the terms and provisions of
the Purchase Agreement (including, without limitation, the acknowledgement and disclaimer set
forth in Section 7 of the Purchase Agreement).




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       IN WITNESS WHEREOF, Sellers have caused this Bill of Sale and Assignment to be
executed as of the day of              , 2019.

                                        SELLERS:

                                                                 ,a
                                                                   and
                                        Debtor and Debtor in Possession

                                        By:
                                        Name:
                                        Its:

                                                                 ,a
                                                                   and
                                        Debtor and Debtor in Possession


                                        By:
                                        Name:
                                        Its:

                                       [INSERT SIGNATURE BLOCKS FOR ALL
                                       APPLICABLE ASSIGNORS]




                     SIGNATURE PAGE TO BILL OFSALE AND ASSIGNMENT)

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                                    EXHIBIT "E"

                             Form of Management Agreement

                                   [To Be Attached]




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                                                                 Exhibit"F"

                                                        ASSUMPTION AGREEMENT

                      This Assumption Agreement (this "Assumption") is entered into as of this     day of
              [     ], 2019, by                            ,a                  (the "Purchaser") in favor
              of                                             a                                        and
                                               a                           ,each of the foregoing (other
              than Purchaser) being a Chapter 11 Debtor and Debtor in Possession under Case No.
              [           ] in the Bankruptcy Court (the "Sellers"). This Assumption is entered into with
              respect to the following facts and circumstances:

                      A.     Sellers and Purchaser have heretofore entered into that certain Asset Purchase
              Agreement dated [                 ], 2019 (the "Purchase Agreement"). Except for terms
              specifically defined herein, the capitalized terms used in this Assumption shall have the same
              meanings as capitalized terms used in the Purchase Agreement.

                      B.     Concurrently with the execution and delivery of this Assumption, Purchaser and
              Sellers are consummating the transactions contemplated by the Purchase Agreement.

                     NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
              which Purchaser hereby acknowledges, Purchaser hereby agrees as follows:

                      1.    Assumption. Effective as of the Closing Date, Purchaser hereby assumes and
              agrees to perform all of the Assumed Liabilities in accordance with their terms as expressed in
              the Purchase Agreement.

                       2.    Amendments. This Assumption may only be amended by a writing signed by
-~   ~   --   ~ both P~~~haserandSellers:- _ ~_  .~_ ......_, . ~ ~_   _   w     _     ~...

                              3.           Governing Law. This Assumption shall be governed by and construed and
                  -_
               e;iAi,   fC .. i.f, i 7               - ~v ~w-i__ ~1 ice r.> >_. t~ ,.f,ci ~ — j. ~. i .~ci ;~j<
                                         .,~~J) ~~.~~1.




                      4.     Execution in Counterparts. This Assumption may be executed in counterparts and
              delivered by the delivery of facsimile signatures; provided, however, that if the Parties exchange
              facsimile or electronic pdf signatures, each of them agrees to provide the other with a copy of
              this Assumption bearing their original signature promptly thereafter.




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       IN WITNESS WHEREOF,Purchaser has executed this Assumption Agreement as of the
day and year first set forth above.

                                      PURCHASER:


                                       a

                                       By:
                                       Name:
                                       Its:




                     [SIGNATURE PAGE TO ASSUMPTIONAGREEMENTJ

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                                    Exhibit `~G"

                                 Form of Sale Order

                                     [Attached)




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                            IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF DELAWARE


In re:                                                         ) Chapter 11

KONA GRILL,INC., et al.,'                                      ) Case No.: 19-10953(CSS)

                                       Debtors.                 ) Jointly Administered


    ORDER(A)AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE
  DEBTORS' ASSETS PURSUANT TO ASSET PURCHASE AGREEMENTS)FREE
     AND CLEAR OF LIENS,CLAIMS AND ENCUMBRANCES,AND OTHER
 INTERESTS,AND OTHER INTERESTS;(B)APPROVING THE ASSUMPTION AND
    ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
     LEASES RELATED THERETO; AND(C)GRANTING RELATED RELIEF

                    This matter coming before the Court on the motion (the "Motion")z of the above-

captioned affiliated debtors and debtors in possession (the "Debtors") for the entry of an order

pursuant to sections 105(a), 363, 365 and 503 of title 11 of the United States Code (the

"Bankruptcy"),Rules 2002,6004,6006, 9007, and 9014 of the Federal Rules of Bankruptcy

Procedure (as amended from time to time,the "Bankruptcy"),and Rule 6004-1 of the Local

Rules of Bankruptcy Practice and Procedures ofthe Bankruptcy Court for the District of Delaware

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Encumbrances, and other interests, except as provided in the asset purchase agreement by and

between the Debtors and Williston Holding Company, Inc. (the "Successful Bidder") and (b)



' The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
  (6690); Kona Restaurant Holdings,Inc.(6703); Kona Sushi, Inc.(4253); Kona Macadamia,Inc.(2438); Kona Texas
  Restaurants, Inc. (4089); Kona Grill International Holdings, Inc.(1841); Kona Baltimore, Inc.(9163); Kona Grill
  International, Inc. (7911); and Kona Grill Puerto Rico, Inc. (7641). The headquarters and service address for the
  above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.
z Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion



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approving the assumption and assignment of certain of the Debtors' executory contracts and

unexpired leases related thereto to the Successful Bidder; and (c) granting related relief; and the

Court having reviewed the Motion and the Court having found that (i) the Court has jurisdiction

to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334;(ii)

venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b); (iv) notice of the Motion was sufficient under the

circumstances; and after due deliberation the Court having determined that the relief requested in

the Motion is in the best interests of the Debtors, their estates and their creditors; and good and

sufficient cause having been shown;

        AND IT IS FURTHER FOUND AND DETERMINED THAT:

                  A.         The findings and conclusions set forth herein constitute the Court's findings

of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014.

                  B.         The Debtors' notice ofthe Bid Procedures, the Cure Amounts, the Auction




reasonably calculated to provide all interested parties with timely and proper notice, and no other

or further notice is required.

                  C.         The Successful Bidder is not a successor to Debtors or this bankruptcy

estate by any reason or theory of law or equity, and that Successful Bidder shall not be subject to

successor liability for any products sold prior to Closing.




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                 D.          The Purchase Price was negotiated at arms' length and constitutes fair

consideration for the Assets. The Successful Bidder is a good faith purchaser of the Assets

pursuant to section 363(m) of the Bankruptcy Code and the provisions of Section 363(n) of the

Bankruptcy Code have not been violated.

                 E.          Notice ofthe hearing on the Motion ofthe Sale and any related Auction was

proper under the Bankruptcy Code, Bankruptcy Rules and Local Rules.

                 F.          To the extent any of the following findings offact constitute conclusions of

law, they are adopted as such.

        IT IS HEREBY ORDERED THAT:

                  1.         The Motion is GRANTED as set forth herein. The sale of the Assets to the

Successful Bidder on the terms and conditions set forth in the Successful Bidder's APA (defined

below) is approved. The Debtors are authorized to consummate the transactions under the

Successful Bidder APA in accordance with this Order.

                 2.          All objections and responses to the Motion that have not been overruled,




overruled and denied.

                  3.         The Successful Bidder's offer for the Assets, as embodied in the Successful

Bidder's asset purchase agreement (the "Successful Bidder's APA"), is the highest and best offer

for the correlative portion of the Assets and is hereby approved.

                  4.         The Successful Bidder's APA annexed hereto as Exhibit 1 is hereby

approved pursuant to section 363(b) of the Bankruptcy Code, and the Debtors are authorized to


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consummate and perform all oftheir obligations under the Successful Bidder's APA and to execute

such other documents and take such other actions as are necessary or appropriate to effectuate the

Successful Bidder's APA.

                 5.          Pursuant to section 3630 of the Bankruptcy Code, the Assets may be sold

and transferred free and clear of all Liens, Claims and Encumbrances, and other interests, except

as otherwise provided in the Successful Bidder's APA, with any and all such Liens, Claims and

Encumbrances, and other interests to attach to the proceeds of such sale with the same validity (or

invalidity), priority, force, and effect such Liens, Claims and Encumbrances, and other interests

had on the Assets immediately prior to the Sale and subject to the rights, claims, defenses, and

objections, if any, ofthe Debtors and all interested parties with respect to any such asserted Liens,

Claims and Encumbrances, and other interests.

                 6.          The Successful Bidder is not a successor to the Debtors or these bankruptcy

estates by any reason or theory of law or equity, and the Successful Bidder shall not be subject to

successor liability for any products sold prior to Closing. All creditors or other persons are hereby




interests against the Successful Bidder or the Assets, except as relates to Assumed Liabilities.

                  7.         Pursuant to section 365 of the Bankruptcy Code, the assignment and

assumption of the Assumed Executory Contracts of the Debtors, as identified in the Successful

Bidder's APA, by the Successful Bidder, is hereby authorized and approved in all respects.

                  8.         The Successful Bidder shall pay, concurrently with the Closing and as a

condition to the Debtors' assumption and assignment thereof, all cure amounts owing to the


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counterparties to the Assumed Executory Contracts that are assumed at the Closing. Any provision

in an Assumed Executory Contract that purports to prohibit the assignment of such Assumed

Executory Contract, or that purports to allow the counterparty to terminate, recapture, or impose

penalties upon assignment, constitutes an unenforceable anti-assignment provision and is void and

of no force or effect. Upon closing, in accordance with Sections 363 and 365 of the Bankruptcy

Code, the Successful Bidder shall be fully and irrevocably vested with all right, title and interest

of the Debtors under the Assumed Executory Contracts and the Assumed Executory Contracts

shall remain in full force and effect for the benefit ofthe Successful Bidder. The Successful Bidder

has provided adequate assurance of future performance under the Assumed Executory Contracts

within the meaning of Section 365 of the Bankruptcy Code.

                 9.          Pursuant to Sections 105(a) and 363(b) ofthe Bankruptcy Code,the Sale by

the Debtors to the Successful Bidder ofthe Assets and transactions related thereto, upon the closing

under the Successful Bidder's APA,are authorized and approved in all respects.

                  10.        The stays provided for in Bankruptcy Rules 6004(h)and 6006(d)are hereby




                  11.        The terms of this Order shall be binding on the Successful Bidder and its

successors, the Debtors, creditors of the Debtors, and all other parties in interest in these

bankruptcy cases, and any successors of the Debtors, including any trustee or examiner appointed

in any of these cases or upon a conversion of any of these cases to Chapter 7 of the Bankruptcy

Code.




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                  12.        The Successful Bidder is a good faith purchaser entitled to the benefits,

protections and immunities afforded by section 363(m)ofthe Bankruptcy Code and the provisions

of section 363(n) of the Bankruptcy Code have not been violated. No reversal or modification of

this Order on appeal will affect the validity of the Successful Bidder's APA or the transaction

contemplated thereby. As set forth in Exhibit D of the Motion, the Successful Bidder might be an

"insider" as defined by Section 101 of the Bankruptcy Code. Neither the Debtors nor the

Successful Bidder is or will be entering into the Successful Bidder's APA fraudulently, or for the

purposes of hindering, delaying or defrauding any ofthe Debtors' creditors, and the Purchase Price

constitutes reasonably equivalent and fair value (as those terms or their equivalents are defined by

the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer Act and Section 548

of the Bankruptcy Code)for the purchased Assets.

                  13.        With respect to the transactions consummated pursuant to this Order, this

Order shall be sole and sufficient evidence of the transfer of title to any particular purchaser, and

the sale transaction consummated pursuant to this Order shall be binding upon and shall govern




office, or contract, to accept, ale, register, or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any of the

property sold pursuant to this Order, including without limitation, all filing agents, filing officers,

title agents, title companies, recorders of mortgages, recorders of deeds, administrative agencies,

governmental departments, secretaries of state, and federal, state, and local officials, and each of

such persons and entities is hereby directed to accept this Order as sole and sufficient evidence of


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such transfer of title and shall rely upon this Order in consummating the transactions contemplated

hereby.

                  14.        In connection with the closing, KeyBank shall deliver to the Successful

Bidder termination of its financing statements filed in the applicable jurisdictions under Article 9

of the Uniform Commercial Code and release of any lien, security interest, mortgage, or other

encumbrance against any of the Purchased Assets acquired by the Successful Bidder.

                  15.        This Court retains jurisdiction to interpret, implement and enforce the

provisions of, and resolve any disputes arising under or related to, this Order and the Successful

Bidder's APA, all amendments thereto, any waivers and consents thereunder and each of the

agreements executed in connection therewith.

                  16.        The failure specifically to include any particular provision of the Successful

Bidder's APA or any of the documents, agreements, or instruments executed in connection

therewith in this Order shall not diminish or impair the force of such provision, document,

agreement, or instrument, it being the intent of the Court that the Successful Bidder's APA and




                  17.        The Successful Bidder's APA and any related agreements, documents, or

other instruments may be modified, amended,or supplemented by the parties thereto in accordance

with the terms thereof without further order of the Court, provided that any such modification,

amendment, or supplement does not have a material adverse effect on the Debtors' estates.

Dated:                  , 2019
                                                    UNITED STATES BANKRUPTCY JUDGE



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                                     Exhibit"H"

                               Form of Procedures Order

                                     [Attached]




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE



In re:                                                          Chapter 11

KONA GRILL,INC., et al.,'                                       Case No.: 19-10953(CSS)

                                    Debtors.               ) Jointly Administered


   ORDER(A)AUTHORIZING ENTRY INTO THE ASSET PURCHASE AGREEMENT
    WITH RESPECT TO THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS'
         ASSETS;(B)APPROVING BID PROCEDURES FOR THE SALE OF
    SUBSTANTIALLY ALL OF THE ASSETS OF DEBTORS;(C)SCHEDULING AN
   AUCTION AND HEARING TO CONSIDER THE SALE AND APPROVE THE FORM
       AND MANNER OF NOTICE RELATED THERETO;(D)ESTABLISHING
     PROCEDURES RELATING TO THE ASSUMPTION AND ASSIGNMENT OF
  CERTAIN CONTRACTS AND LEASES,INCLUDING NOTICE OF PROPOSED CURE
    AMOUNTS;(E)APPROVING CERTAIN BREAK-UP FEE PROVISIONS; AND(F)
                   GRANTING OTHER RELATED RELIEF

                 Upon the motion (the "Motion")2 of the above-captioned debtors and debtors-in-

possession (the "Debtors") for, in part, entry of an order (a) authorizing Debtors to enter into the

Purchase Agreement in the form attached as Exhibit C to the Motion (the "Purchase Agreement")

with Williston Holding Company, Inc. (the "Stalking Horse Purchaser") or with the Successful




substantially all of the Debtors' Assets;(c) scheduling an auction and hearing to consider the sale

and approve the form and manner of notice related thereto;(d) establishing procedures relating to



 The Debtors and the last four digits oftheir respective taxpayer identification numbers include: Kona Grill, Inc.(6690);
  Kona Restaurant Holdings, Inc. (6703); Kona Sushi, Inc. (4253); Kona Macadamia, Inc. (2438); Kona Texas
  Restaurants, Inc. (4089); Kona Grill International Holdings, Inc. (1841); Kona Baltimore, Inc. (9163); Kona Grill
  International, Inc. (7911); and Kona Grill Puerto Rico, Inc. (7641). The headquarters and service address for the
  above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.
Z Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion.



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the assumption and assignment of certain contracts, including notice of proposed cure amounts;(e)

approving Break-up fee; and (~ granting other related relief, and it appearing that the Court has

jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this is a

core proceeding pursuant to 28 U.S.C. § 157(a); the Court having considered the Motion; and it

appearing that the relief requested in the Motion, is in the best interests ofthe Debtors' bankruptcy

estates, their creditors and other parties-in-interest; and after due deliberation and sufficient cause

appearing therefor;

THE COURT HEREBY MAKES THE FOLLOWING FINDINGS:

                        A.        This Court has jurisdiction over this Motion and the transactions

contemplated therein pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

                        B.        Notice of the Motion was adequate and sufficient under the circumstances of

this chapter 11 case, and such notice complied with all applicable requirements of title 11 of the

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"Bankruptc~les")and the Local Bankruptcy Rules.

                        C.        All objections to the relief requested in the Motion that have not been

withdrawn, waived or settled as announced to the Court at the hearing on the Motion or by

stipulation filed with the Court, are overruled except as otherwise set forth herein. A reasonable

opportunity to object or otherwise be heard was afforded to all parties in interest entitled to notice.




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                 D.          The bid procedures attached hereto as Exhibit 1 (the "Bid Procedures") are

reasonable and appropriate under the circumstances of these chapter 11 cases. The Debtors have

articulated good and sufficient reasons for the Court to grant the relief requested in the Motion

regarding the Bid Procedures. The Bid Procedures represent a fair and appropriate method for

maximizing the realizable value of substantially all of the Debtors' Assets. Therefore, the Debtors

are authorized to take any and all actions necessary or appropriate to implement the Bid Procedures.

                 E.          The Debtors' selection of the Stalking Horse Purchaser and entry into the

Purchase Agreement with the Stalking Horse Purchaser are in the best interests of the Debtors and

the Debtors' estates and creditors. The Purchase Agreement with the Stalking Horse Bidder will

enable the Debtors to secure an adequate floor for the Auction and will provide a clear benefit to

the Debtors' estates.

                 F.          The Stalking Horse Purchaser has expended considerable time, money and

energy pursuing the proposed sale of the Assets, and the Debtors have engaged in arms' length

good faith negotiations with such Stalking Horse Purchaser. The Break-up Fee and other bidding




Purchaser are (i) an actual and necessary cost and expense of preserving the Debtors' estates within

the meaning of sections 503(b) and 507(a)(2) of the Bankruptcy Code,(ii) commensurate to the

real and substantial benefit that will be conferred upon the Debtors' estates by the Stalking Horse

Purchaser, and (iii) are reasonable and appropriate, in light of the size and nature of the

contemplated sale transaction and comparable transactions, the commitments that will be made

under the Purchase Agreement and the efforts that have been expended by the Stalking Horse


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Purchaser. The Break-up Fee is a material inducement for the Stalking Horse Purchaser's entry

into its stalking horse bid. The Stalking Horse Purchaser will be unwilling to commit to purchase

the Assets under the terms of the Purchase Agreement unless the Stalking Horse Purchaser is

assured the protection provided by the Break-up Fee. The payment of such amount to the Stalking

Horse Purchaser is fair and reasonable in view ofthe fact that, if the Break-up Fee is triggered, then

the Stalking Horse Purchaser's efforts will have increased the prospects that the Debtors will

receive the highest or otherwise best offer for the Assets.

                          G.             The form of the Purchase Agreement is fair and reasonable and provides

flexibility in the process to sell the Assets in a manner designed to maximize the value ofthe Assets.

The Debtors have demonstrated a sound business justification for authorizing the payment of the

Break-up Fee to the Stalking Horse Purchaser in the amount and under the circumstances set forth

in the Purchase Agreement.

                          H.             The Notice of Bid Procedures, Auction date and Sale Hearing, substantially

in the form attached hereto as Exhibit 2 (the "Sale and Bid Procedures Notice"), the Notice of

_   ~~~_il(ii   _ii~_i~ .iE e~~   E ?i   J1i   s ~..>e~   E, t~,€i~   cU   ~ti._       ~,_   ,tip   _~.   .,~.~„     ~          V•- -   ....._... ..........




Notice"), and the notice substantially in the form attached hereto as Exhibit 4 to be served on

counterparties to the Assumed Executory Contracts ("Cure Notice") each is calculated to provide

adequate notice concerning the proposed sale of the Assets and the proposed assumption and

assignment of the Assumed Executory Contracts that are the property of the Debtors, and is

intended to provide due and adequate notice of the relief that will be sought by the Motion.




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                      I.         The procedures for the assumption and assignment of the Assumed

Executory Contracts provided for herein and the Cure Notice are reasonable and appropriate and

consistent with the provisions of Section 365 of the Bankruptcy Code and Bankruptcy Rule 6006.

The procedures for the assumption and assignment of the Assumed Executory Contracts have been

narrowly tailored to provide an adequate opportunity for all non-debtor counterparties to the

Assumed Executory Contracts to assert any objection.

                      J.          The entry ofthis Bid Procedures Order is in the best interests ofthe Debtors,

their estates, their creditors and other parties in interest.

NOW,THEREFORE,IT IS HEREBY ORDERED THAT:

                      1.          The relief requested in the Motion is granted as set forth in this Bid

Procedures Order.

                      2.          The Bid Procedures attached hereto as Exhibit 1 are approved in their

entirety, and are incorporated into this Bid Procedures Order and shall apply to the proposed sale

of the Assets. The Debtors are authorized to take any and all actions necessary or appropriate to

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Purchase Agreement.

                      3.          The proposed sale ofthe Assets, the proposed assumption and assignment of

the Assumed Executory Contracts, and the Auction shall be conducted in accordance with the

provisions of this Bid Procedures Order and the Bid Procedures.

                      4.          The Break-up Fee as set forth in the Bid Procedures is hereby approved. The

Debtors are authorized without further Court action to pay the Break-up Fee solely to the extent


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such amount becomes due and payable to the Stalking Horse Purchaser, pursuant to the Purchase

Agreement and this Bid Procedures Order.

                 5.          The Sale and Bid Procedures Notice attached hereto as Exhibit 2, the

Creditor Notice attached hereto as Exhibit 3, and the Cure Notice attached hereto as Exhibit 4

provide proper notice to all parties in interest and are approved.

                 6.          Within three(3) business days following entry of this Bid Procedures Order,

the Debtor shall serve by first class mail the Sale and Bid Procedures Notice on the following

parties: (a)the U.S. Trustee;(b)the Committee, if any, or the Debtors' top 30 unsecured creditors;

(c) all parties known to assert a lien, encumbrance or claim on any of the Assets; (d) all known

counterparties to the Debtor's unexpired leases and executory contracts; (e) all entities known to

have expressed an interest in bidding on the Assets;(~ the United States Attorney's office;(g) all

state attorney generals in states in which the Debtor' assets are located;(h) state taxing authorities

in the states in which the Debtors' assets are located and the Internal Revenue Service; (i)

environmental authorities and other regulatory authorities in the states or applicable jurisdictions in




other parties that had filed a notice of appearance and demand for service of papers in these

bankruptcy cases under Bankruptcy Rule 9010(b) as of the date of entry of this Bid Procedures

Order.

                  7.         Within three(3) business days following entry ofthis Bid Procedures Order,

the Debtors shall serve the Creditor Notice on all known creditors of the Debtors and publish such

Creditor Notice in the national edition of the New York Times. Except as set forth in this and the


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foregoing paragraph of this Bid Procedures Order, no other or further notice of the sale shall be

required to be provided by the Debtors.

                     8.     Within three (3) business days following the entry of this Bid Procedures

Order, the Debtors shall file and serve the Cure Notice to the counterparties to the Assumed

Executory Contracts. Counterparties to the Assumed Executory Contracts3(each a "Counterparty,"

and together,the "Counterparties") must file and serve on the applicable notice parties any objection

to the assumption and assignment of any Assumed Executory Contract, including objections to any

Cure Amount, by July 15, 2019, at 4:00 p.m. (Eastern Time). However, the Stalking Horse

Purchaser may choose to add or delete certain Assumed Executory Contracts. Ifthe Stalking Horse

Purchaser chooses to add or delete an Assumed Executory Contract, then notice of that addition or

deletion shall be provided to the affected counterparty by the Debtors approximately five (5) days

prior to the Auction or, if no Auction is required, five(5)days prior to the Sale Hearing. Only those

Assumed Executory Contracts assumed as of the closing of the Sale will be required to be cured.

                     9.     Any Counterparty failing to timely fle an objection to the Cure Amount set

             _   _            _   ..           __     ...       .. __   ..
L V..ti                                                                        ,..,    f   ..               ...   ~..   ,.




Assumed Executory Contract and be forever barred from objecting to the Cure Amounts and from

asserting any additional cure or other amounts against the Debtors, their estates, and the Successful

Bidder with respect to the Assumed Executory Contracts to which it is a Counterparty.




3 The inclusion of any agreement as an Assumed Executory Contract does not constitute an admission by the Debtors
   that such agreement actually constitutes an executory contract or unexpired lease under section 365 ofthe Bankruptcy
   Code, and the Debtors expressly reserve the right to challenge the status of any agreement included as an Assumed
   Executory Contract.


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Notwithstanding anything herein to the contrary, no executory contract or unexpired lease will be

assumed unless and until the occurrence of the closing of the Sale to the Successful Bidder.

                 10.         Any other objection to any of the relief to be requested at the Sale Hearing

must be in writing, state the basis of such objections with specificity and shall be filed with the

Court(with a courtesy copy to Chambers)on or before July 15,2019,at 4:00 p.m.(Eastern Time)

(the "Objection Deadline"), and such objection must be served and otherwise undertaken in

accordance with the Sale and Bid Procedures Notice so as to be received by such date and time by:

(i) counsel to the Debtors and Debtors in Possession,Pachulski Stang Ziehl &Jones LLP,919 North

Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn:

John W.Lucas and James E. O'Neill;(ii) counsel to the Official Committee ofUnsecured Creditors:

 #]; (iii) the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 N. King

Street, Suite 2207, Lock Box 35, Wilmington, DE 19801, Attn: Jaclyn Weissgerber; and (iv)

counsel to the Stalking Horse Purchaser, Gray Plant Mooty,500 IDS Center,80 South Eighth Street,

Minneapolis, MN 55402 (Attn: Phillip Bohl) and Austria Legal, LLC, 1007 North Orange Street,




entity to file its objections by the Objection Deadline and in accordance with the Sale and Bid

Procedures Notice will be a bar to the assertion, at the Sale Hearing or thereafter, of any objection

(including the sale of Assets and assumption and assignment of Assumed Executory Contracts free

and clear of all Liens, Claims and Encumbrances, and other interests).

                  11.        Compliance with the foregoing notice provisions shall constitute sufficient

notice of the Debtors' proposed Sale of the Assets free and clear of all Liens, Claims and


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Encumbrances, and other interests, the contemplated assumption and assignment of each Assumed

Executory Contract and the proposed amount of Cure Amounts with respect to each such Assumed

Executory Contract, and no additional notice of such contemplated transactions need be given.

                    12.      The Bid Deadline shall be July 18,2019, at 4:00 p.m.(Eastern Time).

                    13.      The Debtors, after consultation with the Committee and KeyBank,shall have

the exclusive right to determine whether a bid is a Qualified Bid and shall notify Qualified Bidders

whether their bids have been recognized as such as promptly as practicable after a Qualified Bidder

delivers all ofthe materials required by the Bid Procedures. The Debtors shall provide the Qualified

Bids to counsel for the Stalking Horse Purchaser in the manner provided in the Purchase

Agreement.

                    14.      If the Debtors receive more than one Qualified Bid (as defined in the Bid

Procedures), an auction (the "Auction") will be held no later than July 23, 2019, at 10:00 a.m.

(Eastern Time), at the offices of Pachulski Stang Ziehl &Jones LLP, 919 North Market Street,

17t"Floor, Wilmington,Delaware 19801, or at any such other location as the Debtors may hereafter

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for purposes of participating in the Auction, should it wish to do so.

                    15.      Counsel to the Debtors is authorized to hold and conduct the Auction in

accordance with the Bid Procedures. At such Auction, each Qualified Bidder shall be required to

confirm that it has not engaged in any collusion with respect to the bidding or the sale, and the

Auction shall be conducted openly and transcribed. Within twenty-four (24) hours following the

conclusion of the Auction, the Debtors shall ale a notice identifying the Successful Bidder with the


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Court and shall serve such notice by fax, email, or if neither is available, by overnight mail to all

counterparties whose contracts are to be assumed and assigned.

                  16.        The Sale Hearing shall be conducted on July 25, 2019, at 2:00 p.m.

(Eastern Time), and may be adjourned from time to time without further notice other than an

announcement in open court at the Sale Hearing.

                  17.        Notwithstanding anything herein or in the Bid Procedures to the contrary, no

sale free and clear of Liens, Claims and Encumbrances, and other interests shall be approved unless

it complies with section 3630 of the Bankruptcy Code.

                  18.        Notwithstanding the possible applicability of Bankruptcy Rule 6004(h) and

7062 or otherwise, the terms and conditions of this Bid Procedures Order shall be immediately

effective and enforceable upon its entry, and no automatic stay of execution shall apply to this Bid

Procedures Order.

                  19.        This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Bid Procedures Order.




                                                    UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT 1

                                 Bid Procedures




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                                      IN THE UNITED STATES BANKRUPTCY COURT

                                               FOR THE DISTRICT OF DELAWARE


          In re:                                                           ) Chapter 11

          KONA GRILL,INC., et al.,'                                        ) Case No.: 19-10953(CSS)

                                                  Debtors.                 ) Jointly Administered


                                         BID PROCEDURES FOR SALE OF
                                   SUBSTANTIALLY ALL OF THE DEBTORS' ASSETS

                  The above-captioned debtors and debtors in possession (the "Debtors") filed a motion
          dated May 14, 2019 (the "Motion"),2 seeking, among other things, approval of the process and
          procedures set forth below (the "Bid Procedures") through which they will determine the highest
          and best offer for the sale of substantially all of the business assets of the Debtors (the "Assets").
          On May [#], 2019, the Bankruptcy Court entered its order (the "Bid Procedures Order"), which,
          among other things, approved the Bid Procedures. Debtors will seek to enter into a Purchase
          Agreement with a stalking horse bidder(the "Stalking Horse Purchaser")for the sale ofthe Assets,
          subject to higher and better bids that may be submitted in accordance with these Bid Procedures.

                  On July 25, 2019, at 2:00 p.m. (Eastern time), as further described below and in the Bid
          Procedures Order, the Bankruptcy Court shall conduct the "Sale Hearin" at which the Debtors
          shall seek entry of the Sale Order authorizing and approving the sale of the Assets to the Stalking
          Horse Purchaser or to one or more other Qualified Bidders (defined below) that the Debtors, in
          their sole discretion (in consultation with the Committee and KeyBank), determine to have made
          the highest and best offer.
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                   Prospective bidders should submit a proposed asset purchase agreement (a "Competing

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          highest or best bidder at the auction will purchase the Assets, and assume certain executory
          contracts and unexpired leases of the Debtors, free and clear of any Liens, Claims and
          Encumbrances, and other interests. The transaction contemplated is subject to competitive bidding
          as set forth herein, and approval by the Bankruptcy Court pursuant to Bankruptcy Code §§ 363
          and 365.


          ' The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
            (6690); Kona Restaurant Holdings, Inc.(6703); Kona Sushi, Inc.(4253); Kona Macadamia,Inc.(2438); Kona Texas
            Restaurants, Inc. (4089); Kona Grill International Holdings, Inc.(1841); Kona Baltimore, Inc.(9163); Kona Grill
            International, Inc.(7911); and Kona Grill Puerto Rico, Inc. (7641). The headquarters and service address for the
            above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.
          Z Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion or Purchase
            Agreement, as applicable.



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AssetsfoN Sale

         The Debtors are offering for sale the Assets, which generally consist of the Debtors' right,
title and interest in substantially all of the assets heretofore used exclusively in connection with or
arising out of the operation of the Debtors' business as further set forth in section 1.1 of the
Purchase Agreement and schedules thereto. Except as otherwise provided in the Purchase
Agreement, all of the Debtors' right, title and interest in and to the Assets subject thereto shall be
sold free and clear of any Liens, Claims and Encumbrances, and other interests (other than
Permitted Liens, Claims and Encumbrances and other interests, and/or except as otherwise
provided in the Competing Agreement) to the maximum extent permitted by section 363 of the
Bankruptcy Code, with such Liens, Claims and Encumbrances to attach to the net proceeds of the
sale of the Assets with the same validity and priority as such Liens, Claims and Encumbrances
applied against the Assets.

Participation Requirements

        In order to participate in the bidding process or otherwise be considered for any purpose
hereunder, a person interested in all or portions of the Assets (a "Potential Bidder") must first
deliver (unless previously delivered) to the Debtors and their counsel, not later than eve (5)
business days before the Bid Deadline (defined below), unless otherwise modified by the Debtors
in their reasonable discretion:

        a)       Confidentiality Agreement.        An executed confidentiality agreement
                 ("Confidentialit,~~reement") in form and substance acceptable to the Debtors;

        b)       Identification of Potential Bidder. Concurrently with its Bid, identification of the
                 Potential Bidder, its principals, and the representatives thereof who are authorized
                 to appear and act on their behalf for all purposes regarding the contemplated
                 transaction;

        c)        Corporate Authority. Concurrently with its Bid, written evidence satisfactory to
                  Debtors ofthe Potential Bidder's chief executive officer or other appropriate senior
                  executive's approval of the contemplated transaction;

        d)        Disclosure. Written disclosure of any connections or agreements with the Debtors,
                  the Stalking Horse Purchaser, any other known Potential Bidder or Qualified

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        e)        Proof of Financial Ability to Perform. Prior to or at the time of presentation of a
                  Bid, written evidence that demonstrates the Potential Bidder has the necessary
                  financial ability to close the contemplated transaction and provide adequate
                  assurance of future performance under all contracts to be assumed in such
                  contemplated transaction. Such information should include, inter alia, the
                  following:

                 (1)         the Potential Bidder's current financial statements (audited if they exist);

                 (2)         contact names and numbers for verification of financing sources;




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                     (3)        evidence of the Potential Bidder's internal resources and proof of any debt
                                or equity funding commitments that are needed to close the contemplated
                                transaction; and
                     (4)        any such other form of financial disclosure of credit-quality support
                                information or enhancement acceptable to the Debtors demonstrating that
                                such Potential Bidder has the ability to close the contemplated transaction.

                                                  Designation as Qualified Bidder

        A "Qualified Bidder" is a Potential Bidder(or combination ofPotential Bidders whose bids
for the Assets of the Debtors do not overlap and who shall also be referred to herein as a single
Qualified Bidder) that delivers the documents described above and otherwise satisfies the
requirements ofthe Bid Procedures Order and the procedures set forth herein, and that the Debtors,
in their discretion (in consultation with any Official Committee of Unsecured Creditors that may
be appointed (the "Committee") and KeyBank National Association ("KevBank")), determine is
reasonably likely to submit a bonafide offer for the Assets and to be able to consummate a sale if
selected as a Successful Bidder.

        The Debtors, in their sole discretion and in consultation with the Committee and KeyBank,
shall determine and notify the Potential Bidder with respect to whether such Potential Bidder is a
Qualified Bidder.

       The Stalking Horse Purchaser is a Qualified Bidder and is deemed to satisfy all Bid
requirements as set forth herein.

Access to Due Diligence MateNials

        Only Potential Bidders that execute and deliver a confidentiality agreement satisfactory to
the Debtors, in their sole discretion, are eligible to receive due diligence access or access to
additional non-public information. The Debtors shall not be required to provide confidential or
proprietary information to a Potential Bidder if the Debtors believe that such disclosure would be
detrimental to the interests of the Debtors. If the Debtors determine that a Potential Bidder that
has satisfied a~i requirements to become aQualified-Bidder and yet-does-not constitute a Qualified
Bidder, then such Potential Bidder's right to receive due diligence access or access to additional
non-public information shall terminate. The Debtors will designate an employee ,~,         or other

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information ai'ter the Bid Deadline (as her~inaftee dciined}. the llebtors are not responsibl~ 1~r, ""
and will bear no liability with respect to, any information obtained by Qualified Bidders in
connection with the sale of the Assets.

Due Diligence From Bidders

        Each Potential Bidder and Qualified Bidder (each, a "Bidder") (and, collectively,
"Bidders") shall comply with all requests for additional information and due diligence access by
the Debtors or their advisors regarding such Bidder and its contemplated transaction. Failure by a
Potential Bidder to comply with requests for additional information and due diligence access will
be a basis for the Debtors to determine that the Potential Bidder is not a Qualified Bidder. Failure
by a Qualified Bidder to comply with such requests for additional information and due diligence
access will be a basis for the Debtors to determine that a bid made by a Qualified Bidder is not a
Qualified Bid.



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                                                             Bidding Process

        The Debtors and their advisors shall (in consultation with Committee and KeyBank): (i)
determine whether a Potential Bidder is a Qualified Bidder; (ii) coordinate the efforts of Bidders
in conducting their due diligence investigations, as permitted by the provisions hereof;(iii) receive
offers from Qualified Bidders; and (iv) negotiate any offers made to purchase the Assets. The
Debtors(in consultation with the Committee and KeyBank)shall have the right to adopt such other
rules for the bidding process that are not inconsistent with the Bid Procedures Order that will better
promote the goals of such process.

Bid Deadline

        On or before the Bid Deadline, a Qualified Bidder that desires to make an offer, solicitation
or proposal (a "Bid") shall deliver written and electronic copies of its Bid to the Debtors, 15059
North Scottsdale Road, Suite 300, Scottsdale, AZ,Attn: Christopher J. Wells,[email], with a copy
to counsel for the Debtors, Pachulski Stang Ziehl &Jones LLP, 919 N. Market St., 17th Floor,
Wilmington, Delaware 19801, Attn: John W.Lucas and James E. O'Neill, not later than 4:00 p.m.
(prevailing Eastern time) on July 18, 201.9 (the "Bid Deadline"). The Debtors shall promptly
provide copies of all Bids to counsel for the Committee and KeyBank.

        A Bid received after the Bid Deadline shall not constitute a Qualified Bid.

Bid Requirements

        To be eligible to participate in the Auction, each Bid and each Qualified Bidder submitting
such a Bid must be determined by the Debtors (in consultation with the Committee and KeyBank)
to satisfy each of the following conditions), unless otherwise modified by the Debtors in their
reasonable discretion:

1.      Good Faith Deposit. Each Bid must be accompanied by a deposit (the "Good Faith
        Deposit") in the form of a certified check or cash payable to the order of Kona Grill, Inc.
        in an amount to be determined by the Debtors, but in any event no less than 10% of the
        Bidder's offer.

2.      Purchase Price. The consideration proposed by the Bid may include only cash and/or other
        consideration acceptable to the Debtors(in consultation with the Committee and KeyBank)
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        cash components including, without limitation, which liabilities vi the llebtors the bidder
        is agreeing to assume (the "Purchase Price").

3.      Irrevocable. The Bids of the Successful Bidder and the Back-up Bidder must be
        irrevocable until the earlier of(a)the closing ofthe transaction with the Successful Bidder,
        or(b)the date the Sale Order has become final and non-appealable (the earliest ofthe dates
        being the "Termination Date").

4.      Principal Terms. A Bid must include an executed agreement pursuant to which the
        Qualified Bidder proposes to effectuate the contemplated transaction (the "Contemplated
        Transaction Documents") and ablack-lined copy of the Competing Agreement marked to
        show all changes requested by the Qualified Bidder,including specification ofthe proposed
        Purchase Price and any changes to any exhibits or schedules to the Competing Agreement.
        The terms and conditions of the Contemplated Transaction Documents must be, in the
        aggregate, not materially more burdensome to the Debtors than the provisions contained in

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        the Stalking Horse Purchaser's Purchase Agreement. A Bid must identify with
        particularity each and every condition to closing and all executory contracts and unexpired
        leases to be assumed and assigned pursuant to the Contemplated Transaction Documents.
        The Contemplated Transaction Documents must include a commitment to close by no later
        than the closing date set forth in section 3 of the Purchase Agreement. A Bid should
        propose a contemplated transaction involving all or substantially all of the Assets,
        provided, however, that the Debtors in their sole discretion (in consultation with the
        Committee and KeyBank) may consider proposals for less than substantially all the Assets
        if such proposals or combination of proposals maximizes the value ofthe Debtors' estates.

5.      Contin e~ n, cies. A Bid may not be conditioned on obtaining financing or any internal
        approval or on the outcome or review of due diligence, but may be subject to the accuracy
        in all material respects at the closing ofspecified representations and warranties at or before
        closing or the satisfaction in all material respects at the closing of specified conditions. A
        Bid must disclose any governmental approvals identified by the Qualified Bidder other
        than as set forth in the Competing Agreement that may impact the evaluation of such Bid.

6.      Authorization to Bid and Identity of Bidder. A Bid must include evidence of authorization
        and approval from such Qualified Bidder's board of directors (or comparable governing
        body, or a statement as to why such approval is unnecessary) with respect to the
        submission, execution, delivery and closing of the Contemplated Transaction Documents.
        A Bid must also fully disclose the identity of such entity that is submitting the Bid,
        including the identity of each equity holder or other financial backer of the bidder if such
        bidder is formed for the purpose of submitting the bid.

7.      Financing Sources. A Bid must contain written evidence of a commitment for financing
        or other evidence of the ability to consummate the sale satisfactory to the Debtors (in
        consultation with the Committee and KeyBank) with appropriate contact information for
        such financing sources.

8.      No Fees Payable to Qualified Bidder. A Bid may not request or entitle the Qualified
        Bidder, other than the Stalking Horse Purchaser, to any Break-up fee, termination fee,
        expense reimbursement or similar type of payment. Moreover, by submitting a Bid, a
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        section 503 of the Bankruptcy Code related in any way to the submission of its Bid or the
        Bid Procedures.
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        the Break-up Fee to the Stalking~Iorse purchaser ~t~om tl~e first proceeds of the cash portion                                           ~`
        of the Purchase Price of such Bid.

10.     Non-Reliance. A Bid must include an acknowledgement and representation of the
        Qualified Bidder that it has had an opportunity to conduct any and all due diligence
        regarding the Assets and Assumed Liabilities prior to making its Bid, that it has relied
        solely upon its own independent review, investigation and/or inspection of any documents
        and/or the Assets in making its Bid, and that it did not rely upon any written or oral
        statements, representations, warranties, or guaranties, express, implied, statutory or
        otherwise, regarding the Assets, the financial performance of the Assets or the physical
        condition of the Assets, the Assumed Liabilities, or the completeness of any information
        provided in connection therewith or the Auction, except as expressly stated in the
        Contemplated Transaction Documents.




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        A Bid received from a Qualified Bidder before the Bid Deadline that meets the above
requirements and that satisfies the Bid Deadline requirement above shall constitute a "Qualified
Bid," if the Debtors believe, in their sole discretion (in consultation with the Committee and
KeyBank), that such Bid would be consummated if selected as the Successful Bid. The Debtors
shall have the right to reject any and all Bids that they believe, in their sole discretion (in
consultation with the Committee and KeyBank), do not comply with the Bid Procedures. In the
event that any Potential Bidder is determined by the Debtors not to be a Qualified Bidder, the
Potential Bidder shall be refunded its Good Faith Deposit.

Break-up Fee

       Recognizing the Stalking Horse Purchaser will expend time, energy and resources, and that
the Stalking Horse Purchaser provides a floor bid with respect to the Assets that it offers to
purchase, the Debtors are authorized (pursuant to the Bid Procedures Order) to provide the
following bidding protections to the Stalking Horse Purchaser.

1.       The Debtors have agreed to pay the Stalking Horse Purchaser, upon the terms set forth in
         Section 12 of the Purchase Agreement, the amount of One Million and 00/100 Dollars as
         a Break-up fee (the "Break-u~Fee") pursuant to and in accordance with the terms of the
         Purchase Agreement and Bid Procedures Order.

2.       Any Bid submitted on the Bid Deadline by a party or parties other than the Stalking Horse
         Purchaser must be in an amount that is sufficient to pay the Break-up Fee and result in
         additional consideration to the Debtors' estates in the amount of at least $250,000 (as
         compared to the Purchase Price offered by such Stalking Horse Purchaser), after payment
         of the Break-up Fee, plus the assumption of liabilities.


                                                   Auction
         If the Debtors receive at least two (2) Qualified Bids from Qualified Bidders (inclusive of
the Stalking Horse Purchaser Bid) prior to the Bid Deadline, then the Debtors shall notify the
 Stalking Horse Purchaser and each other Qualified Bidder that the Debtors intend to conduct an
:auction ,(the ,`,`Auction"). to consider ,a1.1.Quali~ed Bids,and to,determine,the highest or otherwise,
 best bid with respect to the Assets. At least forty-eight(48) hours prior to the Auction,the Debtors
shall provide the Stalking Horse Purchaser, all Qualified Bidders and the Committee and KeyBank
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on a date no later than July 23, 2019, at the offices of Pachulski Stang Ziehl &Jones LLP,919
N. Market St., 17th Floor, Wilmington, DE 19899, or at such other place designated by the
Debtors.

       In advance of the Auction,the Debtors will notify all Qualified Bidders in writing of(i) the
highest or otherwise best Qualified Bid, as determined by the Debtors in their discretion (the
"Baseline Bid") and (ii) the time and place of the Auction.

        If the Debtors do not receive more than one (1) Qualified Bid from a Qualified Bidder
(inclusive ofthe Stalking Horse Purchaser Bid), then no Auction shall be scheduled or conducted,
and the Court at the Sale Hearing shall proceed to solely consider the approval of the proposed
sale to the Stalking Horse Purchaser as set forth in the Purchase Agreement and shall not consider
any competing or alternative offers or proposals to purchase the Assets.



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       If the Auction is necessary, such Auction shall be conducted according to the following
procedures:

20.     Participation at the Auction

       Only the Stalking Horse Purchaser and Qualified Bidders that have submitted Qualified
Bids are eligible to participate at the Auction. Only the authorized representatives and professional
advisors of each of the Qualified Bidders, the Stalking Horse Purchaser, the Debtors, the
Committee, KeyBank, and the U.S. Trustee shall be permitted to attend the Auction.

        Except as otherwise set forth herein, the Debtors (in consultation with the Committee and
KeyBank) may conduct the Auction in the manner they determine will result in the highest or best
offer for the Assets in accordance with the Bid. Procedures.

        In the Debtors' sole discretion, after the conclusion ofthe Auction,the Debtors may resume
an auction for the sale of discrete assets and/or discrete groups of assets, if any, which are not
included in the Successful Bid,on such bidding procedures as may be implemented by the Debtors
in their discretion (in consultation with the Committee and KeyBank).

21.     The Llebtors Shall Conduct the Auction

        The Debtors and their professionals shall direct and preside over the Auction. At the start
of the Auction, the Debtors shall describe the terms of the Baseline Bid. The determination of
which Qualified Bid constitutes the Baseline Bid shall be made by the Debtors in their discretion
(in consultation with the Committee and KeyBank), and may take into account any factors the
Debtors reasonably deem relevant to the value of the Qualified Bid to the estates (the "Bid
Assessment Criteria"). All Bids made thereafter shall be Overbids(as defined below)and shall be
made and received on an open basis, and all material terms of each Bid shall be fully disclosed to
all other Qualified Bidders. The Debtors reserve the right to conduct the Auction in the manner
designed to maximize value based upon the nature and extent of the Qualified Bids received in
accordance with the Bid Procedures. The Debtors shall maintain a transcript of all Bids made and
announced at the Auction, including the Baseline Bid, all Overbids and the Successful Bid.
Pursuant to Local Rule 6004-1, each Qualified Bidder shall be required to confirm that it has not
engaged in any collusion with respect to the Bid Procedures; the Auction or the proposed
transaction.



      ~~~Ati "Overbid" is any bid~made at t ie Auction `subsequent to the llebtors' a~Inouneement of
the Baseline Bid. To submit an Overbid for purposes of this Auction, a Qualified Bidder must
comply with the following conditions:

        (a)       Minimum Overbid Increment

        During the Auction, bidding shall begin initially with the Baseline Bid. Any Overbid after
the Baseline Bid shall be made in increments of at least $250,000 in cash or other consideration
acceptable to the Debtors;provided, however, that any Overbids by the Stalking Horse Purchaser
thereafter shall only be required to be equal to the sum of(1)the then existing lead Bid plus(2)the
$250,000 Overbid less(3)$1,000,000 (i.e., the amount ofthe Break-up Fee).

       Any Overbid made by a Qualified Bidder must remain open and binding on the Qualified
Bidder until and unless the Debtors (in consultation with the Committee and KeyBank) accept a
higher Qualified Bid as an Overbid.

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        (b)       Consideration of Overbids

       The Debtors reserve the right, in their reasonable business judgment(in consultation with
the Committee and KeyBank), to make one or more adjournments in the Auction to, among other
things: facilitate discussions between the Debtors and individual Qualified Bidders; allow
individual Qualified Bidders to consider how they wish to proceed; and give Qualified Bidders the
opportunity to provide the Debtors with such additional evidence as the Debtors, in their
reasonable business judgment, may require, that the Qualified Bidder has sufficient internal
resources, or has received sufficient non-contingent debt and/or equity funding commitments, to
consummate the proposed transaction at the prevailing Overbid amount.

23.     Additional Procedures

        The Debtors may adopt rules for the Auction at or prior to the Auction that, in their
reasonable discretion (in consultation with the Committee and KeyBank), will better promote the
goals ofthe Auction and that are not inconsistent with any of the provisions ofthe Bid Procedures
Order or the Bankruptcy Code. All such rules will provide that all Bids shall be made and received
in one room, on an open basis, and all other Qualified Bidders shall be entitled to be present for
all bidding with the understanding that the true identity ofeach Qualified Bidder (i.e., the principals
submitting the Bid) shall be fully disclosed to all other Qualified Bidders and that all material
terms of each Qualified Bid will be fully disclosed to all other Qualified Bidders throughout the
entire Auction.

        The Debtors (in consultation with the Committee and KeyBank) may (a) determine which
Qualified Bid, if any, is the highest and best offer and (b) reject at any time before entry of an
order of the Bankruptcy Court approving the sale of the Assets pursuant to a Qualified Bid, any
Bid that is (i) inadequate or insufficient; (ii) not in conformity with the requirements of the
Bankruptcy Code or these Bid Procedures; or (iii) contrary to the best interest of the Debtors, their
estates and their creditors.

24.     Consent to Jurisdiction as Condition to Bidding

        All Qualified Bidders at the Auction shall be deemed to have consented to the core
jurisdiction of the Bankrtaptcy Ccsurt and waived any right to a jury trial in connection with any
disputes relating to the Auction, and the construction and enforcement of each Qualified Bidder's
Contemplated Transaction Documents, as applicable.

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        Upon conclusion of the bidding, the Auction shall be closed, and the Debtors (in
consultation with the Committee and KeyBank)shall immediately identify the highest or best offer
for the Assets (which may be an aggregate of bids for less than all of the Assets)(the "Successful
Bid") and the entity submitting such Successful Bid (the "Successful Bidder"), which highest or
best offer will provide the greatest amount of net value to the Debtors, and the next highest or best
offers after the Successful Bid (the "Back-up Bid") and the entity or entities submitting the Back-
up Bid (the "Back-up Bidder"), and advise the Qualified Bidders of such determination. Upon
three (3) days' prior notice by the Debtors, the Back-up Bidder selected by the Debtors must
immediately proceed with the closing of the transaction contemplated under the Back-up Bid in
the event that the transaction with the Successful Bidder is not consummated for any reason.

       As stated above, the Bids of the Successful Bidder and the Back-up Bidder must be
irrevocable until the Termination Date.



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                                                                Acceptance of Successful Bid

                      The Debtors shall sell the Assets to the Successful Bidder upon the approval of the
              Successful Bid by the Bankruptcy Court after the Sale Hearing. The Debtors' presentation of a
              particular Qualified Bid to the Bankruptcy Court for approval does not constitute the Debtors'
              acceptance of such Qualified Bid. The Debtors will be deemed to have accepted a Qualified Bid
              only when the Qualified Bid has been approved by the Bankruptcy Court at the Sale Hearing.

                                                                       "As Is, Where Is"

                       The sale of the Assets shall be on an "as is, where is" basis and without representations or
              warranties of any kind, nature, or description by the Debtors, their agents or their estates except to
              the extent set forth in the Purchase Agreement or the Competing Agreement of the Successful
              Bidder. Each Qualified Bidder shall be deemed to acknowledge and represent that it has had an
              opportunity to conduct any and all due diligence regarding the Assets prior to making its offer,
              that it has relied solely upon its own independent review, investigation and/or inspection of any
              documents and/or the Assets in making its bid, and that it did not rely upon any written or oral
              statements, representations, promises, warranties or guaranties whatsoever, whether express,
              implied, by operation of law or otherwise, regarding the Assets, or the completeness of any
              information provided in connection therewith or the Auction, except as expressly stated in these
              Bid Procedures or the Purchase Agreement or the Competing Agreement ofthe Successful Bidder.

                                                                Free of Anv and All Interests

                      Except as otherwise provided in the Purchase Agreement or the Successful Bidder's
              Competing Agreement and subject to the approval of the Bankruptcy Court, all of Debtors' right,
              title and interest in and to the Assets subject thereto shall be sold free and clear of any Liens,
              Claims and Encumbrances, and other interests to the maximum extent permitted by section 363 of
              the Bankruptcy Code, with such Liens, Claims and Encumbrances, and other interests to attach to
              the net proceeds of the sale ofthe Assets with the same validity and priority as such, Liens, Claims
              and Encumbrances, and other interests applied against the Assets.

                                                                            Sale Hearing

                    The Sale Hearing shall be conducted by the Bankruptcy Court on July 25, 2019, at 2:00
              p.m.(Eastern time), or on such other date as may be established by the Bankruptcy Court.

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~~' ~ ~   ~   applicak~le~asset purchase agreement or suc~i agreement is terminated, the llebtors shall be
              authorized, but not required, to deem the Back-up Bid, as disclosed at the Sale Hearing, the
              Successful Bid, and the Debtors shall be authorized, but not required, to consummate the sale with
              the Qualified Bidder submitting the Back-up Bid without further order of the Bankruptcy Court.

                                                                Return of Good Faith Deposit

                     The Good Faith Deposit of the Successful Bidder (or the Back-up Bidder that becomes a
              Successful Bidder) shall be applied to the Purchase Price of such transaction at Closing. The
              Debtors will hold the Good Faith Deposits of the Successful Bidder and the next highest Qualified
              Bidder in a segregated account until the closing of the sale with the Successful Bidder; Good Faith
              Deposits of all other Qualified Bidders shall be held in a segregated account, and thereafter
              returned to the respective bidders following the conclusion of the Auction. If a Successful Bidder
              (including any Back-up Bidder that has become the Successful Bidder) fails to consummate an
              approved sale because of a breach or failure to perform on the part of such Successful Bidder, the

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Debtors shall be entitled to retain the Successful Bidder's Good Faith Deposit as the Debtors'
damages resulting from such Successful Bidder's breach or failure to perform.




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